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John A. Azzarello                     Serena P. Hallowell (pro hac vice forthcoming)
WHIPPLE AZZARELLO, LLC                Eric J. Belfi (pro hac vice forthcoming)
161 Madison Avenue                    David J. Schwartz (pro hac vice forthcoming)
Suite 325                             Thomas W. Watson (pro hac vice forthcoming)
Morristown, NJ 07960                  LABATON SUCHAROW LLP
Tel: (973) 267-7300                   140 Broadway
                                      New York, NY 10005
                                      Tel: (212) 907-0700
                               Counsel for Plaintiffs

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY
YORK CAPITAL MANAGEMENT, L.P.; YORK
MULTI-STRATEGY MASTER FUND, L.P.;           Civil Action No.
FIDELIS YORK FUND, L.P.; JORVIK MULTI-
STRATEGY MASTER FUND, L.P.; YORK            Judge:
SELECT MASTER FUND, L.P.; YORK
SELECT, L.P.; and YORK SELECT
INVESTORS MASTER FUND, L.P. ,


                       Plaintiffs,
                                                    JURY TRIAL DEMANDED
      v.

PERRIGO CO., PLC, JOSEPH PAPA, and
JUDY BROWN,


                       Defendants.




                                     COMPLAINT
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        York Capital Management, L.P., York Multi-Strategy Master Fund, L.P., Fidelis York

Fund, L.P., Jorvik Multi-Strategy Master Fund, L.P., York Select Master Fund, L.P., York

Select, L.P. and York Select Investors Master Fund, L.P. (“Plaintiffs” or the “York Capital

Funds”), 1 purchasers of the common stock of Perrigo Co., plc (“Perrigo” or the “Company”)

between April 21, 2015 and May 3, 2017, both dates inclusive (the “Relevant Period”), and

owners of Perrigo common stock as of November 13, 2015 as alleged below, bring this action

(the “Action”) seeking to recover damages caused by defendants’ violations of securities laws

against Perrigo; Joseph C. Papa (“Papa”), Perrigo’s former Chief Executive Officer (“CEO”);

and Judy L. Brown (“Brown”), Perrigo’s former Chief Financial Officer (“CFO”) (collectively,

“Defendants”).

        Plaintiffs allege the following based upon personal knowledge as to those allegations

concerning Plaintiffs and, as to all other matters, upon investigation of counsel, including, among

other things: (i) review and analysis of public filings made by Perrigo with the United States

Securities and Exchange Commission (“SEC”); (ii) review and analysis of documents filed by

Mylan, N.V. (“Mylan”) with the SEC in connection with its tender offer for Perrigo; (iii) review

and analysis of documents filed by Perrigo and Mylan with the Irish Takeover Panel in

connection with Mylan’s tender offer for Perrigo; (iv) review and analysis of press releases and

other publications disseminated by Defendants; (v) review and analysis of news articles and

conference call transcripts; (vi) review and analysis of other court filings related to Perrigo and

Mylan, including the amended complaint for violation of the federal securities laws in Roofers’

Pension Fund v. Perrigo Co., plc, No. 2:16-cv-02805-MCA-LDW (D.N.J.) and pleadings in In



    1
     L. Civ. R. 10.1 Statement: The main office of Plaintiffs is located at: 767 5th Ave, New
York, NY 10153.
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re Generic Pharmaceuticals Pricing Antitrust Litig., MDL No. 2724, Civil Action No. 2:16-md-

02724-CMR (E.D. Pa.); (vii) review and analysis of other publicly available information

concerning Perrigo and Mylan; (viii) analysis of pricing in the generic drug markets in which

Perrigo operated; (ix) analysis of Perrigo’s organic revenue growth; (x) review and analysis of

other publicly available information; and (xi) information obtained from interviews with

knowledgeable individuals. The investigation of facts pertaining to this case is ongoing.

Plaintiffs believe that additional evidence will support the allegations herein after a reasonable

opportunity for discovery.

I.     SUMMARY OF THE ACTION

       1.      This action arises from misrepresentations and omissions that Defendants made to

Plaintiffs while fighting a hostile takeover and throughout the Relevant Period (between April

21, 2015, and May 3, 2017). On April 8, 2015, pharmaceutical conglomerate Mylan announced

an unsolicited bid to purchase Perrigo for cash and stock worth $205 per share (later increased to

$246 per share). After twice increasing its bid, Mylan proceeded with a formal tender offer,

which was announced on September 14, 2015. To discourage Perrigo shareholders from

accepting Mylan’s offer, Defendants repeatedly made material misrepresentations and omissions

about four key areas: (a) the integration and overvaluation of Perrigo’s largest acquisition,

Omega Pharma N.V. (“Omega”); (b) Perrigo’s organic growth; (c) collusive pricing and pricing

pressure in Perrigo’s most profitable division, generic drugs (which Perrigo called “Generic Rx”

or sometimes just “Rx”); and (d) the deteriorating value of Perrigo’s largest financial asset, a

royalty stream for the drug Tysabri.

       2.      To fight Mylan’s offer, Defendants touted and spoke at length regarding the

integration and prospects of Omega, making false and misleading statements and omissions

regarding the status of the integration and the key role Omega would play in Perrigo’s growth.


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Following the expiration of Mylan’s tender offer, as alleged below (e.g., at ¶¶215-16, 220, 228),

Perrigo effectively conceded that Defendants had misrepresented Omega’s integration and

prospects. The concealed problems with Omega were so profound that the Company ultimately

took impairment charges totaling more than $2 billion, or nearly half of the total purchase price

for Omega.

       3.      Further, and as demonstrated through the accounts of numerous former employees

of Perrigo and Omega (among other sources) detailed below, Defendants touted synergies with

Omega as central to Perrigo’s growth claims, even though Defendants knew or recklessly

disregarded that there were deep problems with the Omega integration and the underlying assets,

including: (a) a decentralized structure, disparate information technologies (“IT”) and

management resistance at Omega that made integration difficult; (b) regulatory hurdles to

achieving claimed synergies; and (c) weak Omega sales. For example, according to a former

Director of Marketing at Perrigo from prior to the beginning of the Relevant Period until April

2017 (“Confidential Witness 1” or “CW1”) who was interviewed in the course of drafting this

complaint, it was clear almost immediately after the Omega deal closed on March 30, 2015 that

Omega was substantially underperforming, the integration had stalled and was marred by

pervasive problems, and the synergies and growth projections touted by Perrigo and its

executives, including Papa and Brown, were an illusion.

       4.      Additionally, understanding that organic growth was crucial to investors,

Defendants misleadingly claimed 7% to 8% average historical organic growth during Defendant

Papa’s tenure as CEO, without disclosing that organic growth (which it did not regularly report)

had slowed to a trickle during the six quarters prior to the Relevant Period, and was even

negative during some of those periods.




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        5.     Prior to the Mylan tender offer deadline, Defendants accompanied these inflated

projections with express promises of accuracy, completeness, and care under the Irish Takeover

Rules, which applied because Perrigo is an Irish company. Irish Takeover Rules require directors

to be diligent and acknowledge accountability for their statements to investors. Accordingly,

each press release and presentation Perrigo made from the beginning of the Relevant Period

(April 21, 2015) through the expiration of Mylan’s tender offer assured that: “The directors of

Perrigo accept responsibility for the information contained in this announcement [or

presentation]. To the best of the knowledge and belief of the directors of Perrigo (who have

taken all reasonable care to ensure such is the case), the information contained in this

announcement [or presentation] is in accordance with the facts and does not omit anything likely

to affect the import of such information.”2

        6.     To discourage Perrigo investors such as Plaintiffs from tendering shares to Mylan,

Defendants also issued an inflated profit forecast guiding investors to expect 2016 earnings of

$9.30 to $9.83 per share, which Perrigo would later concede was not “realistic.” Defendants’

manipulation of the profit forecast stood in stark contrast to the promises they made to investors

under Irish Takeover Rule 28, which they claimed to understand. Rule 28.1 mandates that

“[e]very such profit forecast (including the assumptions upon which it is based) shall be

compiled with scrupulous care, accuracy and objectivity.”3 Despite these promises, Perrigo and

its directors issued aggressive and unrealistic profit forecasts based upon assumptions that were

not remotely accurate or objective. For example, they assumed success in achieving Omega

synergies despite knowledge of significant problems with the integration, assumed an organic

    2
     Except where otherwise noted, all emphasis in this complaint is added.
    3
     See Irish Takeover Rules, available at http://irishtakeoverpanel.ie/wp-
content/uploads/2014/01/ITP-Takeover-Rules.pdf.



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growth rate far higher than the Company had recently been able to achieve consistently, and

assumed that Perrigo could continue the collusive price hikes driving profits in its Generic Rx

division, even as generic drug pricing came under increased scrutiny. Further, in addition to the

accounts of numerous former employees of Perrigo and Omega (among other sources) noted

above, and as alleged in detail below, according to CW1, by as early as 2013, Perrigo’s organic

growth had plateaued so it relied on the practice of accelerating sales to customers, or optimizing

sales, to make the Company’s numbers look better. CW1 explained that both Papa and Brown

would direct subordinates, including CW1’s boss, to optimize, but when John Hendrickson was

promoted to CEO, replacing Papa in April 2016, Hendrickson told Perrigo employees (including

CW1) that the Company would no longer push out inventory to make its numbers look better,

and ultimately Perrigo reduced guidance as a result.

       7.      In their efforts to defeat the Mylan bid, Defendants also hid the fact that results in

Perrigo’s most profitable division, Generic Rx, were significantly inflated by illegal price-fixing.

Instead of engaging in price competition that usually drives generic drug prices relentlessly

downward toward the cost of production, Perrigo and other generics manufacturers colluded to

raise contemporaneously prices for many generic products by 300% to 500% or more. These

price hikes allowed Perrigo to reap hundreds of millions of dollars in collusive revenues.

       8.      Further, throughout the Relevant Period, Defendants falsely presented an inflated

value for Perrigo’s largest financial asset—its Tysabri Royalty stream—and misclassified that

asset as an “intangible asset” in violation of generally accepted accounting principles (“GAAP”),

which mandated that the Tysabri Royalty stream be treated as a “financial asset” requiring

marking the fair value to market at least each quarter. Perrigo now admits that their repeated

assertions that the Tysabri royalty stream was worth $5.8 billion, and that Perrigo’s accounting




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 followed GAAP, were false. The fair value of the Tysabri royalty stream was far less than the

 $5.8 billion reported by Perrigo throughout the Relevant Period, and Perrigo’s accounting for the

 royalty stream as an “intangible asset” violated GAAP. Through its GAAP violations, overseen

 by Defendant Brown, Perrigo was able to hide billions of dollars in value deterioration from

 investors. Because of fraudulent conduct, Perrigo was required to restate earnings and, in a

 restatement on May 22, 2017—after the Relevant Period—Perrigo conceded that its Relevant

 Period balance sheets should have recorded billions of dollars of deteriorating fair values, as

 alleged in more detail below.

        9.      In other words, even by Defendants’ own account, Defendants misreported more

 than $1 billion in revenue through GAAP violations.

        10.     Defendants’ misrepresentations and omissions served their purpose, defeating

 Mylan’s takeover bid. On November 13, 2015, the tender offer was voted down by a misled

 majority of Perrigo shareholders, with less than 50% of Perrigo investors tendering shares.

 Because Mylan’s tender offer specified that it would proceed only if 50% or more shares were

 tendered by that date, the offer expired pursuant to its terms. As an immediate consequence of

 the tender offer’s failure, the Plaintiffs and other Perrigo shareholders were forced to hold onto

 Perrigo stock valued at $140.54 per share on November 13, 2015 (as of when the market

 opened), when they could have received a value of $174.36 per each Perrigo share (based upon

 the Mylan share price at the close on November 12, 2015) had the tender offer succeeded.

        11.     However, the truth soon began to emerge, causing the value of Perrigo stock to

 decline. On February 18, 2016, just three months after the failed take-over bid, Perrigo reported

 fourth quarter 2015 revenue, profits, and margins that were all well below what the Defendants

 had led investors to believe the Company would achieve. Perrigo revealed that certain Omega




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 assets would need to be restructured and took a $185 million impairment charge, while also

 slashing the top end of the Company’s 2016 guidance range from $10.10 to $9.80. On this news,

 Perrigo shares fell $14.77, or more than 10%, to close at $130.40.

         12.    Next, on April 22, 2016, Reuters and other news agencies reported that longtime

 Perrigo CEO and Chairman of the Board, Joseph Papa, the architect of the aggressive promises

 used to defeat the Mylan bid, would leave Perrigo for Valeant Pharmaceuticals International, Inc.

 (“Valeant”), a struggling company widely criticized for accounting violations and ethical lapses. 4

 Analysts and shareholders understood Papa’s exit to mean that the problems at Perrigo were even

 worse than they were told in February. As a result, Perrigo shares fell $7.33, or 5.7%, to close at

 $121.53.

         13.    The following business day, April 25, 2016, Perrigo announced that Papa was

 leaving and, to facilitate his exit, Perrigo had waived parts of his non-compete agreement.

 Perrigo also lowered its 2016 earnings guidance to $8.20 to $8.60 per share, a full $1.40 less (at

 midpoint) than claimed only three months earlier. The Company further reported that it expected

 first quarter 2016 earnings to be only $1.71 to $1.77 per share, which it blamed on more

 competitive generic drug pricing (the natural result of collusion becoming more difficult as

 regulators focused in on widespread price-fixing in the industry). Perrigo also stated that it was

 considering additional impairment charges for Omega, assets it touted to fend off the Mylan bid.

 CNBC commentator Jim Cramer called this a “terrible moment for Perrigo,” explaining that

 Defendant Papa had come on Cramer’s show “and talked about how the Mylan bid dramatically



     4
       Specifically, Valeant has been called “the corporate poster-child for price-gouging” and
 investigated for potentially illegal practices. See R. Boyd, “Valeant, The End of The Michael
 Pearson Era,” available at http://sirf-online.org/2017/03/23/valeant-the-end-of-the-michael-
 pearson-era/.



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 undervalued Perrigo. . . . That was clearly untrue.” The April 25, 2016 partial disclosures

 caused Perrigo shares to tumble $21.95, or 18%, to close at $99.40.

         14.     On May 12, 2016, Perrigo announced another $467 million impairment charge for

 Omega, tripling the original impairment figure, only months after Defendants trumpeted the

 success of the Omega acquisition. On this additional news, Perrigo shares fell $3.71, or 4%, to

 close at $89.04.

         15.     The fall in Perrigo’s stock price was tempered, in part, by a new policy announced

 by the incoming CEO, John Hendrickson (“Hendrickson”). Going forward, Hendrickson

 promised Perrigo would “try to be as transparent as possible” and issue “realistic” forecasts. This

 was intended to be, and was taken by investors as, a clear admission that prior guidance under

 Papa had been neither transparent nor realistic. Analysts praised Hendrickson’s promise of

 candor, emphasizing the need to “re-establish credibility” after the prior regime. Despite these

 promises, however, Perrigo did not come clean about the full extent of its problems with the

 Omega integration, its anti-competitive pricing in the Generic Rx division, or the declining value

 of its largest financial asset, the Tysabri royalty stream.

         16.     On August 10, 2016, Perrigo announced that it was cutting guidance yet again as

 a result of having to implement “transformational organizational changes” at Omega, and

 because of additional pricing pressure in the Generic Rx division. Even worse, Perrigo projected

 that 2016 impairment charges, which were excluded from this guidance, would nearly double,

 from $1.74 per share to $3.29 per share. Consequently, Perrigo shares fell approximately 10% to

 close at $86.00.

         17.     On September 12, 2016, institutional investor Starboard Value published a

 scathing letter critical of the inflated “management and Board sanctioned [growth] claims that




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 allowed Perrigo to persuade enough shareholders to reject Mylan’s offer and support Perrigo’s

 standalone plan,” that Perrigo has since slowly deflated.5

         18.    On December 8, 2016, after announcing that it needed to restructure the entire

 branded division (consisting mostly of Omega assets), Perrigo shares declined by an additional

 2.37%, from $83.94 to $81.94. By the time the year was over, Perrigo had accrued over $2

 billion in impairment charges related to Omega.

         19.    On February 27, 2017, Perrigo stunned investors by announcing it would sell the

 Tysabri royalty stream for only $2.2 billion cash (plus additional contingent payments of up to

 $0.65 billion), billions of dollars less than the asset had been recorded on Perrigo’s books and

 presented to investors throughout the Relevant Period. Defendants deliberately hid this

 deterioration from investors through their GAAP violations and failure to record the fair value of

 the asset each quarter.

         20.    Perrigo also disclosed on February 27, 2017, that it could not timely file its

 Annual Report on Form 10-K for 2016 because it needed to review historical revenue

 recognition practices for the royalty stream and other potential issues (which ultimately led to the

 restatement of every single financial statement issued during the Relevant Period), and disclosed

 that the person most responsible for the GAAP violations, Chief Financial Officer (“CFO”) Judy

 Brown, was unexpectedly resigning. On these additional disclosures, Perrigo shares dropped

 another 12%, or $9.91 per share, from $84.68 to close at $74.77.




     5
        See Starboard letter dated September 12, 2016, available at
 http://www.valuewalk.com/2016/09/starboard-value-delivers-letter-perrigo-company-ceo/; see
 also infra ¶230. All numbers in the Starboard chart reflect the midpoint of the guidance range
 updates provided by Perrigo for 2016 adjusted earnings per share (“EPS”).



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         21.    On March 3, 2017, Bloomberg reported that Perrigo—like many other generic

 drug companies—was in the sights of antitrust regulators at the Department of Justice

 investigating generic drug price-fixing. In a filing made in a private lawsuit, the Department of

 Justice asked that private discovery be delayed with respect to Perrigo and other manufacturers

 of generic topical drugs because the government attorneys were worried that private discovery

 “could reveal details of the ongoing criminal investigation and delay, or even frustrate, its

 progress.” See “Perrigo Joins Firms With Generic Drugs Under U.S. Glare,” Bloomberg (March

 3, 2017), available at https://www.bloomberg.com/news/articles/2017-03- 03/perrigo-joins-list-

 of-firms-with-generic-drugs-under-u-s-glare. This additional disclosure drove Perrigo shares

 down an additional $2.80 to close at $72.76.

         22.    Finally, after the market closed on May 2, 2017, Perrigo announced that its offices

 had been raided by the Department of Justice as part of a criminal price-fixing probe, a more

 severe action than was taken against most other generic drug companies. The Wall Street

 Journal’s Charley Grant noted on Twitter: “Federal investigations happen all of the time to

 companies. Federal raids do not.” On this final disclosure, Perrigo shares fell over 5%, or $3.88

 per share, to close at $72.35 on May 3, 2017.

         23.    Shortly after the Relevant Period, Perrigo issued a restatement admitting that it

 violated GAAP in every single financial statement issued during the Relevant Period. Audit

 Analytics noted that Perrigo’s restatement was one of the largest issued by any public company

 over the past two decades.6




     6
        See “Perrigo Restates to Correct More than $1 Billion in Errors,” June 1, 2017, available at
 http://www.auditanalytics.com/blog/perrigo-restates-to-correct-more-than-1-billion-in-errors/.



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          24.   In total, Defendants’ false and misleading statements caused Perrigo’s stock to

 fall more than 62% and robbed investors of the opportunity to fairly evaluate and participate in a

 takeover offer worth more than twice the current share price. Defendants Papa and Brown, in

 particular, were cushioned from this blow. They were awarded millions of dollars in special

 bonuses for their roles in defeating the Mylan offer. See paragraph 128 below.

 II.      JURISDICTION AND VENUE

          25.   The claims asserted herein arise primarily under Sections 14(e) and 20(a) of the

 Exchange Act, 15 U.S.C. §78n(e), and 78t(a). This Court has jurisdiction over the subject matter

 of Counts I and II pursuant to 28 U.S.C. §§ 1331 and 1337, and Section 27 of the Exchange Act,

 15 U.S.C. § 78aa.

          26.   Venue is proper in this District pursuant to Section 27 of the Exchange Act and

 28 U.S.C. § 1391(b). Many of the acts and conduct that constitute the violations of law

 complained of herein occurred in this District. Defendant Papa resides in this District and has

 maintained a residence in this District throughout the Relevant Period. In addition, the Company

 maintains offices and operations in Piscataway, New Jersey, and Parsippany, New Jersey, which

 are situated within this District. In connection with the acts alleged in this complaint,

 Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

 including, but not limited to, the mails, interstate telephone communications, and the facilities of

 the national securities markets.

 III.     PARTIES AND RELEVANT NON-PARTIES

          A.    Plaintiffs

          27.   Plaintiff York Capital Management, L.P. is an investment fund organized under

 the laws of the State of Delaware, with its principal address at 767 5th Ave, New York, NY

 10153.


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          28.   Plaintiff York Multi-Strategy Master Fund, L.P is an investment fund organized

 under the laws of the Cayman Islands, with its principal address at 767 5th Ave, New York, NY

 10153.

          29.   Plaintiff Fidelis York Fund, L.P. is an investment fund organized under the laws

 of the Cayman Islands, with its principal address at 767 5th Ave, New York, NY 10153.

          30.   Plaintiff Jorvik Multi-Strategy Master Fund, L.P is an investment fund organized

 under the laws of the Cayman Islands, with its principal address at 767 5th Ave, New York, NY

 10153.

          31.   Plaintiff York Select Master Fund, L.P. is an investment fund organized under the

 laws of the Cayman Islands, with its principal address at 767 5th Ave, New York, NY 10153.

          32.   Plaintiff York Select, L.P. is an investment fund organized under the laws of the

 State of Delaware, with its principal address at 767 5th Ave, New York, NY 10153.

          33.   Plaintiff York Select Investors Master Fund, L.P. (with the above plaintiff

 entities, the “Plaintiff York Funds” or “Plaintiffs”) is an investment fund organized under the

 laws of the Cayman Islands, with its principal address at 767 5th Ave, New York, NY 10153.

          34.   Non-party York Capital Management Global Advisors, LLC (the “Investment

 Manager”) is a limited liability corporation organized under the laws of the State of New York

 with its principal place of business at 767 5th Ave, New York, NY 10153. The Investment

 Manager is a registered investment adviser. The Plaintiff York Funds are investment funds that

 are advised, indirectly or through an affiliate, by the Investment Manager.

          35.   Each of the Plaintiffs listed above purchased Perrigo common stock between

 April 21, 2015 and May 3, 2017, inclusive, and collectively held approximately 892,000 shares

 of Perrigo common stock as of the tender offer date, and suffered damages as a result of the




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 violations pled herein. More specifically, the Plaintiffs were the owners of 891,959 common

 shares of Perrigo stock as of the November 13, 2015 tender offer deadline. The following chart

 lists the Plaintiffs’ holdings as of the November 13, 2015 tender offer deadline:

                       Plaintiff Fund                       Perrigo shares held as of Nov. 13,
                                                               2015 tender offer deadline
     York Capital Management, L.P.                                                     210,268
     York Multi-Strategy Master Fund, L.P.                                             300,743
     Fidelis York Fund, L.P.                                                            35,102
     Jorvik Multi-Strategy Master Fund, L.P.                                            10,729
     York Select Master Fund, L.P.                                                     139,341
     York Select, L.P.                                                                 151,518
     York Select Investors Master Fund, L.P.                                            44,258
     TOTAL                                                                             891,959

        B.      Defendants

        36.     Defendant Perrigo is the world’s largest manufacturer of over-the-counter

 (“OTC”) healthcare products. Perrigo is also a significant supplier of generic pharmaceuticals,

 infant nutrition products, branded pharmaceuticals in Europe (through its Omega acquisition),

 and animal health products. Initially founded in 1887 and based for most of its existence in

 Allegan, Michigan, in 2013 Perrigo redomiciled as an Irish corporation with corporate

 headquarters in Dublin, Ireland. At all periods relevant hereto, Perrigo had significant operations

 in New Jersey, including a 14,000 square foot research and development facility in Piscataway

 Township. Perrigo describes its Piscataway facility as a “strategic location in the hub of New

 Jersey’s pharmaceutical industry” that “gives Perrigo a footprint in the northeast.” The Company

 also operates a research and development facility in Parsippany, New Jersey.

        37.     Perrigo’s common stock is dual listed on the New York Stock Exchange

 (“NYSE”) (symbol: PRGO) and Tel Aviv Stock Exchange (“TASE”) (symbol: PRGO), both

 highly efficient markets. As of February 19, 2016, Perrigo had approximately 143 million shares

 outstanding.



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        38.     Defendant Joseph Papa (“Papa”) joined Perrigo in October 2006 as its President

 and Chief Executive Officer (“CEO”) and served in that capacity until April 25, 2016. Papa was

 also a director of Perrigo between November 2006 and April 2016. Papa is currently President

 and Chief Executive Officer of Valeant.

        39.     Defendant Judy Brown (“Brown”) served as Perrigo’s CFO from July 2006 until

 her resignation on February 27, 2017.

        40.     Papa and Brown are referred to as the “Individual Defendants.”

 IV.    DEFENDANTS’ FRAUDULENT SCHEME

        A.      Perrigo Experiences Rapid Corporate Growth Through Acquisition

        41.     Defendant Perrigo is the successor to Perrigo Company, a Michigan corporation

 that began in 1887 as a seller of packaged goods (“Former Perrigo”). For more than a century,

 Former Perrigo was a slow-growing manufacturer and distributor of healthcare products based in

 tiny Allegan, Michigan and operating primarily in the United States. Former Perrigo focused on

 store brand versions of popular OTC products such as analgesics and cough syrup, which remain

 mainstays of the Company to this day.

        42.     After Defendant Papa became CEO and Chairman of Perrigo’s Board in October

 2006, Former Perrigo adopted a “roll-up” strategy, becoming a serial acquirer of healthcare

 companies. Through these acquisitions, Former Perrigo both grew its core OTC business and

 expanded into markets like generic prescription drugs, infant nutrition, and animal healthcare.

        43.     In 2013, Defendant Perrigo became the successor of Former Perrigo as the result

 of an “inversion” transaction with Elan, an Irish corporation, which closed on December 18,

 2013. That transaction resulted in the formation of a new Irish corporation, Defendant Perrigo

 Company plc, that was 71% owned by shareholders of Former Perrigo and 29% owned by




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 shareholders of Elan. Defendant Perrigo trades on the NYSE and TASE under ticker symbol

 “PRGO.”

          44.   The inversion structure utilized by Perrigo has been described as “the tax

 avoidance strategy du jour.” Paul Krugman, Corporate Artful Dodgers, N.Y. Times (July 27,

 2014), https://www.nytimes.com/2014/07/28/opinion/paul-krugman-tax-avoidance-du-jour-

 inversion.html. It “refers to a legal maneuver in which a company declares that its U.S.

 operations are owned by its foreign subsidiary, not the other way around, and uses this role

 reversal to shift reported profits out of American jurisdiction to someplace with a lower tax rate.”

 Id. The tactic reportedly allowed Perrigo to save $150 million per year, primarily from avoiding

 U.S. taxes it would otherwise have to pay. See David Gelles, The New Corporate Tax Shelter: A

 Merger Abroad, N.Y. Times Dealbook (October 8, 2013),

 https://dealbook.nytimes.com/2013/10/08/to-cut-corporate-taxes-a-merger-abroad-and-a-new-

 home/.

          45.   Through the inversion, Perrigo also acquired Elan’s major asset, a financial

 interest in the royalty stream for Tysabri, a blockbuster treatment for multiple sclerosis

 manufactured and sold by Biogen Inc. (formerly known as Biogen Idec Corporation). Perrigo

 began to report this royalty interest as a separate reporting unit known as “Specialty Sciences” in

 its periodic report for the quarter ended December 28, 2013.

          46.   As Perrigo now admits, GAAP required Perrigo to account for the acquired

 royalty stream as a financial asset. Accordingly, under GAAP, Perrigo was required to disclose

 the fair market value of the Tysabri royalty stream in each quarterly report and to take expenses

 (or recognize non-operating income) on a quarterly basis for all mark-to-market changes in

 value. However—as the Company has now admitted—Defendants improperly accounted for the




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 Tysabri royalty asset and failed to make these required disclosures, concealing from investors the

 severe deterioration in the value of the Tysabri royalty stream.

         47.    Although the inversion transaction made Perrigo an Irish corporation and

 provided a financial asset—the royalty stream—Perrigo gained no meaningful operations. Just

 like Former Perrigo, Defendant Perrigo had virtually no presence in continental Europe. After

 the inversion transaction, Perrigo began to seek a European foothold, which it found in Omega,

 now included as one of Perrigo’s five divisions.

         48.    Throughout most of the Relevant Period, Perrigo segmented its results into five

 major divisions:

                (a)     Branded Consumer Healthcare (“BCH” or “Omega Segment”): BCH

 contained the newly-acquired Omega businesses, as well as a German supplement brand called

 Yokebe, purchased in 2015, and additional European OTC brands purchased from

 GlaxoSmithKline in 2015. As of June 27, 2015, the BCH unit marketed approximately 5,200

 branded OTC products in Europe, focusing on natural health, vitamins, supplements and

 minerals, cough and cold, allergy, skin care, weight management, pregnancy and fertility

 products, sleep aids, and anti-parasitic products such as lice treatments. During the six months

 ended December 31, 2015, the Omega segment represented approximately 23% of consolidated

 net sales.

                (b)     Consumer Healthcare (“CHC”): Perrigo’s CHC unit marketed primarily

 unbranded and store brand OTC analgesics, cough syrups, smoking cessation products,

 gastrointestinal remedies, supplements and animal healthcare products. This segment also

 included nutritional products, such as infant formula, which had previously been reported

 separately, and its Israeli-based pharmaceutical and diagnostic business, which had previously




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 been reported as “Other.” According to its SEC filings, the CHC division marketed over 4,900

 products during the Relevant Period. During the six months ended December 31, 2015, the CHC

 segment represented approximately 50% of consolidated net sales.

                (c)     Generic Rx: Perrigo’s Rx unit offered approximately 800 generic

 prescription drug products (including otherwise OTC drugs that are sold through the prescription

 channel to obtain reimbursement, which Perrigo calls ORx). The Rx unit focused on “extended

 topical” treatments, such as creams, ointments, gels, sprays, foams, powders, suppositories and

 shampoos. During the six months ended December 31, 2015, the Rx segment represented

 approximately 20% of Perrigo’s consolidated net sales.

                (d)     Specialty Sciences: Specialty Sciences consisted of the royalty stream

 Perrigo received from Biogen for Biogen’s sales of Tysabri. Perrigo was entitled to a royalty rate

 of 18% of annual worldwide sales of Tysabri up to $2.0 billion, and 25% of sales above $2.0

 billion. During the six months ended December 31, 2015, Specialty Sciences was reported to

 represent approximately 6% of Perrigo’s consolidated net sales. Subsequently, in May 2017,

 Perrigo conceded that none of the royalty stream receipts should have been labeled “sales” or

 included in operating results.

                (e)     Other: This division includes Perrigo’s Active Pharmaceutical Ingredient

 (“API”) business, which manufactures active ingredients sold to other healthcare companies.

 While Perrigo does not separately report a percentage of total sales figure for the “Other”

 segment, deducting the percentages represented by the remaining segments, this segment

 contributed approximately 3% to the Company’s net sales in the six months ended December 31,

 2015.




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        B.      Perrigo Makes Its Largest Acquisition Ever and Quickly Experiences Major,
                Known Integration Issues

        49.     Perrigo attempted to expand into Europe in late 2014 by making its largest

 acquisition ever. On November 6, 2014, Perrigo announced it would acquire Omega for

 €3.6 billion, or $4.5 billion. The acquisition closed on March 30, 2015, just before the beginning

 of the Relevant Period in this action. Omega was one of the largest OTC healthcare companies in

 Europe and had a commercial presence in 35 countries. Like Perrigo, Omega operated as a

 roll-up, growing primarily through acquisition. However, unlike Perrigo, Omega focused on

 name brand products rather than store brand or unbranded products.

        50.     Omega was far larger and more complex than any other company Perrigo had

 previously acquired. With annual revenues of approximately $1.6 billion, approximately 2,500

 employees (including an 1,100 employee sales force), a portfolio of several thousand branded

 products, decentralized management, and a mishmash of IT systems, Omega posed an

 integration challenge far more substantial than Perrigo had ever previously faced.

        51.     Defendants were aware of considerable integration and operating challenges with

 Omega. Perrigo was exposed to these challenges during the extensive due diligence prior to the

 acquisition. As described in deal documents, Perrigo was provided a confidential package of

 information regarding Omega businesses during the latter half of July 2014 and engaged with the

 assistance of its professional advisors between September 7, 2014, and November 4, 2014, in

 additional due diligence into Omega group companies and their “business, operations, assets,

 liabilities, legal, tax, commercial and accounting and financial condition.” See Purchase

 Agreement, attached as Exhibit 10.1 to Form 8-K filed on November 12, 2014. As part of this

 due diligence, Perrigo and its advisors were given access to a confidential “data room,”

 participated in a presentation by Omega management on September 25, 2014, conducted



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 meetings with management of Omega and Omega group companies, and were provided further

 information in the form of answers to written questions. Id.

        52.     Defendants described the Omega acquisition as a key part of the 5% to 10%

 organic growth they trumpeted in their opposition to Mylan’s tender offer. As Defendants

 explained during the Relevant Period, their profit forecast assumed the Omega assets would

 deliver organic growth at the midpoint of that range, or 7.5%. See Form 8-K filed on October 22,

 2015. Perrigo’s growth assumption for Omega was more than double the 3.2% organic growth

 that Omega’s management had independently projected for 2013–2017 as part of its goodwill

 calculation. See 2013 Omega Annual Report at 42. While Papa claimed that he had prepared his

 own elevated assumption for Omega’s organic growth in compliance with the “scrupulous care,

 accuracy and objectivity” standard required under Irish Takeover Rules, he was, in fact, aware of

 extensive integration problems, among others, at Omega imperiling Perrigo’s aggressive

 guidance.

        53.     A former Director of Marketing at Perrigo (“Confidential Witness 1”, or “CW1”)

 from prior to the beginning of the Relevant Period until April 2017 explained many of these

 known integration issues when CW1 was interviewed in the course of Plaintiffs’ investigation.

 Indeed, according to CW1 and as further detailed below, it was clear almost immediately after

 the Omega deal closed on March 30, 2015 that Omega was substantially underperforming, the

 integration had stalled and was marred by pervasive problems, and the synergies touted by

 Perrigo and its executives, including Papa and Brown, were a mirage.

        54.     CW1 worked out of Perrigo’s Allegan, Michigan office and reported to Tom

 Cotter, Vice President of OTC Marketing, who reported to Jeff Needham, Executive Vice

 President and General Manager of U.S. Consumer Health at Perrigo. CW1 handled marketing for




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 Perrigo’s core over-the-counter drugs business. CW1 made regular quarterly presentations to

 Perrigo executives, including Papa and Brown. CW1 explained that CW1 was very familiar with

 the Omega acquisition, including how Omega performed immediately following the acquisition,

 and traveled to Omega (in Belgium) to work on its marketing and potential product offerings

 around May 2016.

        55.     In or around June or July 2015, while in the process of putting together business

 plans for fiscal year 2016, Omega transfer/legacy products began to be transitioned to CW1’s

 team at Perrigo. According to CW1, it was clear at that time that the Omega business was

 struggling (as recounted below), but issues with the acquisition and Omega’s business were

 obvious to CW1 and other Perrigo employees prior to then—and almost immediately following

 the March 30, 2015 closing of the Omega acquisition.

        56.     CW1 explained that, unlike the other acquisitions that CW1 had been involved

 with at Perrigo, the Omega acquisition seemed to happen very quickly. CW1 further explained

 that after the acquisition closed, based on the deal model or synergies that were proposed

 between the two companies, it was clear that there was nothing there, stating that it felt like facts

 and figures had been made up, particularly with respect to Omega products being marketed and

 sold in the U.S. and Perrigo products being marketed and sold in Europe.

        57.     CW1 recalled looking at the deal models, which according to CW1 were

 overinflated, included targets that CW1 could not understand, and made no sense. CW1

 questioned the numbers in the deal models and was told that they were created by an external

 consultant, McKinsey, that CW1 understood Papa and Brown had hired on behalf of Perrigo.

 According to CW1, this was unlike any other acquisition CW1 had been involved with at

 Perrigo. CW1 regularly interfaced with Perrigo’s Merger and Acquisition (M&A) or Brand




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 Team that CW1 believed should have made the deal models given CW1’s understanding that

 Perrigo previously had always utilized its internal M&A team for that purpose. CW1 went on to

 say that the projected 7% growth was a fallacy because it was based on products that were never

 actually released in the United States, and could not be marketed in the United States the same

 way as in Europe due to known regulatory differences.

          58.     According to CW1, there were projections related to anticipated Omega product

 releases in the United States that were never released (and were unlikely to ever be released) in

 the United States. Even if they could be released, they were unlikely to be as profitable as they

 were in Europe, according to CW1. CW1 cited as an example Omega’s homeopathic cough

 syrup, Bronchostop, which contains thyme herb and marshmallow root extracts as the active

 ingredients. CW1 explained that Papa was always touting Bronchostop in relation to the Omega

 acquisition. According to CW1, Perrigo had relied on McKinsey instead of its internal teams to

 project that business. According to CW1, rather than doing very well in the United States as

 Defendants projected, Bronchostop was never released in the United States, and it should never

 have been included in Perrigo’s projections. According to CW1, Bronchostop contained

 ingredients that would never be approved by regulators for release in the United States.

 According to CW1, by July 2017, only one Omega product had been released in the United

 States, a chocolate flavored cough syrup (not Bronchostop)—and even that was a small

 release7—and noted that a different Omega product, a weight loss supplement/diet aid (XLS),

 would never gain traction in the United States. CW1 explained that Perrigo had an internal

 dashboard that tracked each product.




 7
     CW1 estimated this product accounts for a total of about $500,000 in revenue annually.



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        59.     According to CW1, there were several factors that made it clear that Omega

 would not be successful in the United States. According to CW1, regulatory or governing bodies

 in the United States (particularly the FDA) impose different and potentially more stringent drug

 approval rules and marketing requirements, as well as other differences between the European

 and American markets that hindered the introduction of new products. CW1 explained that many

 of Omega’s top products are homeopathic, which are more difficult to market in the United

 States than in Europe because the FDA and other American regulators are very particular about

 the way such substances can be marketed in the United States, including prohibiting the use of

 certain terminology. CW1 explained that in Europe, Omega could claim things like Bronchostop

 stops coughs, but, in the United States, regulators would never allow a homeopathic product like

 Bronchostop to be touted or marketed in such a manner.

        60.     Sales of Perrigo’s legacy products in Europe also faced regulatory headwinds.

 According to CW1, Perrigo would have trouble marketing their legacy products in Europe

 because they would be seen as having too many chemicals. Even if such legacy products could

 be sold in Europe, European consumers would be less likely to purchase them than American

 consumers. CW1 explained that the European market was not receptive to the U.S. drugs since it

 tends to prefer the homeopathic route when treating minor ailments. CW1 offered as an example

 a Perrigo legacy allergy medicine being projected to make $50 million in Europe, even though

 senior management knew that this was not feasible given the European proclivity for using

 homeopathic remedies.

        61.     CW1 also explained that initially there was a lack of meaningful integration

 between the two companies, and CW1 and other Perrigo employees were told by Needham to

 leave Omega alone—i.e. to not divert resources to, or assist with, the integration. CW1 recalled




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 how Perrigo employees kept asking executive management why the two companies were not

 being integrated. CW1 added that CW1’s boss, Needham, initially did not want his team working

 on the Omega part of the business because he was not responsible for it, and Needham refused to

 give resources to Omega. CW1 participated in phone calls and conversations with Omega

 personnel immediately following the acquisition, but CW1 recalled a directive from Needham

 when the Omega acquisition first occurred that his team was not to get too involved with Omega.

 CW1 explained that Needham kept a very lean team and resented that Papa would not give him

 more resources, so Needham was not willing to assist Omega until 2016.

        62.     CW1 was puzzled by Perrigo’s decision initially to leave Omega alone because,

 for the first few quarters, it was clear that Omega was not meeting financial expectations in 2015.

 CW1 reviewed internal reports based on deal models and financials that showed Omega’s

 performance. According to CW1, Omega was always underperforming in 2015. CW1 knew this

 because CW1 viewed the reports. CW1 explained that it had become clear that Omega was

 suffering and not performing well certainly by the second half of 2015—by which point Omega

 became part of the five business segments that made up Perrigo’s overall finances and was

 missing/underperforming by significant dollars.

        63.     According to CW1, Papa and Brown both had access to the reports referenced by

 CW1 showing that Omega was significantly underperforming. According to CW1, those reports

 made it clear that Omega was missing revenue targets from the start, and CW1 recalled that

 Omega was missing such targets by at least 20% but possibly even as much as 30%.

        64.     CW1 recalled that Perrigo’s quarterly internal financials were reporting

 something totally different from what Defendants were touting to the market about Omega in

 connection with responding to Mylan’s takeover bids. According to CW1, the internal consensus




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 was concern because there were no synergies between the companies. This became even clearer

 to CW1 when CW1 traveled to Omega’s Belgium headquarters with other high-level Perrigo

 employees, including Vice Presidents of marketing, regulatory and product development, around

 May 2016. CW1 recalled being asked to go to Belgium while Papa was still CEO, and the

 directive to make the trip came directly from Papa to Needham. CW1 recalled that, during that

 trip, CW1’s colleagues (from legacy Perrigo and Omega) admitted the lack of synergies.

         65.    The lack of synergies and underperformance of Omega from the outset of the

 acquisition is further corroborated by information attributed to Christine Kincaid (“Kincaid”),

 Perrigo’s Global Cyber Security Manager from June 2015 to December 2015, as well as other

 unnamed former Perrigo and Omega employees, in complaints filed in Roofers’ Pension Fund v.

 Perrigo Co., plc, No. 2:16-cv-02805-MCA-LDW, ECF No. 89 (D.N.J. June 21, 2017) (the

 “Amended Securities Class Action Complaint” or “ASCAC”) and in Carmignac Getion, S.A. v.

 Perigo Company PLC, No. 2:17-cv-10467, ECF 1 (D.N.J. Nov. 1, 2017) (the “Carmignac

 Complaint” or “Carmignac Compl.”).8 As alleged in the Amended Securities Class Action

 Complaint and in the Carmignac Complaint, Kincaid also “explained many of these known

 integration problems,” as well as others. See, e.g., ASCAC ¶¶57-62; Carmignac Compl. ¶¶48,

 82, 84-95, 100-06, 108, 142. “Kincaid served for a portion of her tenure as the Company’s acting

 Chief Security Officer, reporting directly to the Chief Information Officer (“CIO”), Tom

 Farrington, who also served as Defendant Papa’s direct appointee to oversee the Omega

 integration.”9 ASCAC ¶57. “Kincaid was responsible for IT integration projects in Europe.” Id.


     8
        Ms. Kincaid’s last name has been changed to Ray, as noted in the Carmignac Complaint.
 See Carmignac Compl. ¶48.
      9
        Defendant Papa stated during a June 2, 2015 investor call, that “there was a specific person
 that I had designated in my Company who heads up all my integrations. And I said, Tom, you
                                                                                     (continued . . . )


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 “Kincaid indicated that IT integration between Perrigo and Omega had completely stalled by

 mid-2015.” Id.; see also, e.g., Carmignac Compl. ¶84 (“when [Kincaid] joined Perrigo,

 integration between Perrigo and Omega was at a complete standstill”). “The standstill caused

 Farrington to instruct her in July of 2015 to reach out to her direct counterpart in Belgium—the

 Omega segment’s head of IT—to find out why integration was not advancing.” Id.; see also, e.g.,

 Carmignac Compl. ¶¶82-84.

          66.         “According to [] Kincaid, at [] Farrington’s direction as well as through her

 standard integration responsibilities, she had multiple conversations with the Omega head of IT

 integration, who recounted to Kincaid in detail various issues that were causing ‘discord’

 between Omega CEO and CFO, to whom the Omega head of IT reported to directly, and the top

 executives of Perrigo, including the Individual Defendants.” ASCAC ¶58; see also, e.g.,

 Carmignac Compl. ¶¶82-84. “In addition to conversations with her Omega counterpart, she

 personally experienced major integration impediments as well as cultural discord between

 Omega and Perrigo.” ASCAC at ¶58; see also, e.g., Carmignac Compl. ¶¶82-84.

          67.         “For example, [] Kincaid explained that EU regulations would make it difficult to

 replace Omega’s EU suppliers with Perrigo’s U.S.-based supply chain”10 (ASCAC ¶59), and



 ( . . . continued)
 need to help us successfully integrate Omega. That’s your role. Make sure it happens. And that’s
 your focus.”
     10
        In particular, the home country of the Omega business segment making the purchase is the
 primary preferred source of suppliers, other EU member states were the second, and
 non-member countries the third. ASCAC ¶59. As such, changing Omega’s source of
 manufactured drugs from existing EU suppliers to Perrigo—which manufactured in the U.S.—
 would change the terms of service for numerous existing and future Omega service contracts
 with its customers and may cause serious disruption to those customer relationships. Id.
     Kincaid also explained that replacing Omega’s EU suppliers with Perrigo’s U.S.-based
 suppliers proved to be problematic and cut into Perrigo’s margins. See Carmignac Compl. ¶¶93-
 95.



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 would require Perrigo to discount products to make them competitive in the EU (Carmignac

 Compl. ¶108). “As Kincaid indicated, during July and August of 2015, Omega’s most senior

 executives tried on multiple occasions to communicate such and other concerns to Papa and

 Brown but were frustrated by their refusal to engage in discussions about these issues (in part

 because Perrigo’s senior executives appeared more focused on fighting the Mylan takeover).”

 ASCAC ¶59; see also Carmignac Compl. ¶108. “Kincaid was told by the Omega IT head that he

 himself was personally instructed by [] Coucke in mid-2015 to put integration on hold pending

 resolution of these problems.” ASCAC ¶59. “Frustration boiled over to the point where some

 Omega salespeople stopped attending meetings with Perrigo’s executive management[,]” and

 “[Kincaid’s] impression, based on the calls and meetings she attended, was that the frustration

 applied to sales challenges at all Omega locations.” Carmignac Compl. ¶108.

        68.     “Additionally, [] Kincaid explained that Defendant Papa’s understanding of the

 integration problems was reflected by his mid-2015 appointment of Mary Donovan, an Irish

 executive, as an additional representative to bridge communication gaps between Perrigo’s U.S.

 operations and Omega.” ASCAC ¶60. “According to [] Kincaid, one of Donovan’s first acts

 upon being appointed to the role was to pay a week-long visit to Allegan, Michigan in order to

 meet with the IT development teams, Perrigo’s Chief Technology Officer (known at Perrigo as

 the VP of Global Infrastructure) Brian Marr, other project managers, and Kincaid herself, to

 discuss the integration.” Id. “Kincaid explained that during this visit, [] Donovan hosted

 meetings in which numerous integration issues, including breakdowns in communication, IT

 processes, and other problems, were acknowledged and discussed in detail.” Id.

        69.     “[Kincaid] also stated that Perrigo leadership was told by Omega personnel that

 full migration of Omega data from each country location could not be completed based on the




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 incompatible operating systems and applicable EU regulations, but that Perrigo continued to

 ignore the negative impact of the issue.” Carmingac Compl. ¶100. “[Kincaid] met, spoke on

 conference calls, or emailed with senior level personnel at both Perrigo and Omega at least

 monthly, and sometimes weekly, to discuss compliance and regulation problems related to

 migrating Omega’s data from Germany to the U.S.” Id. “These personnel included: (i)

 Farrington; (ii) Marr; (iii) Makowski; (iv) Donovan; (v) Deneubourg; and (vi) Jill Gilbert, SAP

 System Architect, who also reported to Farrington.” Id. “[Kincaid] stated that the Omega

 integration team had weekly reporting responsibilities to CIO Farrington.” Id. at ¶101. “To this

 end, Makowski, Farrington’s Chief of Staff, would send a weekly email requesting a status

 report.” Id. “[Kincaid] would respond to both Farrington and Makowski providing updates on

 her conversations with Deneubourg and Donovan and the aforementioned integration calls and

 meetings.” Id. “Often times, [Kincaid] would have no information to report because Deneubourg

 was out of the office from July 2015 through August 2015 (returning part-time in September

 2015) with a broken leg, such that integration efforts ‘came to a standstill’….[, and] local IT

 issues were taking precedence over the Omega/Perrigo integration.” Id. at ¶¶101-102.11

          70.   “[Kincaid] explained that during meetings and calls that took place during her

 tenure, Farrington confirmed that he had reported the Omega data migration issues to Papa and

 sought assistance at the highest levels—from Papa and Perrigo’s Board—to remedy those

 issues.” Id. at ¶103. “As one example, [Kincaid] recalled that Farrington told Papa during the

 summer of 2015 that the migration had not occurred, that the project was stalled, and that

 Deneubourg was injured.” Id. “As another example, Farrington mentioned to [Kincaid] and other



     11
        Indeed, according to the Carmignac Complaint, when queried if Deneubourg was
 “ridiculously understaffed,” Kincaid responded, “yes.” Id. at 102.



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 members of Perrigo’s integration team during at least two or three meetings leading up to the

 August 2015 Perrigo Board meeting, that he spoke with Papa about dedicating funds to hire an

 assistant for Deneubourg.” Id. “Kincaid and the integration team even put together a ‘CapEx

 forecast’ and ‘Request for Hire,’ detailing the need for the hire as it pertained to the stalled

 integration project.” Id. “The Board, led by Papa, not only denied the request in August 2015,

 but again in October 2015, when it deferred consideration until January 2016.” Id. at ¶104.

 “Farrington told the integration team that he attempted (without success) to make the case for the

 position several times with Papa during the August 2015 through November 2015 timeframe.”

 Id.

        71.     “[Kincaid] explained that several Omega senior members of sales leadership felt

 their concerns regarding the Omega data migration issues were being ignored during meetings

 with Perrigo executives, including Papa and Perrigo Board members.” Id. at ¶105. “According to

 [Kincaid], during July and August 2015, Omega’s senior-most executives made several attempts

 to report their concerns to Papa and Brown, both of whom refused to engage in additional

 discussions.” Id. “[Kincaid] recalled that Omega leadership felt that Perrigo, preoccupied with

 the Mylan takeover bid, disregarded or minimized the negative impact of the debilitating

 migration issues.” Id. “Indeed, Omega’s head of IT, Deneubourg, specifically told [Kincaid] that

 Coucke had instructed him in mid-2015 to put integration to the side.” Id.

        72.     “Based on conversations that [Kincaid] had with Farrington and those that took

 place during integration meetings and conference calls, [Kincaid] understood that Brown met

 with Farrington at least weekly and was aware of the integration issues and failures.” Id. at ¶106.

 “[Kincaid] also recalled that in August 2015, Donovan came to the U.S. and briefed everyone on




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 the overall integration challenges with respect to Omega, including technology and security

 issues.” Id.

         73.    “Perrigo was unable to migrate Omega’s financial data and performance

 information to Perrigo’s SAP system.” Id. at ¶82. “This critical issue stemmed from the

 incompatibility between Perrigo’s and Omega’s data management systems, which was or should

 have been obvious to Defendants during their due diligence period prior to acquiring Omega.”

 Id. Indeed, Kincaid indicated that “for a variety of technical and operational reasons, Perrigo had

 not even come close to completing the technology integration of Omega” (ASCAC ¶62(b))—

 including “the establish[ment] of a centralized SAP system in Germany, where Omega’s central

 data center was to be maintained” (Carmignac Compl. ¶84)—by the time she left the Company

 in December 2015. ASCAC ¶62(b); Carmignac Compl. ¶84.

         74.    “[Kincaid] explained that any questions posed by Perrigo to Omega concerning its

 financial data or performance required the respective Omega location to manually check all data

 relevant to the inquiry and report back to Perrigo, which ‘definitely had an impact’ on Perrigo’s

 operations.” Carmignac Compl. ¶89. “As one example, [Kincaid] explained that any time Perrigo

 needed to create a report consolidating any financial information from Perrigo’s and Omega’s

 respective operations, particularly for senior leadership, the Company had to manually collect

 reports from each of the thirty-five franchises and merge them together.” Id. “This process could

 take at least three weeks for each such report, and Defendants knew or recklessly disregarded

 that it was highly susceptible to error and prevented Perrigo’s management from having a true

 picture of Omega’s performance.” Id.

         75.    “[Kincaid] recalled that until at least the end of November 2015, Perrigo had no

 visibility into trends in the Omega sales or supply chain and lacked an understanding of the




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 causes of variances in projected sales or expenses because the Company had no access to the

 underlying detail.” Id. at ¶91.

        76.     Additionally, “Kincaid stated that in September 2015, Brian Marr, who (like her)

 reported to Tom Farrington, asked Kincaid to ‘quietly and discretely’ identify and hire a forensic

 IT analytics firm to go to Belgium, where it would be tasked with analyzing senior Omega

 executives’ e-mail traffic to ascertain whether any of Omega’s top executives had revealed

 material confidential business information to Mylan to aid Mylan’s takeover.” ASCAC ¶61.

 “Kincaid identified the firm but left Perrigo before the team was sent to Belgium.” Id. “She

 noted, however, that the need for such forensic analysis was indicative of the extent to which

 deep distrust had manifested between Perrigo and Omega’s top executives.” Id. “All of this

 occurred as Defendants touted integration of, and synergies with, Omega’s business as a key

 source of growth.” Id.; see also Carmignac Compl. ¶85.

        77.     The ASCAC (at ¶62) and Carmignac Complaint (including at ¶¶49-57, 81-116,

 141-142) also include additional former Perrigo and Omega employees who corroborate CW1’s

 and Kincaid’s accounts of the stalled integration process from an operational perspective and

 who recounted multiple further operational impediments that corroborate and expand on the

 accounts of CW1 and Kincaid, including allegations concerning: (a) the poor organizational

 structure at Omega (see, e.g., ASCAC ¶62(a)); (b) IT integration problems, including difficulties

 integrating Omega’s IT systems with Perrigo’s (see, e.g., ASCAC ¶62(b); Carmignac Compl,

 ¶¶82-109); (c) management resistance, including that Coucke and other Omega managers were

 not cooperating with Perrigo in the integration (see, e.g., ASCAC ¶62(c)); (d) Perrigo’s diversion

 of resources and budget to fight the Mylan bid (see, e.g., ASCAC ¶62(d); Carmignac Compl.

 ¶104); and (e) underperformance in key Omega markets and unrealistic expectations relating to




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 Omega, including Defendants’ misleading revenue projections for Omega that not only were

 unsupported but were actually contradicted by internal data, and failed to disclose significant

 issues and underperformance impacting Omega revenues (see, e.g., ASCAC ¶62(e); Carmignac

 Compl. ¶¶110-16, 141, 302).

          78.   Given the magnitude and duration of these problems with Omega during the

 Relevant Period, Perrigo was far from being in position to benefit from the Omega acquisition.

 Despite having knowledge of these material problems with the Omega integration, Defendants

 continued to point to Omega’s value as the primary basis for rejecting Mylan’s multiple offers in

 communications with investors.

          C.    Perrigo’s Organic Growth Slows Considerably Just Before the Relevant
                Period

          79.   Throughout Papa’s reign as CEO, the Company touted its ability to grow

 organically, as well as through acquisition. 12 For example, in early 2014, Papa explained that

 organic growth had accounted for half (8%) of Perrigo’s 15% to 16% revenue growth over the

 past four years, and that the Company targeted organic revenue growth of 5% to 10% during any

 rolling three-year period. See Dominic Coyle, Takeover of Elan the perfect fit in Perrigo’s

 prescription for growth, Irish Times (Feb. 7, 2014), https://irishtimes.com/business/health-

 pharma/takeover- of-elan-the-perfect-fit-in-perrigo-s-prescription-for-growth-1.1682196. By

 blending older, high growth periods with newer low-growth periods, Perrigo was able to create




     12
        Perrigo calculates “organic growth” as the year-over-year change in net sales after
 deducting sales attributable to acquisitions made in the twelve (12) months preceding the given
 period. See, e.g., October 22, 2015 earnings release, Table III. Organic growth generally refers to
 growth by increased output, expanded customer base, or increased demand and sales, rather than
 by acquisition.



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 the deceptive impression of organic growth levels it had not consistently achieved for many

 quarters.

          80.    Plaintiffs here determined that Perrigo’s actual organic growth rates during the

 six quarters preceding the Relevant Period averaged approximately 1%—and were even negative

 for two of those quarters—by relying on the same methodology alleged in the ASCAC (at ¶64)

 and utilized by the Class Action plaintiff’s forensic accounting expert (the “Accounting Expert”):

 Quarter        12/28/2013     3/29/2014      6/28/2014     9/27/2014      12/27/2014     3/29/2015
 ending
 Actual            6.5%          0.9%           6.7%          -9.0%          -0.2%          0.9%
 organic
 growth rate
 To determine these rates for each quarter, Plaintiffs here, like the Accounting Expert, first

 calculated Perrigo’s Net Sales without the Tysabri royalty stream, which the Company recently

 admitted cannot be included in net sales under GAAP. See ASCAC ¶64 (citing ASCAC ¶123);

 see also infra ¶152. Next, to obtain organic revenues, sales attributable to acquisitions that were

 made during the preceding year were deducted.13 See ASCAC ¶64. Finally, Plaintiffs here, like

 the Accounting Expert, deducted organic revenues from revenues reported in the prior year



     13
        Specifically, for the quarter ending December 13, 2013, sales attributable to recent
 acquisitions Velcera ($5.2 million) and Rosemont and Fera ($26.3 million) were excluded to
 calculate organic revenue. For the quarter ending March 29, 2014, sales attributable to Velcera
 and Aspen ($6.1 million) and Rosemont and Fera ($17.1 million) were excluded to calculate
 organic revenue. For the quarter ending June 28, 2014, sales attributable to Aspen ($6 million)
 and Fera ($20 million) were excluded to calculate organic revenue. For the quarter ending
 September 27, 2014, sales attributable to Aspen ($6 million) and methazolomide ($3.8 million)
 were excluded to calculate organic revenue. For the quarter ended December 27, 2014, sales
 attributable to Aspen ($6 million, estimated based on prior quarter), methazolomide ($3.8
 million, estimated based on prior quarter), and Lumara ($6.03 million, estimated based on
 subsequent quarter disclosure) were excluded to calculate organic revenue. That certain of
 Plaintiffs’ inputs and assumptions relating to sales attributable to recent acquisitions differed
 slightly from those alleged in the ASCAC (compare ASCAC ¶64 n.10, ¶105 n.13) did not lead to
 materially different results.



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 quarter to determine organic revenue growth and expressed that as a percentage (rounded to the

 nearest tenth).

        81.        Perrigo’s opaque financial reporting obscured the deterioration in organic growth

 and prevented investors from making these calculations on their own. Perrigo did not disclose

 organic growth in most periodic reports, and throughout the Relevant Period misreported net

 sales in violation of GAAP by including royalty income. Moreover, Perrigo did not consistently

 break out the impacts of recent acquisitions and repeatedly changed the way it presented

 financial statements.

        82.        But that was not the only way Defendants attempted to maintain the mirage of

 Perrigo’s ability to grow organically. According to CW1, by as early as 2013, Perrigo’s organic

 growth had plateaued so it needed to find new ways to make it appear that the Company had

 growth trajectory. CW1 explained that one way Perrigo relied on was through optimizing—the

 practice of accelerating sales to customers.

        83.        More specifically, according to CW1, Perrigo began as early as 2013 to optimize,

 which was a directive that came directly from CEO Papa. CW1 was in meetings where Papa

 would direct his subordinates to optimize or stuff inventory into the channel. CW1 further

 advised that CW1 would hear this on leadership calls. CW1 then recounted how Papa would

 make direct requests to Needham to optimize more, and how Brown would make similar

 requests. CW1 added that this went on for years and that it got out of control. According to

 CW1, at the end of CW1’s last fiscal year at Perrigo (2016), Perrigo had optimized $40 to $45

 million worth of inventory at year end. Because of this practice Perrigo began the year in the

 hole with less demand for product than there would have otherwise been. CW1 added that

 Perrigo in recent years was optimizing at least $15 to $20 million a quarter in CW1’s division. It




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 was CW1’s understanding that optimizing was happening throughout Perrigo and not just in

 CW1’s business unit.

        84.     CW1 explained that Perrigo sales were suffering from the trends in the market,

 and Perrigo attempted to make up these deficiencies (in sales) by optimizing. CW1 described

 optimizing as a vicious cycle because once you begin stuffing the channel like that, you cannot

 stop. CW1 added that Perrigo was incentivizing their sales employees by giving them bonuses

 for pipe filling or optimizing, and optimizing was a lot of pressure, especially for Perrigo’s sales

 team who was interfacing directly with the customers.

        85.     CW1 further explained that at year-end, during Christmas week, Perrigo would

 have a shutdown, which would be used to push Perrigo’s customers to take on more inventory

 prior to year-end. CW1 recalled how Perrigo employees would call their buyers to push the

 inventory out, which ultimately put Perrigo in the hole at the beginning of the following year.

 CW1 recalled that CW1’s boss, Needham, pushed back on the culture of optimization at Perrigo

 because he was uncomfortable with the $40 million worth of optimized inventory. CW1 further

 recalled based on CW1’s conversations with Needham that Papa would pressure Needham to

 optimize. According to CW1, it was well known within Perrigo that the purpose of optimizing

 was to create a false appearance of organic growth.

        86.     According to CW1, when CEO John Hendrickson was promoted (April 2016), he

 told Perrigo employees (including CW1), that the Company would no longer push out inventory

 to make their numbers look better. CW1 continued to say that Perrigo’s recent reduced guidance

 is a direct result of Perrigo stopping the optimization. CW1 added that Hendrickson told CW1

 and others that he was taking Perrigo back to its roots. CW1 reiterated that Hendrickson said no

 more optimizing and ultimately reduced guidance.




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          D.       Perrigo’s Generic Rx Results Were Boosted by Anti-competitive Practices
                   And Not Insulated From Pricing Pressures

          87.      While Perrigo was principally known as a manufacturer of store brand OTC

 products, the operating segment with the greatest impact on earnings was not its consumer

 healthcare (CHC) division, but Generic Rx. For the six quarters prior to the Relevant Period, the

 Generic Rx division contributed more to Perrigo’s adjusted net operating earnings than any other

 segment:

 Quarter ending:         12/28/2013       3/29/2014       6/28/2014       9/27/2014       12/27/2014       3/28/2015
 Generic Rx
 adjusted net             $123.1m         $100.3m          $122.3m          $81.1m          $127.7m          $120m
 operating income
 Rank among
 Perrigo operating            1st             1st             1st              1st             1st             1st
 divisions
 Source: Perrigo press releases dated 2/6/14, 5/7/14, 8/14/14, 11/6/14, 2/5/15, 4/21/15 (reporting operating income by
 division, 10-K filed May 22, 2017 (restating operating income to exclude Tysabri royalty stream).

          88.      Accordingly, Perrigo’s ability to maintain its profit margin in the Generic Rx

 business was of paramount importance to investors. Perrigo claimed to enjoy these margins

 because the topical generic sector in which it focused was difficult for competitors to enter. For

 example, at the J.P. Morgan Healthcare Conference on January 13, 2014, Defendant Papa told

 analysts that:

                   Our Rx segment, generic Rx segment, has been a real star for us.
                   This segment has really been a focus on going after products that
                   are generic equivalent products, but importantly staying away from
                   just simple oral tablets and going after what we call extended
                   topicals. And by extended topicals, they fall under the category of
                   dermatology, absorbed topically through the skin, absorbed
                   topically through the lungs; nasal products absorbed topically
                   through the nasal mucosa; ophthalmic and otic are the areas that
                   we predominantly focus on. And the reason why that’s important is
                   that it’s much harder to bring these products to the market to be
                   clear, but once you get them to the marketplace they’re much
                   harder for other competitors to come into the space.




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 In other words, as Papa explained, Perrigo had “unique positioning” because its Generic Rx

 business was focused on products where it could be “one of two or three players entering a

 market rather than one of 20 players.”

        89.     Generic drugs are drugs that enter the market after a patent monopoly has expired.

 Because they must be demonstrably equivalent in therapeutic effect to the branded drug, they are

 differentiated only by price. In functioning markets, generic drugs provide substantial price

 breaks for consumers as increased competition drives prices towards the marginal cost of

 production. Reviewing a study of data prior to the collusive activities alleged herein, the United

 States Food and Drug Administration (“FDA”) concluded that “[g]eneric competition is

 associated with lower drug prices[.]” See U.S. Food & Drug Ass’n, Generic Competition and

 Drug Prices (last updated May 13, 2015), https://www.fda.gov/aboutfda/centersoffices/officeof

 medicalproductsandtobacco/cder/ucm129385.htm. Specifically, the FDA determined that prices

 should decline substantially where at least two generic manufacturers have entered the market:




 Id. A Federal Trade Commission study reached the same conclusion, finding that in a “mature

 generic market, generic prices are, on average, 85% lower than the pre-entry branded drug




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 prices.” See Fed. Trade Comm’n, Pay-for-Delay: How Drug Company Pay-Offs Cost Consumers

 Billions (Jan. 2010), available at https://www.ftc.gov/sites/default/files/documents/reports/ pay-

 delay-how-drug-company-pay-offs-cost-consumers-billions-federal-trade-commission-staff-

 study/100112payfordelayrpt.pdf.

        90.     In the six quarters preceding the Relevant Period, Perrigo’s Generic Rx unit relied

 on anti-competitive markets to generate its “star” performance. In contrast to the price declines

 that are typically associated with maturing generic markets, Perrigo relied on collusion with

 other manufacturers of generic drugs, or in some cases took advantage of pre-existing price-

 fixing conspiracies, to engage in unprecedented price hikes that could never be accomplished in

 a competitive market. According to a Wall Street Journal analysis into generic drug price fixing,

 eight of the nine best-selling Perrigo generic drugs analyzed had price boosts of up to 531%

 since September 2013:




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 See J. Rockoff and M. Rapoport, Valeant’s New CEO Brings Familiar Prescription, Wall St. J.

 (July 5, 2016), https://www.wsj.com/articles/valeants-new-ceo-brings-familiar-prescription-

 1467745749. Experts from SSR Health LLC cited in the Wall Street Journal concluded, “Generic

 drug prices rose significantly in 2013 and 2014 . . . and Perrigo upped the list prices of its

 generics more than many rivals. The list prices of Perrigo’s drugs rose 52% over the past four

 years, compared with an average 18% across manufacturers.” Id. A Perrigo spokeswoman

 quoted in the Wall Street Journal article conceded, “we take our competitors’ pricing into

 account” when raising prices for Perrigo generics. Id.

        91.     Plaintiffs’ counsel here retained an economic analyst with deep experience in

 investigating antitrust allegations to examine the Perrigo generic drugs identified by the Wall

 Street Journal, and analyzed in the ASCAC, for signs of collusion. Plaintiffs’ economic expert

 determined that there were strong indicia of collusion, including dramatic price hikes

 contemporaneous with competitors following industry conferences and a startling absence of

 price variance following these hikes, in many of Perrigo’s most important generic drugs—

 desonide cream and ointment, econazole cream, permethrin cream, tretinoin cream, clobetasol

 gel and foam, and halobetasol cream and ointment—identifying no material differences from the

 analysis in the ASCAC. Because generic drugs by different manufacturers were therapeutically

 equivalent and interchangeable by pharmacists, there would be strong incentive for the

 manufacturers of these generic drugs to try to gain market share by lowering price in a normal,

 unaffected market. Moreover, each of the above-listed drugs had a highly-concentrated market

 structure susceptible to collusion, inelastic demand because most of the price increases fell to

 third-party payors, and high barriers to entry due to the requirement that new competitors first

 obtain an abbreviated new drug approval (“ANDA”) from the FDA. Third-party data services




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 such as Symphony Health Services, IMS and First Data Bank provided weekly pricing updates,

 transmitting prices among market participants. Finally, there were no non-collusive factors that

 could explain the rapid and coordinated price increases initiated by Perrigo and its so-called

 “competitors.”

                  1.     Desonide

        92.       Perrigo’s pricing of Desonide cream shows clear signs of collusion with Taro

 Pharmaceuticals (“Taro”) and other generic manufacturers. Desonide is a mild topical

 corticosteroid that has been used to treat a variety of skin conditions since the 1970’s and has

 been available in generic form for decades. For years, competition among generic manufacturers

 kept prices stable, at relatively low levels. Prior to the Relevant Period, Perrigo and Taro

 dominated the market for the most prevalent form of generic Desonide, external cream:




        93.       In February and April 2013, representatives of Perrigo and Taro met at the annual

 meetings of the Generic Pharmaceutical Association from February 20–22, 2013, in Orlando,

 Florida; the National Association of Chain Drug Stores (“NACDS”) from April 20–23, 2013, in



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 Palm Beach, Florida; and the June 4–5, 2013, Generic Pharmaceutical Association CMC

 workshop in Maryland. As is described in pleadings filed by the attorneys general (“AGs”) of

 forty-six states following a lengthy, ongoing investigation into generic drug price-fixing, such

 industry meetings are used by generic pharmaceutical executives to “sow the seeds for their

 illegal agreements,” which are refined via private meetings and communications. See, e.g.,

 Amended Complaint, Connecticut v. Aurobindo Pharma USA, Inc., No. 3:16-cv-02056, ECF.

 No. 168, ¶7 (D. Conn. Mar. 1, 2017); see also Plaintiff States’ [Proposed] Consolidated

 Amended Complaint, In re Generic Pharmaceuticals Pricing Antitrust Litigation, Nos. 16-MD-

 2724, 16-AG-27240, ECF No. 3-1,¶9 (E.D. Pa. Oct. 31, 2017) (proposed amended complaint

 expanding state AGs’ suit by targeting twelve more drug companies (for a total of eighteen),

 thirteen more drugs (for a total of fifteen), and senior executives of two of the defendant drug

 companies, including Rajiv Malik, Mylan’s president and executive director).14

          94.   Promptly after these trade meetings, between April and June 2013, Perrigo and

 Taro both abruptly raised Desonide prices by approximately 600%. Thereafter, Perrigo and Taro


     14
         Perrigo is not currently named as a defendant in the state AGs’ actions. However, as
 Connecticut Attorney General George Jepsen explained, after two years of investigation his
 office has “evidence of widespread participation in illegal conspiracies across the generic drug
 industry.” See Press Release, Office of the Attorney General, Connecticut Leads 20 State
 Coalition Filing Federal Antitrust Lawsuit against Heritage Pharmaceuticals, other Generic
 Drug Companies, (Dec. 15, 2016), http://www.ct.gov/ag/cwp/view.asp?Q=588538&A=2341. In
 an interview with The New York Times, Jepsen stated that the existing complaint was “just the
 tip of the iceberg.” He stressed that the “investigation is continuing, and it goes way beyond the
 two drugs in this lawsuit, and it involves many more companies than are in this lawsuit.” See
 Katie Thomas, 6 Generic Drug Makers Accused of Fixing Prices, N.Y. Times, B2 (Dec. 16,
 2016).
      Further, on October 31, 2017, Jepson stated that “[o]ur ongoing investigation continues to
 uncover additional evidence, and we anticipate bringing more claims involving additional
 companies and drugs at the appropriate time.” Press Release, Office of the Attorney General, AG
 Jepsen Leads Coalition in New, Expanded Complaint in Federal Generic Drug Antitrust
 Lawsuit, (Oct. 31, 2017), http://www.ct.gov/ag/cwp/view.asp?Q=597392&A=2341.



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 continued to maintain this high fixed price, and other manufacturers which began to sell generic

 Desonide did so at the prices fixed by Perrigo and Taro:




 According to the calculations of Plaintiffs’ expert, between 2013–2016, Perrigo’s prices for

 generic Desonide were nearly 97% correlated with those of Taro Pharma USA, and were 100%

 correlated with prices from new market entrants Actavis and G&W Labs. These coordinated,

 extreme price hikes and the complete lack of price variation following fixing are both strong

 indicia of collusion.

        95.     During the Relevant Period, an article in eDermatology News noted that there was

 no rational basis for generic Desonide price hikes:

                [R]ecently I’ve become aware of a new wrinkle that complicates
                daily practice life for both doctors and patients in a significant
                way. I can’t make any sense of it.

                I mean the high price of desonide.

                When I was [a] student many years ago, my teachers told me that I
                should prescribe generic drugs whenever possible. This would help
                hold down medical costs. It was the right thing to do.

                                                ***


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               But lately I’ve been getting complaints from patients about the
               high cost of desonide. My first reaction to these was, “How on
               earth is that possible?”

                                                ***

               I asked my secretary to call the pharmacy to get a price for other
               generic steroid creams. Triamcinolone would cost $14.70.
               Alclometasone would cost $35.20.

               And desonide – generic desonide – would cost $111.70. For a 15-g
               tube. $111.70 for 15 g of a generic cream that’s been on the market
               forever! Does that make any sense?

 Alan Rockoff, M.D., The high price of desonide, eDermatology News (Feb. 3, 2015),

 http://www.mdedge.com/edermatologynews/article/96892/high-price-desonide.

        96.    The coordinated price hikes substantially increased monthly Desonide revenues

 for Perrigo and other generic manufacturers:




        97.    Perrigo generated millions of dollars in collusive revenues through

 supracompetitive pricing of Desonide cream. Indeed, as alleged in the Amended Securities Class


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 Action Complaint (at ¶76), the lead plaintiff’s expert determined that Perrigo derived $98.3

 million in collusive revenues across its formulations of generic Desonide for 2014, $49.7 million

 for 2015, and $22.6 million for 2016.15

                2.      Econazole

          98.   Similarly, anti-competitive pricing can be seen in generic Econazole, a

 prescription cream marketed since 1982 and available in generic form since 2002, which is used

 to treat skin infections such as athlete's foot, jock itch, and ringworm. Like Desonide, Perrigo

 dominated the generic Econazole market in the years preceding the Relevant Period:




     15
        As detailed in the ASCAC, the lead plaintiff’s expert determined the collusive revenues
 that Perrigo earned by supracompetitive pricing of Desonide and the other compounds discussed
 below through a multi-step process under which the expert first ascertained what the price per
 unit would have been but for the collusion. See ASCAC ¶76 (describing methodology and
 assumptions).




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        99.     Just as with Desonide, Perrigo and other manufacturers made unprecedented,

 coordinated price hikes in generic Econazole cream prices just after attending industry meetings,

 in this case the February 19–21, 2014, Generic Pharmaceutical Association annual meeting in

 Orlando, Florida and the June 3–4, 2014, Generic Pharmaceutical Association CMC workshop

 meeting in Maryland:




 According to the calculations of Plaintiffs’ expert, between 2014–2016, Perrigo prices for

 generic Econazole cream were 97.82% correlated with prices from Igi Labs, and 78.76%

 correlated with prices from Taro. As with Desonide, the lockstep, extreme price hikes and lack of

 price variation following fixing of generic Econazole indicate a high likelihood of collusion.

        100.    The coordinated 2014 price hikes in generic Econazole were extremely lucrative.

 For Perrigo and the other two substantial producers of generic Econazole, Taro and Igi, monthly

 revenues ramped substantially following the price hikes:



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        101.    Perrigo generated millions of dollars in collusive revenues through

 supracompetitive pricing of Econazole cream. As alleged in the ASCAC (at ¶80), the lead

 plaintiff’s expert determined that Perrigo reaped $72.5 million in collusive revenue from generic

 Econazole cream in 2014, $125.2 million in 2015, and $53.6 million in 2016.

                3.     Permethrin

        102.    Collusion is also evident in the 300%+ contemporaneous price hikes that Perrigo

 and other generic manufacturers rammed through for permethrin cream, a prescription treatment

 for lice and scabies that is on the World Health Organization’s List of Essential Medicines.

 Permethrin has been available in branded form since 1986 and in generic form since 1998.

 Perrigo, which has sold Permethrin since 2003, dominates the market, selling far more than its

 peers Actavis Pharma and Renaissance Acquisition Holdings (now a division of Mylan):




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        103.    Although economic theory and the actual experience documented by the FDA in

 competitive generic drug markets indicates that when additional competitors enter the market,

 prices should drop (see supra ¶89), Perrigo successfully increased prices for Permethrin as

 competitors entered the market:




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 Even with these large hikes, Plaintiffs’ expert has calculated that Perrigo’s prices for generic

 Permethrin cream remained nearly 99.4% correlated between 2011–2015 with those of Actavis.

 Such lockstep pricing is strong indicia of collusion. Moreover, each price hike occurred after

 industry conferences, specifically the February 2011 and 2013 annual meetings of the Generic

 Pharmaceutical Association, which are industry meetings that have been identified by the

 Department of Justice for their role in facilitating price-fixing in the generic drug industry. See

 supra ¶93.

        104.    The coordinated price hike caused monthly sales to increase substantially for both

 Perrigo and Actavis, demonstrating the benefit of the price-fixing conspiracy to its participants,

 and the demand inelasticity of Permethrin:




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        105.    Perrigo generated millions of dollars in collusive revenues through

 supracompetitive pricing of Permethrin external cream. As alleged in the ASCAC (at ¶84), the

 lead plaintiff’s expert determined that Perrigo received collusive revenues for Permethrin cream

 totaling $79.1 million in 2014, $60.4 million in 2015, and $73.8 million in 2016.

                4.      Tretinoin

        106.    While Perrigo may not have been responsible for initiating collusion in generic

 Tretinoin, a topical treatment for acne more commonly known as Retin-A, it certainly enjoyed

 inflated returns because of price fixing in this market. Perrigo acquired a portfolio of tretinoin

 products from Matawan Pharmaceuticals, a division of Rouses Point Pharmaceuticals

 (“Rouses”), in December 2015. Perrigo had previously served as the authorized generic

 distributor of these products from 2005 to 2013, so it was familiar with what pricing in this

 market should have been in a normal competitive market. At all relevant times, the portfolio of

 products distributed by Perrigo, briefly sold by Rouses itself, then reacquired by Perrigo,

 dominated the market for generic Tretinoin:




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        107.    Lockstep price increases were implemented while the Tretinoin portfolio was

 controlled by Rouses, which were maintained after Perrigo’s December 2015 purchase:




 According to the calculations of Plaintiffs’ expert, between 2013–2016, Perrigo’s prices for

 generic Tretinoin external cream were highly correlated with prices from Spear Derm and

 Actavis—specifically, according to those calculations, Perrigo prices for generic Tretinoin



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 external cream were nearly 93% correlated with prices from Spear Derm and 95% correlated

 with Actavis Pharma. 16 Perrigo generated millions of dollars in collusive revenues through

 supracompetitive pricing of Tretinoin external cream. As alleged in the ASCAC (at ¶86), the lead

 plaintiff’s expert determined that Perrigo’s results were inflated by $84.1 million in collusive

 revenue from generic Tretinoin revenues in 2016.

                 5.     Clobetasol

          108.   Clobetasol is a potent corticosteroid used to treat eczema, dermatitis, and

 psoriasis, among other skin conditions. Many formulations of Clobetasol, another important

 Perrigo generic drug, also showed signs of collusion. For example, for generic Clobetasol gel,

 Perrigo was the dominant producer throughout the Relevant Period in a market with only four

 substantial participants:




          109.   For the gel formulation of Clobetasol, the other three substantial producers

 engaged in coordinated, collusive price hikes in 2014, simultaneously inflating prices by several

 hundred percent. In January 2016, Perrigo joined the existing price-fixing conspiracy and raised

     16
        In calculating the correlation between Spear Derm’s and Actavis’ prices for generic
 Tretinoin, Plaintiffs’ expert reached results that were not materially different to those alleged in
 the Amended Securities Class Action Complaint. See ASCAC ¶86 (alleging that Actavis’ prices
 for generic Tretinoin were 82% correlated with Spear Derm’s prices).



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 its own prices five-fold so that they were approximately identical to all other competitors.

 Because all other market participants had agreed to maintain the same anti-competitive prices,

 and because demand for Clobetasol gel was extremely inelastic, Perrigo’s price inflation led to a

 huge spike in monthly sales:




 Perrigo generated millions of dollars in collusive revenues through supracompetitive pricing of

 Clobetasol gel. As alleged in the ASCAC (at ¶88), the lead plaintiff’s expert determined that

 Perrigo’s collusive revenues across various formulations of Clobetasol were $28.0 million in

 2014, $21.1 million in 2015, and $43.0 million in 2016.

                6.      Halobetasol propionate

        110.    Another key topical generic drug, halobetasol propionate, shows similar evidence

 of collusion. Halobetasol propionate is a corticosteroid used on the skin to reduce swelling,

 redness, and itching due to certain dermatological conditions. It has been available in generic

 form since 1990. Perrigo dominated the market for generic halobetasol propionate ointment,

 along with another manufacturer, G&W Labs:




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        111.    Perrigo and G&W Labs kept their prices highly correlated between 2012–2016,

 including a massive lockstep hike in 2013 just after the annual meeting for the Generic

 Pharmaceutical Association:




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        112.    The coordinated price hikes in halobetasol propionate ointment were very

 profitable for both Perrigo and G&W Labs. Monthly sales revenue from the drug more than

 doubled for both Perrigo and G&W Labs immediately following the lockstep 2013 price hike:




 Perrigo generated millions of dollars in collusive revenues through supracompetitive pricing of

 Halobetasol Propionate ointment. As alleged in the ASCAC (at ¶91), the lead plaintiff’s expert

 determined that the collusive revenues from halobetasol propionate were $17.7 million in 2014,

 $15.4 million in 2015, and $14.4 million in 2016.

        E.      To Fend Off Hostile Bid from Mylan, Defendants Inflate Growth Projections.

        113.    On April 8, 2015, Mylan made an unsolicited offer directly to Perrigo

 shareholders to acquire the Company for $205 per share in cash and stock, a premium of

 approximately 25% above the price that Perrigo shares had closed at the prior trading day, and

 substantially above any price at which Perrigo shares had traded for the entire history of the




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 Company. In the public offer letter addressed to Defendant Papa, Mylan Chairman of the Board

 Robert Coury stated:

               As you and I have discussed on a number of occasions over the
               past few years, a combination of Mylan and Perrigo offers clear
               and compelling strategic and financial benefits, has sound
               industrial logic, and would create a global leader with a unique and
               one-of-a-kind profile. We have complementary operations across
               all of our businesses, both from a product and geographic
               perspective. In an environment where scale and reach are
               becoming increasingly important, the combination of our
               companies would result in an unmatched global platform,
               substantial revenue and operating synergies, and enhanced long-
               term growth potential, all of which would serve to create
               significant value for the combined company’s shareholders and
               other stakeholders.

               Based on our many conversations over the years and my
               knowledge of Perrigo, I have often noted the similarity in the
               culture and core values of our two companies. We both place
               paramount emphasis on integrity, respect and responsibility in our
               commitment to provide the world’s 7 billion people access to the
               broadest range of affordable, high quality medicine. We also have
               a common focus on innovation, reliability and excellent customer
               service. Most importantly, all of our people are dedicated to
               creating better health for a better world, one person at a time. This
               shared culture and these common values will be key contributors to
               a successful integration.

               For the foregoing reasons, I am writing on behalf of Mylan to
               propose a combination of Mylan and Perrigo in a transaction that
               would deliver to your shareholders significantly greater near-term
               and long-term value than they could otherwise obtain on a
               standalone basis. Our proposal is the natural culmination of our
               prior discussions and reflects our shared vision for the industry.
               This is the right time for our two companies to move forward
               together, and Mylan and our Board are firmly committed to
               making this combination a reality.

               Specifically, we propose to offer Perrigo shareholders $205 in a
               combination of cash and Mylan stock for each Perrigo share,
               which represents a greater than 25% premium to the Perrigo
               trading price as of the close of business on Friday, April 3, 2015,
               a greater than 29% premium to Perrigo’s sixty-day average share
               price and a greater than 28% premium to Perrigo’s ninety-day
               average share price.


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                Our proposal provides a very significant cash payment to Perrigo
                shareholders. In addition, even with conservative assumptions for
                what we believe to be significant and meaningful synergies coming
                from both companies, our proposal provides Perrigo shareholders
                with an even greater equity value in the combined company than
                they currently have in Perrigo today.

                In addition to the compelling value to shareholders, a combination
                of Mylan and Perrigo would offer substantial benefits to the other
                stakeholders of both companies. In particular, the combination
                would provide a broader variety of opportunities to our employees
                and increased stability for the communities in which we operate
                and serve. The position of our creditors and suppliers would be
                enhanced by the combined company’s scale and significant free
                cash flows, and patients would receive improved access to
                affordable, high quality medicine through increased scale across
                geographies and robust capabilities to drive innovation.

 See Form 425 filed by Mylan on April 8, 2015.

        114.    Because Perrigo is an Irish company, Mylan’s April 8, 2015 proposal commenced

 an offer period under the Irish Takeover Rules, which strictly governed both Mylan’s bid and

 Perrigo’s defense against the bid. In particular, to prohibit unsubstantiated claims to support or

 defeat an offer, Irish Takeover Rules require the directors of the offeror and offeree, when

 making public statements, to “accept responsibility for the information contained in the

 document or advertisement and [to state] that, to the best of their knowledge and belief (having

 taken all reasonable care to ensure that such is the case), the information contained in the

 document or advertisement is in accordance with the facts and, where appropriate, that it does

 not omit anything likely to affect the import of such information.” Irish Takeover Rule 19.2.

        115.    Because financial projections by the offeror and offeree can unfairly influence

 takeovers, Irish Takeover Rules further require that every profit forecast by an offeror or offeree

 “(including the assumptions upon which it is based) shall be compiled with scrupulous care,

 accuracy and objectivity by the directors of the offeror or (as the case may be) of the offeree…”

 Irish Takeover Rule 28.1.


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         116.    In response to the announcement, investors sent both stocks sharply higher.

 Analysts were similarly positive. Bank of America/Merrill Lynch stated, “From a business

 combination perspective, this makes sense to us as it brings together two companies with

 arguably best-in-class operations in the generic (MYL) and OTC (PRGO) spaces.” Barclays

 wrote: “We believe a combination between MYL and PRGO would offer a unique value

 proposition to their customers. . . .” Deutsche Bank concluded that “the combination of these

 companies makes a lot of strategic sense. . . . MYL represents a de-risking as PRGO would

 otherwise be in a multi-year globalization phase.” UBS predicted that the combined stock would

 move higher over the next year. Market observer Jim Cramer opined that “[t]hese two would be

 a match made in heaven.” See Summary of Analyst Opinions, Form 425 filed by Mylan on May

 5, 2015, at slide 32.

         117.    On or about April 21, 2015, Defendants decided to reject Mylan’s unsolicited bid

 and keep Perrigo an independent company. To make their case to investors, Defendants both

 concealed the true deterioration of Perrigo growth and affirmatively misrepresented the truth. In

 a press release that day, Perrigo falsely told investors that Mylan’s $205 bid “substantially

 undervalues the Company and its growth prospects,” and that the offer “does not take into

 account the full benefits of the Omega Pharma acquisition.”

         118.    In an investor presentation also held on April 21, 2015, Defendants ramped up

 their claims that an independent Perrigo was worth more than $205 because it had a “durable

 competitive position” and a “compelling growth strategy.” See Investor Presentation, Slide 3, Ex.

 99.2 to Form 8-K filed on April 21, 2015. Papa accepted personal responsibility in writing for

 the April 21, 2015 investor presentation, making the representations required by Irish Takeover

 Rule 19.2 and set forth in paragraph 93 above. See Ex. 99.2 to April 21, 2015 Form 8-K, Slide 1.




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        119.    In a slide entitled “Proven Financial Track Record,” Defendants claimed that

 Perrigo had a “proven history of meeting our goals,” identifying organic net sales growth of 7%

 between 2011 and 2014, and also had “the ability to keep delivering” growth in the 5–10%

 range. Id. at slide 10. For its Generic Rx division, Perrigo enhanced its hype even further, telling

 investors to expect growth in the 8% to 12% range. Id. at slide 9. In the oral part of the

 presentation, Papa claimed to “see additional upside for Perrigo on the horizon over and above”

 the organic growth goal. Defendants omitted entirely the fact that organic growth had slowed

 substantially, had not reached 7% in any of the last six quarters, and that even the growth

 reported was boosted by anti-competitive practices in the Generic Rx division and the

 unsustainable optimizing of sales.

        120.    Perrigo called its growth strategy “base plus plus plus,” which it depicted visually

 with a pyramid:




 The base was the existing businesses with their inflated 5–10% growth projections. Layered on

 top of that was the industry trend of switching from prescription to OTC, which theoretically



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 helped the core CHC business but had failed to deliver much upside for several quarters. At the

 very top of the “base plus plus plus” pyramid, above mergers and acquisitions, was the

 projection of “Tysabri upside” from possible new indications in stroke and secondary

 progressive multiple sclerosis.

        121.    The April 21, 2015 presentation was also misleading with respect to generic drug

 pricing. Defendant Papa falsely told investors that “[o]n the question of pricing…our goal on

 pricing has been the same goal, really for all the time, almost nine years I’ve been at Perrigo.

 What we seek to do on our pricing is keep pricing flat to up slightly.” In truth, Perrigo had

 massively spiked prices of many of its most important generic drugs by colluding with other

 generic manufacturers and/or joining prices fixed by existing illegal conspiracies.

        122.    Regarding Omega, Defendants’ presentation claimed the acquisition was

 “accretive to Perrigo’s organic growth profile,” see Ex. 99.2 to April 21, 2015 Form 8-K, slide

 24, and Papa further exclaimed, “[w]e’re very pleased with our initial integration projects.” In

 fact, Papa and the other Defendants were aware of the serious problems with the integration and

 management of Omega and also knew that Omega management had modeled long-term organic

 growth of just 3.2%, well below the 5–10% range claimed by Perrigo.

        123.    Defendants repeated these misrepresentations and omissions, and made additional

 misrepresentations and omissions throughout the offer period, all of which are detailed in Section

 V below.

        124.    On April 24, 2015, Mylan made a legally binding commitment to tender for

 Perrigo shares at $60 cash plus 2.2 Mylan shares per Perrigo share tendered. At Mylan’s closing

 price that day of $76.06, the revised bid was worth over $227 per share. Perrigo’s board again

 rejected the offer and encouraged shareholders not to tender shares.




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          125.   On April 29, 2015, Mylan increased its bid again, this time to $75 cash plus 2.3

 Mylan shares per Perrigo share tendered. At Mylan’s closing price of $74.50 on April 29, 2015,

 the revised bid was worth over $246 per share. Again, Perrigo’s board rejected the offer and

 encouraged shareholders not to tender shares.

          126.   While promoting Perrigo’s organic growth claims to investors, Defendants knew

 that organic growth was eroding. For the six quarters reported before the Relevant Period,

 Perrigo had averaged approximately 1% in organic growth, a slowdown it did not report to

 investors. See supra ¶80. In the second calendar year quarter of 2015, organic growth turned

 negative, for both the quarter and the trailing twelve months.17 Nonetheless, to encourage

 investors to ignore this deterioration, Defendants issued an investor presentation on August 6,

 2015, purportedly developed under the strict requirements of the Irish Takeover Rules,

 reiterating that organic growth targets remained intact and claiming to have a “strategy for

 delivering 5-10% organic growth.” See August 2015 investor presentation, available at

 https://www.sec.gov/Archives/edgar/data/1585364/000158536415000093/august2015investorpre

 sen.htm. However, at the time: (a) Perrigo had not been able to consistently deliver organic

 growth in that range over the last six quarters; (b) Perrigo was having substantial problems

 integrating its largest acquisition, Omega; (c) Perrigo and other generic drug competitors were

 facing considerable headwinds as increasing scrutiny from regulators and customers made it

 more difficult to obtain the supracompetitive pricing driving results in Perrigo’s Generic Rx




     17
        Specifically, Plaintiffs determined that Perrigo’s organic growth for the quarter ended
 June 27, 2015, was approximately -2.1%, calculated in the manner described in paragraph 82 and
 adjusted to exclude inorganic revenue from the recent acquisitions of Omega ($401.2 million),
 Gelcaps ($4.5 million), and Lumara ($6.03 million, estimated), and the average organic growth
 over the four quarters ending June 27, 2015 was thus approximately -2.6%.



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 division; and (d) although masked by Perrigo’s accounting violations, the fair value of Perrigo’s

 largest financial asset, the Tysabri royalty stream, had already started to plummet.

          127.   By the time of Perrigo’s August 2015 investor presentation, generic drug makers

 were under increasing scrutiny for price-fixing. Four manufacturers, including Actavis, which

 shared the lucrative generic Retin-A (tretinoin) market with Perrigo, had disclosed that they

 received subpoenas from the United States Department of Justice’s Antitrust Division related to

 generic drug pricing and collusion. An article published on August 7, 2015, in FiercePharma (a

 widely-followed daily news resource for pharmaceutical executives), reported that “the DOJ is

 looking into whether trade associations were used as a conduit to trade drug-pricing

 information.” See Eric Palmer, Actavis gets subpoena as DOJ probe of generic pricing moves up

 food chain, FiercePharma (Aug. 7, 2015), http://www.fiercepharma.com/regulatory/actavis-gets-

 subpoena-as-doj-probe-of-generic-pricing-moves-up-food-chain. This put Perrigo in the spotlight

 of regulators, as it had increased prices of several generic drugs by several hundred percent or

 more in coordination with competitors shortly after trade association meetings. See Section

 IV(D).

          128.   On September 14, 2015, Mylan commenced its formal tender offer to purchase

 Perrigo shares. As Mylan had earlier promised, Perrigo shareholders would receive $75 in cash

 and 2.3 Mylan ordinary shares for each Perrigo ordinary share tendered. The deadline to tender

 shares was November 13, 2015, and the offer required only 50% of shares to be tendered. Mylan

 described its offer to Perrigo shareholders as deciding between one of two scenarios: either

 accept a “highly attractive offer” including $75 in cash and a total value substantially greater

 than Perrigo’s market price, or, alternatively, receive no cash and risk a significant decline in the




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 value of Perrigo’s stock, while “weathering the delays and potential execution and integration

 risk inherent in Perrigo’s standalone strategy.”

        129.    On September 17, 2015, Defendants urged Perrigo investors to reject Mylan and

 not tender shares into the offering. The letter to investors issued that day by Defendants Perrigo

 and Papa boasted that since 2007, “we have successfully integrated 27 acquisitions with trailing

 12-month net sales of more than $3.2 billion, all while maintaining our relentless focus on return

 on invested capital. Simply stated, Perrigo has an outstanding track record of value creation

 and our future is bright.” In fact, Perrigo had not successfully integrated its largest acquisition,

 Omega, had not been able to consistently deliver organic growth in that range over the last six

 quarters, and had covered up value destruction for its largest financial asset, the Tysabri royalty

 stream, by applying the wrong accounting treatment and refusing to mark the asset to its fair

 market value quarterly as GAAP required.

        130.    On October 22, 2015, Perrigo announced results for the third calendar quarter,

 emphasizing income growth in the Generic Rx division without disclosing the anti-competitive

 practices boosting that growth. As with the prior quarterly release, Perrigo masked the

 diminished value of its largest financial asset, the Tysabri royalty stream, by, as they later

 admitted, failing to account for the change in fair value as required by GAAP. Perrigo also

 announced that it would cut costs by laying off 800 workers, and authorized a debt-fueled $2

 billion share buyback. However, Defendants did not disclose that cutting workers would impair

 Perrigo’s organic growth and integration efforts.

        131.    That same day, Defendants doubled down on their materially misleading profit

 forecasts, purportedly issued under the strict standards of the Irish Takeover Rules. With the

 Mylan takeover deadline only weeks away, Defendants projected not only strong results in the




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 remainder of the 2015 calendar year, but also blockbuster returns for 2016. Defendants touted a

 baseline earnings projection of $9.30 per share and projected that share buybacks and efficiency

 gains would further boost that figure to $9.83 per share. In a letter supplied to shareholders

 issued pursuant to the Irish Takeover Rules, and filed with the SEC as an attachment to Form 8-

 K on October 22, 2015, Defendants acknowledged their obligation to make “certain attestations

 to those profit forecasts.” They further conceded that the directors prepared the profit forecast,

 and did so based on growth assumptions which were expressly “within the directors’ influence

 and control.”

        132.     Defendants’ misrepresentations and omissions succeeded. On November 13,

 2015, Perrigo investors tendered less than the 50% threshold, ending Mylan’s takeover bid.

 Instead of receiving $75 cash and additional equity compensation, Perrigo investors had to face

 Perrigo’s true prospects as an independent company.

        133.     On January 11, 2016, Defendants Perrigo and Papa issued a press release

 adjusting 2016 earnings guidance to reflect two accretive acquisitions made in December 2015.

 According to the press release, Perrigo’s purchase of a generic version of Entocort added $0.35

 per share to the projection, and its purchase of various generic Retin-A (tretinoin) formulations

 added another $0.20. As a result, Perrigo and Papa claimed that Perrigo would earn $9.50 to

 $10.10 per share.

        134.     Although Defendants’ misleading efforts cost Perrigo shareholders dearly, they

 enriched Defendants Papa and Brown. Perrigo’s Board of Directors awarded Papa and Brown a

 “special cash bonus” of $500,000 and $375,000, respectively, for their “key contributions related

 to Mylan’s takeover attempt.” Also, on December 28, 2015, the Board granted restricted stock to




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 Papa worth $1.5 million, and to Brown worth $375,000 to further “recognize” their merger

 defense “contributions.” See Perrigo Form PRE 14A filed with the SEC on March 4, 2016.

        F.      Defendants Hide Billions of Dollars of Deterioration in Perrigo’s Largest
                Financial Asset by Violating GAAP

        135.    Throughout the Relevant Period, the royalty stream for Tysabri was Perrigo’s

 largest financial asset and played an important role in the “base plus plus plus” growth strategy

 Defendants claimed as a basis to reject Mylan’s takeover offer. High margin revenues from

 existing indications were an important part of the base for which Perrigo predicted 5% –10%

 organic growth, and the potential for additional revenues from new treatment indications in

 stroke and secondary progressive MS was so significant that it formed its own “plus” layer,

 which Defendants visually depicted at the top of their revenue pyramid. See ¶120.

                1.     Applicable GAAP Requirements

        136.    GAAP include those principles recognized by the accounting profession as the

 conventions, rules, and procedures necessary to define accepted accounting practices at a

 particular time. SEC Regulation S-X (17 C.F.R. § 210.4-01(a)(1)) provides that financial

 statements filed with the SEC that are not presented in accordance with GAAP will be presumed

 to be misleading, despite footnotes or other disclosures. The Financial Accounting Standards

 Board (“FASB”), the entity that holds the authority to promulgate GAAP, has codified GAAP

 into a numbered scheme called the Accounting Standards Codification (“ASC”), which has been

 adopted as the framework for financial reporting for all public filers. In addition, the FASB has

 issued guidance in the form of FASB Concept Statements (“FASCON”s), which set the

 objectives, qualitative characteristics, and other concepts used in the development of GAAP, and

 which reflect the underlying basis and framework for the promulgation of accounting standards.




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        137.    Financial statements (including footnote disclosures), like those filed on Forms

 10-Q and 10-K with the SEC, are a central feature of financial reporting. One of the fundamental

 objectives of financial reporting is to provide accurate and reliable information concerning an

 entity’s financial performance during the period being presented. FASCON No. 8, Conceptual

 Framework for Financial Reporting (“FASCON 8”), which, as its title provides, represents,

 along with other FASCONs, the framework for financial accounting, states that “[t]he objective

 of general purpose financial reporting is to provide financial information about the reporting

 entity that is useful to existing and potential investors, lenders, and other creditors in making

 decisions about providing resources to the entity.” FASCON 8, ¶ OB2.

        138.    This framework also states that “[d]ecisions by existing and potential investors

 about buying, selling, or holding equity and debt instruments depend on the returns that they

 expect from an investment in those instruments,” and that “[i]nvestors’, lenders’, and other

 creditors’ expectations about returns depend on their assessment of the amount, timing, and

 uncertainty of (the prospects for) future net cash inflows to the entity.” FASCON 8, ¶ OB3.

        139.    FASCON 8 also states that, in order to assess an entity’s prospects for future net

 cash inflows, “existing and potential investors, lenders and other creditors need information

 about the resources of the entity, [and] claims against the entity.” FASCON 8, ¶ OB4. It also

 states that investors and other creditors are interested to know and understand, among other

 things, “how efficiently and effectively the entity’s management and governing board have

 discharged their responsibilities to use the entity’s resources.” Id.

        140.    Because investors, lenders, and other creditors rely on financial statements for

 much of the financial information they need to make rational decisions regarding the entity, they




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 are considered to be the primary users to whom general purpose financial reports are directed.

 FASCON 8, ¶ OB5.

        141.    A primary quality that renders financial information useful to investors, creditors,

 and other users in their decision-making is faithful representation. For an entity to faithfully

 represent what it purports to represent, including its financial position and the results of its

 operations for selected periods of time, information must be complete, neutral, and free from

 error. FASCON 8, ¶ QC12. To be complete, the financial information must include all

 information necessary for a user to understand the phenomenon being depicted, including all

 necessary descriptions and explanations. FASCON 8, ¶ QC13. To be neutral, the financial

 information must be without bias in the selection or presentation of such information. FASCON

 8, ¶ QC14. The standard describes a neutral depiction of financial information in more detail as

 follows:

                A neutral depiction is not slanted, weighted, emphasized,
                deemphasized, or otherwise manipulated to increase the probability
                that financial information will be received favorably or
                unfavorably by users. Neutral information does not mean
                information with no purpose or no influence on behavior. On the
                contrary, relevant financial information is, by definition, capable of
                making a difference in users’ decisions.

 Id.

        142.    Significantly, for financial assets like the Tysabri royalty stream, GAAP requires

 the assets be measured at their fair value at the end of each reporting period subsequent to their

 initial measurement. See ASC 815-10-35-1.

                2.      Defendants’ Accounting Admittedly Violated GAAP

        143.    Throughout the Relevant Period, Perrigo falsely stated that the value of the

 Tysabri royalty stream was $5.8 billion. This was not the fair market value of the royalty stream,

 and Defendants dodged the reporting of current fair market values by violating GAAP. While the


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 Company was unquestionably required to account for the royalty stream as a “financial asset,”

 marking the fair value to market at least each quarter, the Company instead treated it as if it were

 an “intangible asset.” The Company now admits this treatment violated GAAP. See Form 10-K

 filed on May 22, 2017. As a result of this accounting maneuver, investors were prevented from

 learning that the royalty stream had lost billions of dollars of value.

        144.    The Company concedes that its accounting for the Tysabri royalty stream violated

 GAAP. As the Company admitted in May 2017:

                After an extensive evaluation of the facts and circumstances and
                the judgments required to determine the appropriate classification,
                it was determined that under existing U.S. GAAP the contingent
                payments from Elan's May 2013 sale of Tysabri® to Biogen (the
                "Tysabri®royalty stream") should have been recorded as a
                financial asset, rather than an intangible asset, on the date of our
                acquisition of Elan.

                Our Tysabri®royalty stream is now accounted for in our
                consolidated financial statements for 2016 and prior restated
                periods as a financial asset using the fair value option. We made
                the election to account for the Tysabri financial asset using the fair
                value option as we believe this method is most appropriate for an
                asset that does not have a par value, a stated interest stream, or a
                termination date. Accounting for the Tysabri® royalty stream as a
                financial asset required us to adjust our financial statements for the
                Restated Periods to (1) remove the Tysabri® royalty stream from
                net sales in our Consolidated Statements of Operations, (2) remove
                the amortization expense (reflected in cost of goods sold)
                associated with recording the Tysabri® royalty stream as an
                intangible asset, and (3) include the quarterly changes in fair value
                of the Tysabri® royalty stream as a component of other non-
                operating income/expense. The cash payments we received from
                the royalty stream are included in our Consolidated Statements of
                Cash Flows for the Restated Periods and reflect the cash received
                from the Tysabri® royalty stream as cash from investing activities,
                rather than as cash from operating activities.

 Id. Perrigo knew all along that the Tysabri royalty stream was a financial asset. The Company

 never operated any business involving Tysabri, and in a May 2016 conference call with

 investors, then-CEO John Hendrickson expressly called the royalty stream a “financial asset.”


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 Accordingly, there was no basis for Perrigo to dodge the accounting required by ASC 815-10-

 35-1.

         145.   Perrigo’s restatement is an admission that its Relevant Period financial statements

 were materially false when made. GAAP defines a “restatement” as:

                The process of revising previously issued financial statements to
                reflect the correction of . . . [a]n error in recognition, measurement,
                presentation, or disclosure in financial statements resulting from
                mathematical mistakes, mistakes in the application of generally
                accepted accounting principles (GAAP), or oversight or misuse of
                facts that existed at the time the financial statements were
                prepared.

 ASC 250-10-20; see also ASC 250-10-45-17 (distinguishing that a mere “change in accounting

 estimate shall not be accounted for by restating or retrospectively adjusting amounts reported in

 financial statements of prior periods”).

                3.      Defendants’ Used GAAP Violations to Hide Billions of Dollars of
                        Deterioration in Fair Value

         146.   Perrigo’s GAAP violations were used to create the impression that the valuation

 of the Tysabri royalty stream remained intact, even as its actual value plummeted due to known

 adverse clinical and competitive developments.

         147.   In June 2015, the phase II trial for Tysabri as a treatment for stroke failed to meet

 its primary endpoint. This indication was one of the two potential new indications that

 Defendants Perrigo and Papa touted as “Tysabri upside” and placed at the very top of their “base

 plus plus plus” pyramid slide presented to investors. See paragraph 100. Instead of recording the

 diminution in fair value associated with this adverse development, Perrigo violated GAAP and

 told investors that the Tysabri royalty stream had the same value as before: $5.8 billion.

         148.   The “Tysabri upside” thesis fell apart in October 2015 when the phase III trial for

 the other proposed new indication, secondary progressive MS, also failed.



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          149.   Tysabri’s core indication for primary MS also came under attack in October 2015,

 when Phase III trial results for ocrelizumab, a competing drug, were so positive that experts

 called it a “game changer.” See Phase III studies show Roche’s ocrelizumab reduces relapse

 rate, delays disability progression in MS patients, News Medical (Oct. 12, 2015),

 http://www.news-medical.net/news/20151012/Phase-III-studies-show-Roches-ocrelizumab-

 reduces-relapse-rate-delays-disability-progression-in-MS-patients.aspx. In February 2016, the

 FDA designated ocrelizumab a “breakthrough therapy.” See Press Release, Roche (Feb. 17,

 2016),https://www.roche.com/investors/updates/inv-update-2016-02-17.htm.

          150.   Nevertheless, Defendants continued to insist the Tysabri asset was not impaired.

 Perrigo’s February 22, 2016 Form 10-KT, signed by each of the Individual Defendants, again

 referenced a $5.8 billion valuation for the Tysabri royalty stream. Even worse, the Form 10-KT

 stated that despite these negative developments, the royalty stream’s “fair value exceeded its

 carrying value.” This was false. As the Company now concedes, its internal calculations show

 that the fair value of the Tysabri royalty stream dropped from $5.42 billion in June 2015 to only

 $5.02 billion on April 2, 2016. By the end of 2016, the fair value was only $2.35 billion – less

 than half of the figure referenced in the February 22, 2016 Form 10-KT.

          151.   Defendants’ GAAP violations and blatantly false valuation assertions prevented

 investors from understanding the deterioration in Perrigo’s largest financial asset. Investors did

 not learn the extent of these losses until the Tysabri royalty stream was sold on February 27,

 2017, for only $2.2 billion (plus contingent payments that could total up to $650 million).

          152.   In May 2017, to correct their GAAP violations, Defendants took one of the largest

 restatements of any public company since 2001. As accounting consultancy Audit Analytics

 noted:




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                 Back in March, we predicted that Perrigo would likely restate its
                 historical financial statements. What we could not predict is that 85
                 days after the late filing, Perrigo would join the restatements club
                 with a staggering $1 Billion restatement of net income.

                 Since 2001, there have only been 19 restatements that exceeded the
                 $1 Billion threshold.

 Perrigo Restates to Correct More than $1 Billion in Errors, Audit Analysis (June 1, 2017),

 http://www.auditanalytics.com/blog/perrigo-restates-to-correct-more-than-1-billion-in-errors/.

 V.      MISREPRESENTATIONS AND OMISSIONS MADE BY DEFENDANTS
         DURING THE RELEVANT PERIOD

         A.      Omega Integration and Overvaluation

         153.    In the April 21, 2015 investor presentation discussed above, Perrigo and Papa

 assured investors that the Omega acquisition “is accretive to Perrigo’s organic growth profile,

 and creates additional value derived from synergies and increased global scale.” Presentation

 slides explained that the “directors of Perrigo accept responsibility for the information contained

 in this presentation. To the best of the knowledge and belief of the directors of Perrigo (who have

 taken all reasonable care to ensure such is the case), the information contained in this

 presentation is in accordance with the facts and does not omit anything likely to affect the import

 of such information.” Ex. 99.2 to April 21, 2015 Form 8-K, Slide 1. Defendants Perrigo and Papa

 also orally stated:

                 At Omega, we feel very good about the opportunity with Omega
                 and specifically what I would refer to and we’ve talked about in
                 the past about revenue synergies. We do believe that there are
                 revenue synergies with the product portfolio that we have at
                 Perrigo as we bring the 3,000 Perrigo products and help to bring
                 them to Omega and look for ways that we could do line extensions
                 of existing Omega brands. That’s something that we have teams
                 underway already from an integration process. Those teams are
                 very active in looking at which ones are the best ones to do, the
                 earliest ones to do and move that forward. We do believe that that
                 will allow us with the Omega portfolio to be in that 5% to 10%
                 compound annual growth rate. Obviously, the more success we


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                have with Omega, the more it would help us to be at the higher end
                of that from the revenue synergies point of view.

        154.    In response to an analyst question during the April 21, 2015 investor presentation,

 Defendants Perrigo and Papa went even further, stating:

                Q - David R. Risinger-MORGAN STANLEY -ANALYST: Many of
                my questions have been asked. I just wanted to ask about Omega
                though. So, I was hoping that you might be able to characterize the
                recent organic growth of Omega. Obviously, we don’t have access
                to that. And also, maybe discuss what you're assuming for Omega
                organic growth ex-currency over the next three quarters that's
                baked into your guidance for 2015? I just want to get a sense for
                the momentum of that business on a stand-alone basis.

                A - Joseph C. Papa: Sure. Well, I will start with Omega. We’re
                very pleased with our initial integration projects with Omega, so
                there is a lot of good activities happening with the integration
                team. I'd say it's focused on both driving that topline numbers to
                put your question but it's also focused on improving the cost of
                goods sold. We've got a supply chain team already working with
                them to drive the bottom line results as well. As I talk about the
                growth of Omega from a historical point of view moving into the
                future, it has been accretive to our growth rate. So, we’re excited
                about that.

        155.    The statements identified in paragraphs 147 and 148 were materially false and

 misleading when made because: (a) the Defendants had not “taken all reasonable care” to ensure

 that the characterization of Omega’s organic growth prospects, synergies, and integration was “in

 accordance with the facts and does not omit anything likely to affect the import of such

 information,” and, as a result, the presentation did omit material facts; (b) Omega was not

 accretive to Perrigo’s claimed organic growth rate; (c) the presentation omitted there were

 serious impediments to integration, including technological disparities, the decentralized

 structure of Omega, management resistance, and regulatory hurdles; and (d) the presentation

 omitted that Omega was already underperforming.




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        156.    On May 6, 2015, in response to an analyst’s request for “highlights . . . about

 Omega,” Defendant Papa explained that one of the key sources of the “tremendous revenue

 synergies” would be generated through substituting Omega’s outsourced manufacturing with

 Perrigo’s in-house manufacturing capabilities. According to Papa:

                [O]ne of the things Omega did really well was sales marketing.
                One of the things they, by their own admission, say they were not
                focused on was the supply chain and manufacturing. We think we
                can help them tremendously with that. We've already got over 20
                projects, identified staff to lower the cost of goods of the Omega
                product. I remind you that 79% of what Omega sells today, they
                outsource. Some of those products we can bring into a Perrigo
                facility or an Omega facility with our expertise, and lower the cost
                of goods by 30-40%, which will absolutely add to the bottom line
                of Omega and Perrigo.”

        157.    The statements identified in paragraph 150 were materially false and misleading

 when made because they omitted the following information necessary to make the statements not

 misleading under the circumstances in which they were made: (a) that EU regulatory hurdles

 would not allow Perrigo to simply transfer the 79% of supply outsourced by Omega to Perrigo’s

 U.S.-based manufacturing facilities, and Omega lacked the manufacturing facilities to satisfy this

 supply; and (b) there were serious, known impediments to the integration, including

 technological disparities, the decentralized structure of Omega, and management resistance,

 which undermined the synergies projected by Papa.

        158.    On June 2, 2015, Defendants held a conference call for analysts and investors, in

 which Perrigo, through Coucke, stated with respect to Omega:

                [W]e have achieved the success we see today through our unique
                and disciplined approach, and under the leadership of an
                exceptional management team that we have built here at Omega
                Pharma. Over the last three years as a private company, Omega
                Pharma has optimized its commercial infrastructure to deliver
                superior results. First of all, we hired best-in-class management
                and a consumer-centric sales and marketing team with extensive
                OTC experience.


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                Secondly, we streamlined the operations and we instituted an
                efficient management structure with real, efficient, direct, short
                reporting lines between Omega Pharma leadership team and
                country management.

        159.    The statements identified in paragraph 152 were materially false and misleading

 when made because: (a) Omega did not have an “exceptional management team” or “best-in-

 class management”; (b) Omega had not “optimized its commercial infrastructure”; and (c)

 Omega had not already “instituted an efficient management structure,” but instead required

 thorough restructuring.

        160.    On June 23, 2015, Defendants Perrigo and Brown attended the Oppenheimer

 Consumer Conference and stated as follows in response to an analyst question regarding the

 Omega integration:

                Q: I have observations on Omega integration and opportunities to
                get the Perrigo brands over to Europe....

                A - Judy L. Brown: Sure, great. I’m happy to talk about Omega.
                So Omega [P]harmaceuticals, a company that grew dramatically.
                Started in the mid-1990s by its founder who was a pharmacist and
                thought that there was a niche potential in the European over-the-
                counter pharma market of product lines that were potentially not
                being well served by big pharma, and continued to acquire small
                brands and build them together over the course of many years.
                Bought many smaller companies. Built them together, created
                infrastructure, which is what made the asset incredibly appealing
                for us at Perrigo was we had aspirations of growing
                internationally, but didn't have a distribution footprint. So as I
                mentioned earlier, part of the strength of our business model in the
                U.S. is that we have a truck rolling to pretty much every chain
                store, every large grocery store in the United States. We can reach
                everyone and we reach them almost on the daily basis. We did not
                have that infrastructure in Europe, but many, many hundreds of
                products that we eventually could sell if we had the infrastructure
                upon which to sell it.

                Omega gave us that. 35 countries in Europe, many brands,
                distribution reach. What made it what we felt was a great marriage
                and what the seller felt was also a wonderful marriage was the
                combination of their commercial knowledge, their sales and


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               marketing prowess, and their reach with our product and our
               supply-chain base.

               We closed the transaction on March 30, so we are about nine
               weeks in right now, and we are online – I should say in line with
               our going online integration process. Back office is working
               smoothly. We’re bringing them onto all of our back-office
               systems, and importantly what was the underlying core of this
               deal was allowing Omega to remain independent in their sales
               and marketing process, not interfering with that but providing
               them product to put into that pipeline.

               So that will – that is a regulatory process. They have been making
               selections of products in certain countries that they want from our
               lineup and starting the regulatory processes that are required to get
               those new drugs approved in those new markets. And that is on
               track. And it is exciting for that team because in one fell swoop
               you have leading sales and marketing teams country by country
               being able to pick from a list of products that are relevant to and
               important for their patients and consumers locally. So, we are well
               underway.

        161.   The statements identified in paragraph 154 were materially false and misleading

 when made because: (a) the Company was not “in line” with its planned Omega integration

 process; (b) the back office integration was not “working smoothly”; (c) the statements omitted

 that there were serious, known impediments to the integration of Omega, including technological

 disparities, the decentralized structure of Omega, and management resistance; and (d) the

 statements omitted that Omega was already underperforming.

        162.   On August 5, 2015, on a conference call held in connection with the Company’s

 announcement of financial results for the second quarter of calendar year 2015, Defendants Papa

 and Perrigo made the following materially false and misleading statements:

               Before we get into the agenda, however, I'd like to start by
               thanking Perrigo employees for their diligent focus[,] which has
               led to adjusted net income growth of 37%. Even with all the noise
               you have been following over the past few months, our nearly
               13,000 Perrigo employees have announced three M&A
               transactions, delivered on our Omega integration plan, achieved
               great operational efficiencies and productivity improvement,


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                executed on our new product launches, and delivered on our Base
                Plus Plus Plus strategy. It’s great work by the team.

        163.    The statements identified in paragraph 156 were materially false and misleading

 when made, because: (a) Perrigo’s employees had not “delivered on [the] Omega integration

 plan”; (b) the statements omitted that there were serious, known impediments to the integration

 of Omega, including technological disparities, the decentralized structure of Omega, and

 management resistance; and (c) the statements omitted that Omega was already

 underperforming.

        164.    On September 17, 2015, Perrigo, Papa and Perrigo’s directors issued a letter to

 investors urging them to reject Mylan’s tender offer. The letter trumpeted that since 2007, “we

 have successfully integrated 27 acquisitions with trailing 12-month net sales of more than $3.2

 billion, all while maintaining our relentless focus on return on invested capital. Simply stated,

 Perrigo has an outstanding track record of value creation and our future is bright.” The letter

 further stated that “[t]he directors of Perrigo accept responsibility for the information contained

 in this announcement. To the best of the knowledge and belief of the directors of Perrigo (who

 have taken all reasonable care to ensure such is the case), the information contained in this

 announcement is in accordance with the facts and does not omit anything likely to affect the

 import of such information.”

        165.    The statements identified in paragraph 158 were materially false and misleading

 when made because they misstated and/or omitted the following information necessary to make

 the statements not misleading under the circumstances in which they were made: (a) the

 Defendants had not “taken all reasonable care” to ensure that the descriptions of Perrigo’s record

 of integrating acquisitions and value creation was “in accordance with the facts and does not

 omit anything likely to affect the import of such information,” and as a result the letter did omit



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 material facts; (b) the letter omitted that Perrigo had not successfully integrated its largest

 acquisition, Omega; (c) the letter omitted that Omega’s senior executives had already warned

 Perrigo, Papa and Brown of regulatory impediments to their assumption that synergies could

 easily be achieved by swapping Omega’s suppliers that were located in its key markets with

 Perrigo’s U.S.-based supply chain; and (d) the letter omitted that Perrigo had not created value

 for shareholders by the Omega acquisition.

         166.    On the same day, Defendant Papa stated in his first public address to investors

 after Mylan’s tender offer opened, during which he explicitly and repeatedly attacked the Mylan

 offer as “dilutive,” that:

                 We supplemented [Omega] with our manufacturing infrastructure
                 so that we can—one of the clear synergies we saw is that we—
                 Omega was manufacturing only about 23% of what they were
                 selling. The other 77% was from outside their company. We said,
                 we can bring some of that back into our business, into the Perrigo
                 infrastructure, lower the cost of goods sold, and drive that to the
                 bottom.

         167.    The statements identified in paragraph 160 were materially false and misleading

 when made because they omitted the following information necessary to make the statements not

 misleading under the circumstances in which they were made: (a) Omega’s senior executives had

 already warned Perrigo, Papa and Brown of regulatory impediments to their assumption that

 synergies could easily be achieved by swapping Omega’s suppliers that were located in its key

 markets with Perrigo’s U.S.-based supply chain; (b) there were serious, known impediments to

 the integration of Omega, including technological disparities, the decentralized structure of

 Omega, and management resistance; and (c) that Omega was already underperforming.

         168.    On October 22, 2015, to justify its inflated profit forecasts for calendar years 2015

 and 2016, Perrigo and Papa indicated they assumed: (a) that 2016 net sales for the BCH (Omega)

 segment would grow in the middle of the 5%-10% guidance they had previously published; and


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 (b) that the “integration and realization of synergies in relation to the acquisition of, Omega

 Pharma . . . will proceed as planned and will not be subject to unforeseen material delays.”

 Perrigo and Papa further represented that these assumptions were “compiled with scrupulous

 care, accuracy and objectivity by the directors.”

         169.    The statements identified in paragraph 162 above were materially false and

 misleading when made because: (a) the Defendants had not compiled the assumptions regarding

 BCH net sales, integration of Omega, and realization of synergies with “scrupulous care,

 accuracy and objectivity”; (b) the statements omitted that Omega’s senior executives had already

 warned Perrigo, Papa and Brown of regulatory impediments to their assumption that synergies

 could easily be achieved by swapping Omega’s suppliers that were located in its key markets

 with Perrigo’s U.S.-based supply chain; (c) the statements omitted that there were serious,

 known impediments to the integration of Omega, including technological disparities, the

 decentralized structure of Omega, and management resistance; (d) the statements omitted that

 Omega was already underperforming; and (e) the statements omitted that Omega management

 had actually modeled Omega’s organic growth rate between 2013-2017 to be only 3.2% per year,

 not the 5%-10% range touted to investors.

         B.      Inflated Organic Growth Claims

         170.    Beginning on April 21, 2015, in a concerted effort to persuade Perrigo investors

 to reject Mylan’s $205 per share cash and stock acquisition offer, Defendants repeatedly made

 false claims regarding Perrigo’s organic growth. On that date, Perrigo and Papa issued a press

 release stating, inter alia, that:

                 Following a thorough review, advised by its financial and legal
                 advisors, the Board unanimously concluded that the Proposal
                 substantially undervalues the Company and its future growth
                 prospects and is not in the best interests of Perrigo’s shareholders.



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                Key factors informing the Board’s determination include:

                       The Proposal substantially undervalues Perrigo’s
                        differentiated global business, including the Company's
                        leading market position in key franchises, global
                        distribution platform, and proven expertise in product
                        development and supply chain management;

                       The Proposal would deny Perrigo shareholders the full
                        benefits of Perrigo’s durable competitive position and
                        compelling growth strategy, which is reflected in the
                        Company's three-year organic net sales compound
                        annual growth rate (CAGR) goal for calendar 2014 to
                        2017 of 5-10%;

                                                 ***

                Joseph C. Papa, Chairman, President and CEO, said, “The Board
                believes the Proposal substantially undervalues Perrigo and its
                growth prospects and that continued execution by the
                management team against our global growth strategy will deliver
                superior shareholder value. Perrigo has a long history of driving
                above market shareholder value through consistent growth with
                a focus on profitability and operational excellence, which is
                reflected in our organic net sales CAGR goal of 5-10% for the
                next three years. . . . We will continue to capitalize on our
                durable competitive position by expanding our international
                platform organically and through future synergistic deals. These
                actions will advance our leadership in the global OTC
                marketplace.”

 Defendant Papa expressly took responsibility for the contents and accuracy of the April 21, 2015

 press release. The press release stated “The directors of Perrigo accept responsibility for the

 information contained in this announcement. To the best of the knowledge and belief of the

 directors of Perrigo or Mylan (who have taken all reasonable care to ensure such is the case), the

 information contained in this announcement is in accordance with the facts and does not omit

 anything likely to affect the import of such information.”

        171.    The statements identified in paragraph 164 were materially false and misleading

 when made because: (a) Perrigo’s organic growth was not “consistent”; (b) the Defendants had



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 not “taken all reasonable care” to ensure that their characterizations of Perrigo’s growth and

 competitive position were “in accordance with the facts and does not omit anything likely to

 affect the import of such information,” and as a result the press release did omit material facts;

 (c) the statements omitted that over the six quarters preceding the Relevant Period, Perrigo’s

 actual average organic growth was far below 5-10%; (d) the statements omitted that Omega

 management modeled Omega’s long-term organic growth to be substantially below the 5-10%

 range referenced in the press release; (e) the statements omitted that the growth that Perrigo was

 able to achieve was derived to a material extent from unlawful, collusive pricing that inflated

 revenues in Perrigo’s Generic Rx division; (f) the statements omitted that Perrigo relied on the

 unsustainable and undisclosed sales practices Perrigo internally referred to as “optimizing” to

 achieve the growth it touted and projected; (g) the statements omitted that the Company had

 failed to integrate Omega operationally, a failure that would compromise the organic growth

 figures Defendants touted to investors; and (h) the statements omitted that certain of Perrigo’s

 key synergy assumptions for the Omega acquisition were unproven and unlikely to materialize,

 which would negate the cost savings and growth projections Defendants were touting to

 investors.

        172.    Also on April 21, 2015, Defendants made a presentation to investors attempting to

 justify their rejection of the lucrative Mylan offer. Presentation slides stated: “The directors of

 Perrigo accept responsibility for the information contained in this presentation. To the best of the

 knowledge and belief of the directors of Perrigo (who have taken all reasonable care to ensure

 such is the case), the information contained in this presentation is in accordance with the facts

 and does not omit anything likely to affect the import of such information.” During the




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 presentation, Defendants Perrigo and Papa (on behalf of all Perrigo’s directors at the time) stated

 as follows:

                Simply put, the Board believes that continued execution by the
                management team against our existing global growth strategy will
                deliver superior shareholder value. Perrigo has a long history of
                driving shareholder value through consistent, above-market
                growth and we are exceptionally well positioned to continue to
                deliver superior growth and shareholder value as we build our
                strong independent future.

                                                 ***

                We’re just back from the board meeting in Ireland and I’m thrilled
                to talk to you about our future growth prospects which gives me
                great confidence that our strong durable base will enable us to
                achieve our goal to grow our net sales by 5% to 10% into the
                future. We continue to grow at this rate on a significantly bigger
                base, but there is a significant potential upside not included in the
                CAGR goal. To reiterate this, our growth goal is purely organic.
                We have historically delivered a balanced mix of organic and
                inorganic growth, which we expect to continue into the future.
                We also see substantial upside for Perrigo on the horizon over and
                above this three-year goal.

                                                 ***

                It’s a very exciting chapter in the Perrigo growth story. We’ve built
                a tremendous platform for growth and value creation and our
                pipeline is stronger than ever. Plus, we are positioned to benefit
                from clear demographic trends and the movement of products from
                Rx to OTC. Plus, we have just completed the Omega acquisition,
                which, among other major benefits, provides a significantly
                enhanced international platform for additional growth.


        173.    The statements identified in paragraph 166 were materially false and misleading

 when made because: (a) Perrigo was not “exceptionally well positioned to continue to deliver

 superior growth”; (b) Perrigo did not have a “strong durable base” capable of delivering 5-10%

 “purely organic” growth; (c) the Omega acquisition did not “significantly enhance[]” Perrigo’s

 claimed organic growth rates; (d) Perrigo’s growth prospects and competitive position were not



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 accurately described and the Defendants had not “taken all reasonable care” to ensure that their

 characterizations of Perrigo’s growth and competitive position were “in accordance with the

 facts and does not omit anything likely to affect the import of such information”; (e) the

 statements omitted that Omega management modeled Omega’s long-term organic growth to be

 substantially below the 5-10% range referenced in the press release; (f) the statements omitted

 that the growth that Perrigo was able to achieve was derived to a material extent from unlawful,

 collusive pricing that inflated revenues in Perrigo’s Generic Rx division; (g) the statements

 omitted that Perrigo relied on the unsustainable and undisclosed sales practices Perrigo internally

 referred to as “optimizing” to achieve the growth it touted and projected; (h) the statements

 omitted that the Company had failed to integrate Omega operationally, a failure that would

 compromise the organic growth figures Defendants touted to investors; (i) the statements omitted

 that certain of Perrigo’s key synergy assumptions for the Omega acquisition were unproven and

 unlikely to materialize, which would negate the cost savings and growth projections Defendants

 were touting to investors; and (j) Omega management modeled Omega’s long-term organic

 growth to be substantially below the 5-10% range referenced in the presentation.

        174.    During the April 21, 2015 investor presentation, Defendants Perrigo and Brown

 utilized slides claiming (in relevant part) to establish Perrigo’s “Proven Financial Track Record,”

 “[a] proven history of meeting our goals,” and “the ability to keep delivering”:




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 Brown, on behalf of Perrigo and Papa, stated:

                The durability of our diverse product portfolio is clearly evident,
                as our consolidated result is solidly in the range. We have met
                our consolidated organic-only goals in the past and fully intend
                to do so in the future. Looking forward, our goal is to once again
                deliver an organic net sales CAGR for the next three years in the
                5% to 10% range while off a significantly larger base.

        175.    The statements identified in paragraph 168 were materially false and misleading

 when made because: (a) Perrigo did not have the “ability to keep delivering” organic net sales

 growth of 5-10%, and had not had that ability for several quarters; (b) the information presented



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 in these slides and Defendant Brown’s discussion of growth was not “in accordance of the facts”

 as Papa and Perrigo’s other directors had promised, and the presentation did omit material facts

 “likely to affect the import of the information presented”; (c) the presentation omitted that over

 the six quarters preceding the Relevant Period, Perrigo’s actual average organic growth was far

 below 5- 10%, not “solidly in the range.”

        176.    On May 6, 2015, Defendants Perrigo and Papa attended the Deutsche Bank

 Health Care Conference, and stated the following:

                We believe we have a business that will grow 5% to 10%,
                organically. So, we believe we can grow revenue 5% to 10%
                organically in our base business.


                                                 ***

                 But the final point, I guess, I want to make is that, in the
                meantime, the Perrigo Company is number one, going to continue
                to execute on our base business. We think we can execute as we
                said with the 5% to 10% compound annual growth rate over the
                three years organically.

                                                 ***

                What we’ve always said is, what’s most important for us is to
                continue to execute on our business, show that 5% to 10%
                compound annual growth rate.

                Historically, what we’ve been able to do is actually we’ve done
                right in the middle of that. We’ve done about 8% compound
                annual growth rate organically. And then we supplemented that
                with another approximately 7% to 8% of inorganic opportunity.
                Those were the things we’re going to continue to do. And that’s
                why I think the board is very comfortable in stating that we felt the
                Mylan offer substantially undervalues the company.

        177.    The statements identified in paragraph 170 were materially false and misleading

 when made because: (a) they omitted that over the six quarters preceding the Relevant Period,

 Perrigo’s actual average organic growth was far below 5-10%; and (b) they omitted that at the




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 time of the statements, Perrigo was failing to achieve organic growth goals and employing

 unsustainable sales practices to maintain the illusion of organic growth, and therefore

 “continu[ing] to execute” at the current rate would necessarily mean missing the growth targets

 touted to investors as a reason to reject Mylan’s lucrative takeover offer.

        178.    On May 12, 2015, Defendants Perrigo and Papa attended the Bank of America

 Merrill Lynch Health Care Conference and stated:

                I think the biggest challenge we have right now is that we just
                don’t see the offer that’s on the table as being equivalent to what
                we think the value of the Perrigo Company is. So we think it
                substantially undervalues the Company. Given that, what’s
                incumbent upon on me and the Board of the Company and the
                executive committee is make sure we continue to focus on driving
                the business, making sure that we continue to deliver on the 5% to
                10% compound annual growth rate, continue to deliver on really
                the bottom line.

        179.    The statements identified in paragraph 172 were materially false and misleading

 when made because (a) Perrigo was not then “deliver[ing] on the 5% to 10% compound

 [organic] annual growth rate,” and therefore could not “continue to deliver” that rate; and (b) the

 statements omitted that over the six quarters preceding the Relevant Period, Perrigo’s actual

 average organic growth was far below 5% to 10%.

        180.    On June 2, 2015, Defendants Perrigo and Papa attended the Jefferies Global

 Health Care Conference and stated: “[H]istorically, Perrigo has grown by about 5% to 10%

 annually. Specifically, it has grown about 8% organically. And we’ve grown about 8%

 inorganically on an annual basis.” These statements were materially false and misleading when

 made because they omitted that Perrigo’s actual average organic growth during the six quarters

 preceding the Relevant Period was far below 5% to 10%.

        181.    On August 5, 2015, Perrigo issued a press release announcing Perrigo’s earnings

 for the second quarter of calendar year 2015. Like other releases during the Mylan offer period,


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 the August 5, 2015 press release stated: “The directors of Perrigo accept responsibility for the

 information contained in this announcement. To the best of the knowledge and belief of the

 directors of Perrigo (who have taken all reasonable care to ensure such is the case), the

 information contained in this announcement is in accordance with the facts and does not omit

 anything likely to affect the import of such information.” The press release quotes Defendants

 Perrigo and Papa as stating “[o]ur durable business model and future growth prospects are self-

 evident as we continue to progress on our stand-alone strategy.”

        182.    The statements identified in paragraph 175 were materially false and misleading

 when made because: (a) Perrigo’s purportedly “self-evident” future growth was based upon

 fanciful assumptions and greatly exaggerated; (b) Perrigo’s growth prospects and competitive

 position were not accurately described and the Defendants had not “taken all reasonable care” to

 ensure that their characterizations of Perrigo’s growth and competitive position were “in

 accordance with the facts and does not omit anything likely to affect the import of such

 information,” and as a result, Perrigo’s press release did omit material facts; (c) the statements

 omitted that over the six quarters preceding the Relevant Period, Perrigo’s actual average organic

 growth was far below 5-10%; (d) the statements omitted that the growth that Perrigo was able to

 achieve was derived to a material extent from unlawful, collusive pricing that inflated revenues

 in Perrigo’s Generic Rx division; (e) the statements omitted that Perrigo relied on the

 unsustainable and undisclosed sales practices Perrigo internally referred to as “optimizing” to

 achieve the growth it touted and projected; (f) the statements omitted that the Company had

 failed to integrate Omega operationally, a failure that would compromise the organic growth

 figures Defendants touted to investors; and (g) the statements omitted that certain of Perrigo’s

 key synergy assumptions for the Omega acquisition were unproven and unlikely to materialize,




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 which would negate the cost savings and growth projections Defendants were touting to

 investors.

        183.    On August 6, 2015, in conjunction with the presentation of financial results for

 the third calendar quarter of 2015, Defendants made a presentation to investors which claimed

 that they had a “[c]lear strategy for delivering 5%-10% organic growth” as well as “[m]ultiple

 avenues for additional upside.” This presentation also assured that: “The directors of Perrigo

 accept responsibility for the information contained in this presentation. To the best of the

 knowledge and belief of the directors of Perrigo (who have taken all reasonable care to ensure

 such is the case), the information contained in this presentation is in accordance with the facts

 and does not omit anything likely to affect the import of such information.”

        184.    The statements identified in paragraph 177 were materially false and misleading

 when made because: (a) Perrigo did not have a clear strategy for delivering 5%-10% organic

 growth; (b) Perrigo’s growth prospects and competitive position were not accurately described

 and the Defendants had not “taken all reasonable care” to ensure that their characterizations of

 Perrigo’s growth and competitive position were “in accordance with the facts and does not omit

 anything likely to affect the import of such information”; (c) the statements omitted that

 Perrigo’s actual organic growth rate during the most recent eight quarters averaged well below

 the referenced 5%-10% range; and (d) the statements omitted that organic growth was threatened

 by known impediments to the Omega integration, by dependence on unsustainable sales

 practices, and by the increasing difficulty in replicating supracompetitive price hikes in the

 Generic Rx division.




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        185.    On September 17, 2015, Defendants Perrigo and Papa issued a letter urging

 shareholders to reject Mylan’s offer, which it also filed with the SEC on Schedule 14D-9.

 Among other claims, the letter stated:

                After consideration of Mylan's offer, our Board of Directors
                unanimously concluded that the offer substantially undervalues the
                strength of Perrigo's business, operations, and future growth
                opportunities. We are confident in our 5- 10% three-year organic
                revenue CAGR goal, as executed historically, and we expect to
                meet our financial targets in the years to come, creating value for
                you well in excess of Mylan's offer, and with less risk.

 The SEC filing further explained Perrigo’s reason for rejecting Mylan’s above-market offer as

 follows:

                Perrigo has demonstrated a reliable ability to grow organically.
                Perrigo has grown organic net sales at a 6% CAGR since fiscal
                2008, and the Perrigo Board expects that by continuing its leading
                market position, Perrigo’s durable global base business will
                continue this trend and realize an organic net sales CAGR goal of
                5-10% over the next three years.

 An appendix to the filing stated:

                1. RESPONSIBILITY

                1.1 The Directors of Perrigo, whose names are set out in
                paragraph 2 below, accept responsibility for the information
                contained in this document, save that the only responsibility
                accepted by the Directors of Perrigo in respect of the information
                in this document relating to Mylan, the Mylan group, the board of
                directors of Mylan and the persons connected with them, which
                has been compiled from published sources, has been to ensure that
                such information has been correctly and fairly reproduced or
                presented (and no steps have been taken by the Directors of
                Perrigo to verify this information). To the best of the knowledge
                and belief of the Directors of Perrigo (having taken all reasonable
                care to ensure that such is the case), the information contained in
                this document for which they accept responsibility is in accordance
                with the facts and does not omit anything likely to affect the import
                of such information.




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        186.    The statements identified in paragraph 179 were materially false and misleading

 when made because: (a) the rejection of Mylan’s offer urged by Defendants increased, not

 reduced, risk, as it encouraged investors to squander an offer at a significant premium to Perrigo

 market price at the time; (b) Perrigo’s growth prospects and competitive position were not

 accurately described and the Defendants had not “taken all reasonable care” to ensure that their

 characterizations of Perrigo’s growth and competitive position were “in accordance with the

 facts and does not omit anything likely to affect the import of such information”; (c) the

 statements omitted that Perrigo’s actual organic growth rate during the most recent eight quarters

 averaged well below the referenced 5%-10% range; and (d) the statements omitted that organic

 growth was threatened by known impediments to the Omega integration, by dependence on

 unsustainable sales practices, and by the increasing difficulty in replicating supracompetitive

 price hikes in the Generic Rx division.

        187.    Also on September 17, 2015, Defendants Perrigo and Papa attended the Morgan

 Stanley Global Healthcare Conference and stated:

                We try to focus on quality, affordable healthcare. And for us
                that's been a big driver of our average growth rate of somewhere
                around 5% to 10% organic.

                                                ***

                Our goal is to continue to drive organically 5% to 10% growth
                rate. On top of that, we’ll look to do additional M&A to get
                another 5% to 10%. So that the revenue side will grow, and that,
                let's call it 10% plus, and then grow the bottom line even faster.
                That's how we structure the business and that's why we think we've
                got a great opportunity for the future.

        188.    The statements identified in paragraph 181 were materially false and misleading

 when made because they omitted: (a) that Perrigo’s actual organic growth rate during the most

 recent eight quarters averaged well below the referenced 5%-10% range; and (b) that organic



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 growth was threatened by known impediments to the Omega integration, by dependence on

 unsustainable sales practices, and by the increasing difficulty in replicating supracompetitive

 price hikes in the Generic Rx division.

        189.    On October 22, 2015, Defendants amplified their misrepresentations regarding

 organic growth, and issued materially false and misleading profit forecasts for both 2015 and

 2016. After issuing third quarter calendar year financial results, Defendants put on a presentation

 projecting that Perrigo would earn $7.65-$7.85 for calendar year 2015, and that in 2016 it would

 “Accelerat[e] Shareholder Value” and “Amplify[] Perrigo’s Earnings Power,” delivering a

 baseline earnings per share of $9.30, increasing to $9.83 after including the effects of a planned

 share repurchase and “optimization actions.” See Presentation Slides, attached as Ex. 99.3 to

 Form 8-K filed by Perrigo on October 22. To reach these lofty goals, Perrigo issued “CY2016

 Revenue Guidance” incorporating organic growth assumptions of 5%-10% overall, 5%-10% in

 branded healthcare (former Omega), and 8%-12% in Generic Rx.

        190.    Perrigo and Papa stated as follows with respect to the October 22, 2015 investor

 presentation: “The directors of Perrigo accept responsibility for the information contained in this

 presentation. To the best of the knowledge and belief of the directors of Perrigo (who have taken

 all reasonable care to ensure such is the case), the information contained in this presentation is in

 accordance with the facts and does not omit anything likely to affect the import of such

 information.” Additionally, Perrigo and Papa indicated that the guidance for calendar years 2015

 and 2016 constituted “profit forecasts” under Rule 28.1 of the Irish Takeover Rules. This

 statement was intended to, and did, assure investors that the Company had compiled the profit

 forecasts and “the assumptions upon which [they are] based” using “scrupulous care, accuracy

 and objectivity by the directors.”




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        191.   In a separate letter to investors, Perrigo and Papa identified the assumptions they

 employed to calculate the 2015 and 2016 profit forecasts:

               Assumptions

               The Perrigo Directors have prepared the Profit Forecast on the
               basis of the following assumptions:

               Factors outside the influence or control of the Perrigo
               Directors

                      There will be no changes in regulation which would impact
                       the Company’s ability to price prescription products.

                      There will be no changes in general trading conditions,
                       economic conditions, competitive environment or levels of
                       demand, in the countries in which Perrigo operates or
                       trades which would materially affect Perrigo’s business.

                      There will be no business interruptions that materially
                       affect Perrigo, its major suppliers or major customers by
                       reason of technological faults, natural disasters, industrial
                       disruption, civil disturbance or government action.

                      There will be no material changes in the price of raw
                       materials, freight, energy, and labor costs from the prices
                       and costs in place at the date of this profit forecast.

                      There will be no material changes in exchange rates,
                       interest rates, bases and rates of taxes, and legislative or
                       regulatory requirements which would have a material
                       impact on Perrigo.

                      There will be no material adverse events that affect
                       Perrigo’s key products, including, competition from new
                       generic variants, product recalls, product liability claims or
                       discovery of previously unknown side effects.

               Other than the impact of the factors above, the Profit Forecast
               assumes the following factors within the Directors Influence
               and Control

                      Fourth quarter 2015 net sales for the CHC, BCH, Rx and
                       Specialty Sciences segments are assumed to grow in line
                       with the growth rates achieved 2015 year-to-date.




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                     The 2016 net sales for CHC, BCH and Rx segments are
                      forecasted to grow organically in the middle of the three
                      year compounded annual growth rate ranges published and
                      disclosed to investors in the October 22, 2015 earnings
                      release presentation. The ranges published and disclosed in
                      April 2015 forecasted compounded annual growth of 5% -
                      10% for the CHC and BCH segments and 8% - 12% for the
                      Rx segment.

                     The integration and realization of synergies in relation to
                      the acquisition of, Omega Pharma, certain branded
                      consumer healthcare products from GSK, and Yokebe
                      will proceed as planned and will not be subject to
                      unforeseen material delays.

                     The forecast only includes those acquisitions closed or
                      announced on or prior to October 22, 2015 and does not
                      include any additional acquisitions, dispositions,
                      partnerships, in-license transactions, or any changes to
                      Perrigo’s existing capital structure or business model after
                      October 22, 2015.

                     Adjusted operating margin is forecasted to remain
                      consistent in 2016 when compared to 2015 and average
                      ~28% of net sales.

                     Interest rates underlying Perrigo’s variable rate debt
                      instruments will not vary significantly from the spot rates
                      in effect as of October 22, 2015.

                     The announced restructuring activities will proceed as
                      planned and will not be subject to unforeseen material
                      delays.

                     The adjusted effective tax rate for the year ended December
                      31, 2016 is estimated at 14%-15% assuming a jurisdictional
                      mix of incomes in line with the Company’s current
                      operations and the implementation of the actions
                      announced on October 22, 2015.

                     Other than the Share Buyback Program, there will be no
                      material share repurchases, or issuances, in determining
                      weighted average number of diluted shares.

        192.   The statements identified in paragraphs 183 through 185 were materially false and

 misleading when made because: (a) Perrigo’s growth prospects and competitive position were


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 not accurately described and the Defendants had not “taken all reasonable care” to ensure that

 their characterizations of Perrigo’s growth and competitive position were “in accordance with the

 facts and does not omit anything likely to affect the import of such information”; (b) Perrigo’s

 profit forecasts for calendar years 2015 and 2016 were not prepared with “scrupulous care,

 accuracy and objectivity”; (c) the assumptions underpinning Perrigo’s profit forecasts for

 calendar years 2015 and 2016 were not prepared with “scrupulous care, accuracy and

 objectivity,” especially the assumptions regarding 2016 organic net sales growth, of unchanged

 “competitive environment,” the assumption that unsustainable sales practices would continue

 unabated, and the assumption that the Omega integration and synergies “will proceed as

 planned”; (d) the statements omitted that Perrigo’s actual organic growth rate during most recent

 eight quarters was well below 7.5%—the organic growth rate that Directors assumed for 2016;

 (e) the statements omitted that Perrigo’s actual organic growth rate during the most recent eight

 quarters averaged substantially below the range of 5%-10% issued as guidance for 2016; (f) the

 statements omitted that Perrigo’s “competitive environment” was already changing, as the anti-

 competitive pricing activities used to boost its overall income and the results of its Generic Rx

 division were already coming under scrutiny; and (g) the profit forecasts for both periods failed

 to properly account for the deterioration in the fair value of Perrigo’s largest financial asset, the

 Tysabri royalty stream, or the effect of fair value mark-to- market charges on Perrigo’s earnings.

        C.      Pricing Pressure and Anti-Competitive Pricing Practices in Generic Rx
                Division

        193.    In the April 21, 2015 investor presentation discussed above, Perrigo and Papa

 projected 8%-12% net sales growth for the Generic Rx division. Presentation slides explained

 that the “directors of Perrigo accept responsibility for the information contained in this

 presentation. To the best of the knowledge and belief of the directors (who have taken all



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 reasonable care to ensure such is the case) the information contained in this presentation is in

 accordance with the facts and does not omit anything likely to affect the import of such

 information.” Ex. 99.2 to April 21, 2015 Form 8-K, Slide 1. Defendants Perrigo and Papa also

 orally stated:

                  On the question of pricing,… our goal on pricing has been the
                  same goal, really for all the time, almost nine years I've been at
                  Perrigo. What we seek to do on our pricing is keep pricing flat to
                  up slightly and I’m very comfortable that, certainly in our current
                  year in our calendar 2015, as we look to the future, we can keep
                  pricing flat to up slightly. So that's really what our goal has been.
                  There is no doubt that there has been some continued wholesaler
                  consolidation and buying group consolidation has occurred. We’re
                  working very closely with those customers. They are very
                  important to our consumer business; obviously they are very
                  important to our Rx business. So we continue to work very closely
                  with all of them to continue to drive and talk about what we refer
                  to as the Perrigo advantage and what [is] unique about us that
                  allows us the help them to meet the needs of their customers or the
                  consumers in the world. So clearly, we do think that that is
                  something we can continue to drive.

         194.     The statements identified in paragraph 187 were materially false and misleading

 when made because: (a) Perrigo’s pricing strategy in the Generic Rx division was not to “keep

 pricing flat to up slightly,” but rather to wildly increase pricing in select generic drugs where

 they could fix the market price in collusion with competitors and/or join an existing price-fixing

 conspiracy; (b) as discussed above, in reality pricing levels for Perrigo’s U.S. generic drugs were

 unsustainable as a result of increased market competition caused in large part by accelerated

 approvals of generic drug applications by the FDA and U.S. regulatory scrutiny into drug

 pricing; and (c) the Defendants had not “taken all reasonable care” to ensure that the description

 of Perrigo’s generic drug pricing strategy and growth prospects was “in accordance with the facts

 and does not omit anything likely to affect the import of such information.”




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        195.    On May 12, 2015, Defendants Perrigo and Papa attended the Bank of America

 Merrill Lynch Health Care Conference, and stated as follows:

                Q – Unidentified Audience Member: So you and IGE [Farben (a
                German pharmaceuticals conglomerate)] both have a [Rx] product
                that you both benefited from a price increase and recently you
                decreased price and IGE has made some comments as to what they
                think you are doing, but it seems to be there may be some [pricing
                strategy] you created around your Rx products to address a certain
                customer demand or go after a certain group of customers. I was
                wondering if you could just elaborate on what the strategy may be
                there?

                A - Joseph C. Papa: Sure. I'm not going to comment specifically
                on this particular product conflict or product opportunity.
                Obviously, it’s a competitive market out there. There is always
                going to be – in a pricing world, somebody is going to gain some
                share, somebody is going to lose some share. I think, as a general
                rule, what I’ve tried to do with pricing at Perrigo in the eight
                years, nine years, I’ve been a part of the company is to keep
                pricing flat to up slightly. And if I do that, I believe that puts me in
                the best long-term position to deliver shareholder value for the
                Company. Any specific product conflict issue is just a normal part
                of give and take in terms of market share, gaining market share,
                losing market share. Right now as I sit here today, Perrigo is the
                leader in what I would call extended topical. So anything that’s
                observed topically, dermatology, respiratory, nasal, ophthalmic,
                we’ve got a leading position there and I think we’re just going to
                certainly try to continue to make good decisions on that pricing
                because I think as you've seen in our business, we’ve been able
                to drive some very significant growth both on the top-line and the
                bottom-line for the company relative to our operating margins in
                the mid-40%s.

        196.    The statements identified in paragraph 189 above were materially false and

 misleading when made because: (a) Perrigo’s pricing strategy in the Generic Rx division was not

 to “keep pricing flat to up slightly,” but rather to wildly increase pricing in select generic drugs

 where they could fix the market price in collusion with competitors and/or join an existing price-

 fixing conspiracy; (b) for many of Perrigo’s generic drugs it was not a “competitive market,” but

 rather a market where natural competition was constrained by collusion; (c) as discussed above,



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 in reality pricing levels for Perrigo’s U.S. generic drugs were unsustainable as a result of

 increased market competition caused in large part by accelerated approvals of generic drug

 applications by the FDA and U.S. regulatory scrutiny into drug pricing; and (d) it was not “good

 decisions on that pricing,” but rather massive price hikes accomplished through collusion which

 could not possibly be replicated on an ongoing basis that were responsible for the inflated

 operating margins in Perrigo’s Generic Rx division.

        197.    On June 2, 2015, Defendants Perrigo and Papa attended the Jefferies Global

 Healthcare Conference and made the following materially false and misleading statements:

                Q - David Steinberg – Jefferies & Co. - Analyst: Moving to
                another business line, generics[.] In retrospect, the acquisition of
                Paddock several years ago was really a brilliant one, and your star
                performer in these last several quarters were generic drugs. As you
                look at the portfolio, I know you’re reticent to raise price in store
                brands. But as you look at your portfolio, are there any pricing
                opportunities in some of your extended dermatologics? And
                secondly, with regards to M&A, what type of assets are you
                looking to bring in to augment your current generic portfolio?

                A - Joseph C. Papa: Sure. The approach we take on pricing is
                really a portfolio approach. I'm sure it’s very similar to many of
                you in the audience, as you think about the individual stocks you
                buy. You take a portfolio view on what you’re trying to
                accomplish. That’s what we do on our pricing for our business.

                Across all the Perrigo segments, the consumer segment, the
                nutrition segments, the RX segment and the API segment; we try
                to take a view on pricing across that total portfolio with the goal of
                keeping our pricing flat to up slightly. Now in any individual
                category, like Rx, there may be more upside. But we’re
                recognizing that there is going to be some products in Rx that
                I’m going to have to decrease for competitive reasons, as well as
                increase some. So what we try to do is take a holistic view across
                the entire portfolio and keep pricing flat to up slightly. I will say
                over the last several years to be fair, there’s been more pricing
                upside in the RX category than perhaps some of the other
                categories. But we still take that kind of total portfolio view of
                keeping pricing flat to up slightly as a view.




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         198.    The statements identified in paragraph 191 were materially false and misleading

 when made because: (a) Perrigo’s policy with respect to pricing generic drugs was not to “keep[]

 . . . pricing flat to up slightly,” but rather to inflate prices wildly on select generic drugs in

 collusion with other generic drug manufacturers; (b) the statements omitted that the “pricing

 upside in the RX category” over the last several years was the result of anti-competitive practices

 by Perrigo and other generics manufacturers; and (c) as discussed above, in reality pricing levels

 for Perrigo’s U.S. generic drugs were unsustainable as a result of increased market competition

 caused in large part by accelerated approvals of generic drug applications by the FDA and U.S.

 regulatory scrutiny into drug pricing.

         199.    During the conference call on August 5, 2015, regarding second quarter calendar

 2015 results, Defendants Perrigo and Papa made the following materially false and misleading

 statements:

                 Q - Marc Goodman – UBS - Analyst: And third, in the generics
                 business, just remind us of where we are in this price increase
                 dynamic and how sustainable you feel like those increases are?
                 Thanks.

                 A - Joseph C. Papa: I'm going to go to your third part on generics
                 and pricing and I'll go back to Judy for the second one. On the
                 generics and the pricing environment, our team has done a great
                 job at looking at pricing. . . . Across that portfolio, we think there
                 are still opportunities to do pricing. We will continue to look at it.
                 We think there's something that we'll be talking about in the future
                 for pricing. But I think it really supports the strength of that
                 operating profit line of 49.5% and what we achieved with our Rx
                 business in the quarter. And importantly, the gross profit line is
                 64.8%. For those reasons, we think we have got a strong Rx
                 business and we look to still find some additional pricing
                 opportunities for the future.

         200.    The statements identified in paragraph 193 were materially false and misleading

 when made because they omitted that: (a) Perrigo’s massive price increases on select drugs in its

 Generic Rx division were made in collusion with competitors and/or join an existing price-fixing


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  conspiracy; (b) the “price increase dynamic” had changed and it had become more difficult to

  make similarly-sized price increases as the generic drug industry faced more scrutiny on pricing

  and collusion; (c) as discussed above, in reality pricing levels for Perrigo’s U.S. generic drugs

  were unsustainable as a result of increased market competition caused in large part by

  accelerated approvals of generic drug applications by the FDA and U.S. regulatory scrutiny into

  drug pricing; and (d) the pricing achieved in prior quarters in the Generic Rx division was not the

  result of a “great job” by Perrigo’s team, but rather by collusion with competitors in violation of

  U.S. antitrust laws.

         201.     On August 13, 2015, Perrigo filed an Annual Report on Form 10-K for the fiscal

  year ended June 27, 2015. The Annual Report was signed by the Individual Defendants and

  falsely stated that the Generic Rx division “operate[d] in a highly competitive environment” and

  “face[d] vigorous competition from other pharmaceutical companies that may threaten the

  commercial acceptance and pricing of our products.”

         202.     The statements identified in paragraph 204 were materially false and misleading

  when made because Perrigo’s Generic Rx division did not operate in a “highly competitive

  environment” or face “vigorous competition” for many of its key products, but instead operated

  in an environment where prices had been fixed with other generic drug manufacturers at

  artificially high prices to garner collusive revenues that would not be possible in a competitive

  market.

         203.     On October 22, 2015, Perrigo held a conference call to announce calendar year

  2015 third quarter financial results, in which Defendants Perrigo and Papa made the following

  materially false and misleading statements in response to an analyst question regarding generic

  drug pricing:




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                 Q - Elliot Wilbur – Raymond James - Analyst: And then maybe
                 more importantly, obviously financial markets have become very
                 concerned about the price inflation component of growth, both on
                 the generic and brand side going forward. And certainly the
                 generic topical business has been one of the few segments of
                 generic industry that has really benefited from a strong overall
                 pricing dynamic. And just thinking about 8% to 10% growth next
                 year, how much do you think that is going to be driven by price?
                 Or do you think we’ve kind of hit an inflection point maybe where
                 growth metrics are going to be far less dependent on price and
                 maybe we’re looking at the potential negative impact on price
                 going forward in that segment? Thanks.

                 A - Joseph C. Papa: So I think, Elliot, you had about three or four
                 things I want to comment on. . . .

                 On the question on pricing, certainly, we see that out in the
                 marketplace, but I would remind the audience today that what
                 we’ve always said about pricing is that our pricing across our total
                 book of business is flat to up slightly. While there may be a
                 product that we do raise the price on, there are other products we're
                 taking price down. Our total strategy for pricing, as I have said I
                 think on numerous calls, is keep pricing flat to up slightly. Which
                 means that yes, some products we may attempt to the raise price
                 there, but in another products we're bringing the price down. So
                 think about us as keeping pricing flat to up slightly as really the
                 way we're going to look at our total portfolio. Whether we are
                 talking about any specific product or any specific category or any
                 segment of our business, the overall comment is flat to up slightly
                 for our pricing. And I think that's really the best place for the
                 long, sustainable consistent approach to pricing that we've had
                 in the past; we will in the future.

         204.    The statements identified in paragraph 197 were materially false and misleading

  when made because: (a) Perrigo’s pricing strategy in the Generic Rx division was not to keep

  pricing “flat to up slightly,” but rather to wildly increase pricing in select generic drugs where

  they could fix the market price in collusion with competitors and/or join an existing price-fixing

  conspiracy; (b) Perrigo’s actual generic drug pricing strategy was not a “sustainable consistent

  approach”; (c) as discussed above, in reality pricing levels for Perrigo’s U.S. generic drugs were

  unsustainable as a result of increased market competition caused in large part by accelerated



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  approvals of generic drug applications by the FDA and U.S. regulatory scrutiny into drug

  pricing; and (c) the statements omitted that the “strong overall pricing dynamic” that Perrigo

  enjoyed in its Generic Rx division, and that the analyst inquired about, was the result of anti-

  competitive price hikes which could not possibly be replicated on a continuing basis and, in

  reality, pricing levels for Perrigo’s U.S. generic drugs were unsustainable as a result of increased

  market competition.

         205.    On October 22, 2015, Perrigo and Papa issued inflated profit forecasts for

  calendar years 2015 and 2016. The investor presentation in which these profit forecasts were

  published to investors indicated that: “The directors of Perrigo accept responsibility for the

  information contained in this presentation. To the best of the knowledge and belief of the

  directors of Perrigo (who have taken all reasonable care to ensure such is the case), the

  information contained in this presentation is in accordance with the facts and does not omit

  anything likely to affect the import of such information.” Additionally, Perrigo and Papa

  indicated that the guidance constituted “profit forecasts” under Rule 28.1 of the Irish Takeover

  Rules. This statement was intended to, and did, assure investors that the Company had compiled

  the profit forecasts and “the assumptions upon which [they are] based” using “scrupulous care,

  accuracy and objectivity by the directors.” Perrigo’s profit forecasts guided investors to expect

  adjusted diluted earnings per share (EPS) of $7.65-$7.85 in calendar year 2015, and $9.30-$9.83

  in calendar year 2016. In a letter attempting to justify this inflated model, Perrigo and Papa

  indicated that they assumed that 2016 net sales for the Generic Rx segment would grow

  organically in the middle of the 8%-12% guidance they had previously published, and that the

  “competitive environment” would not change.




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         206.    The statements identified in paragraph 199 were materially false and misleading

  when made, because: (a) the Defendants had not compiled the assumptions regarding Generic Rx

  division net sales, or the contribution of that division to Perrigo’s earnings per share projection,

  with “scrupulous care, accuracy and objectivity”; and (b) the statements omitted that the strong

  generic drug pricing and profit margins Perrigo had enjoyed in 2014 and 2015 were the result of

  unsustainable collusion with competitors in violation of U.S. antitrust laws and pricing levels for

  Perrigo’s U.S. generic drugs were unsustainable as a result of increased market competition

  caused in large part by accelerated approvals of generic drug applications by the FDA.

         D.      Declining Fair Value of Tysabri Royalty Stream

         207.    On April 29, 2015, Perrigo filed its Quarterly Report on Form 10-Q for the

  quarter ending March 28, 2015, which was signed by Defendants Papa and Brown. The April 29,

  2015 Form 10-Q claimed that its financial statements were “prepared in accordance with U.S.

  generally accepted accounting principles (‘GAAP’).” The April 29, 2015 Form 10-Q stated that

  the Tysabri royalty stream was an “intangible asset,” and that “[t]he asset’s value is $5.8 billion,

  which is being amortized over a useful life of 20 years.”

         208.    The statements identified in paragraph 201 were materially false and misleading

  when made because: (a) the asset’s value was not $5.8 billion; (b) the financial results reported

  were not accurate and violated GAAP by improperly accounting for the Tysabri royalty stream

  as an intangible asset instead of a financial asset, failing to disclose the fair market value of the

  royalty stream, and failing to record mark-to-market changes in that fair market value; and (c) by

  failing to properly account for the Tysabri royalty stream, Defendants made it impossible for

  investors to understand that the royalty stream was deteriorating in value, as became apparent in

  February 2017 when Perrigo was only able to sell the asset for $2.2 billion (or up to $2.85 billion

  if certain milestones were met).


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         209.    On August 13, 2015, Perrigo filed its Annual Report on Form 10-K for the fiscal

  year ending June 27, 2015, which was signed by Papa and Brown. Like the April 29, 2015 Form

  10-Q, the August 13, 2015 Form 10-K referenced GAAP compliance but did not disclose the fair

  value of the Tysabri royalty stream at the end of the fiscal year; instead, it likewise stated that

  that the asset had “a value of $5.8 billion and a useful life of 20 years.”

         210.    The statements identified in paragraph 203 were materially false and misleading

  when made because: (a) as the Company conceded in its restatement, the asset’s value was not

  $5.8 billion, but rather was no more than $5.42 billion by June 27, 2015; (b) the financial results

  reported were not accurate and violated GAAP by improperly accounting for the Tysabri royalty

  stream as an intangible asset instead of a financial asset, failing to disclose the fair market value

  of the royalty stream, and failing to record mark-to-market changes in that fair market value; and

  (c) by failing to properly account for the Tysabri royalty stream, Defendants made it impossible

  for investors to understand that the royalty stream was deteriorating in value, as became apparent

  in February 2017 when Perrigo was only able to sell the asset for $2.2 billion (or up to $2.85

  billion if certain milestones were met).

         211.    On October 22, 2015, Perrigo and Papa issued a press release announcing

  earnings for the third calendar quarter of 2015. The press release stated: “The directors of Perrigo

  accept responsibility for the information contained in this announcement. To the best of the

  knowledge and belief of the directors of Perrigo (who have taken all reasonable care to ensure

  such is the case), the information contained in this announcement is in accordance with the facts

  and does not omit anything likely to affect the import of such information.”

         212.    The statements identified in paragraph 205 were materially false and misleading

  when made because: (a) the financial results reported were not accurate and violated GAAP by




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  improperly accounting for the Tysabri royalty stream as an intangible asset instead of a financial

  asset, failing to disclose the fair market value of the royalty stream, and failing to record mark-

  to-market changes in that fair market value; (b) by failing to properly account for the Tysabri

  royalty stream, Defendants made it impossible for investors to understand that the royalty stream

  was deteriorating in value, as became apparent in February 2017 when Perrigo was only able to

  sell the asset for $2.2 billion (or up to $2.85 billion if certain milestones were met); and (c) the

  Defendants had not “taken all reasonable care” to ensure that the description of the Tysabri

  royalty stream was “in accordance with the facts and does not omit anything likely to affect the

  import of such information.”

         213.    On November 2, 2015, Perrigo filed its Quarterly Report on Form 10-Q for the

  quarter ending September 26, 2015, which was signed by Defendants Papa and Brown. The

  November 2, 2015 Form 10-Q claimed that its financial statements were “prepared in accordance

  with U.S. generally accepted accounting principles (‘GAAP’).” The November 2, 2015 Form 10-

  Q did not disclose the fair market value of the Tysabri royalty stream, or update prior statements

  claiming the asset’s value to be $5.8 billion.

         214.    The statements identified in paragraph 207 were materially false and misleading

  when made because they included the following misstatements and omitted the following

  information necessary to make the statements not misleading under the circumstances in which

  they were made: (a) the financial results reported were not accurate and violated GAAP by

  improperly accounting for the Tysabri royalty stream as an intangible asset instead of a financial

  asset, failing to disclose the fair market value of the royalty stream, and failing to record mark-

  to-market changes in that fair market value; and (b) by failing to properly account for the Tysabri

  royalty stream, Defendants made it impossible for investors to understand that the royalty stream




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  was deteriorating in value, as became apparent in February 2017 when Perrigo was only able to

  sell the asset for $2.2 billion (or up to $2.85 billion if certain milestones were met).

  VI.    THE TRUTH IS REVEALED

         215.    On February 18, 2016, after months of hyping its strong financial condition and

  prospects, Perrigo stunned investors by reporting fourth calendar quarter 2015 revenue, margins,

  earnings and cash flow that were all below what Defendants had led investors to expect. The

  Company also revised its 2016 earnings guidance downward from the guidance it issued and

  reiterated (with adjustments for recent acquisitions) just weeks earlier during the Mylan offer.

  Most shockingly, however, the Company also revealed previously undisclosed problems

  regarding Omega. In contrast to earlier claims that Perrigo’s team had already delivered on the

  Omega integration, Perrigo conceded it needed to restructure parts of the BCH unit containing

  Omega assets. The Company further admitted that it needed to record an impairment charge of

  $185 million because the carrying value of certain Omega assets exceeded their fair value.

         216.    Analysts uniformly reacted harshly to the news, with reports by Deutsche Bank,

  Jefferies, J.P. Morgan, Leerink, Morgan Stanley, and UBS all describing the results as a

  “disappointment” and/or “disappointing.” As a result of these disclosures, the price of Perrigo

  shares fell $14.77 per share from the close of the market on February 17, 2016, or over 10%, to

  close at $130.40 per share on February 18, 2016. The blow was softened because Defendants

  failed to reveal the full extent of their growth problems or Omega issues, and did not reveal at all

  the deteriorating fair market value of Tysabri or generic drug price collusion.

         217.    On April 22, 2016, just after Defendant Papa collected millions of dollars in cash

  and equity bonuses for fending off the Mylan bid (see ¶134), Reuters and other news services

  reported that he would be leaving Perrigo to become the new CEO of Valeant. According to




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  Reuters, Valeant was negotiating a contract with Papa and planned to announce his appointment

  as soon as the following week.

         218.    UBS’s analyst report addressed the bombshell news by stating simply: “We are

  surprised. We didn’t see this coming.” The news particularly disturbed the market given that

  Papa had spent the better part of the prior year assuring investors of his long-term vision and

  strategy for the Company. For example, Jefferies noted in its analyst report that, after investors

  had “heeded [Papa’s] advice and voted against the [Mylan] tender,” “the mere thought that [Papa

  would] consider a new role could lead one to conclude that [Perrigo] is far from being ‘fixed’”

  and “could imply more . . . [disappointing performance] to come.” By the end of the day, the

  price of Perrigo shares had fallen $7.33 per share, or 5.7%, from $128.68 per share at the close

  on April 21, 2016, to $121.35 per share.

         219.    Though Perrigo had initially issued a press release stating only that it would not

  comment on “speculation or market rumor,” before the market opened on April 25, 2016—the

  very next business day—Perrigo confirmed Papa’s resignation. Even worse, it also drastically

  lowered its earnings guidance for 2016 and announced weak preliminary first-quarter 2016

  results. Specifically, Perrigo announced first-quarter 2016 earnings per share guidance of $1.71

  to $1.77, compared with the $1.89 per share investors had been led to expect. The Company also

  again significantly lowered its 2016 earnings guidance, from the already reduced $9.50 to $9.80

  per share announced in February down to only $8.20 to $8.60 per share, a decline of nearly 14%.

         220.    In sharp contrast to Defendants’ prior representations about the strength of

  Perrigo’s competitive position and the success of the Omega acquisition, the Company attributed

  these poor financial results to increased competitive pressures in its prescription drug segment

  and weaker-than-expected performance within Omega. Even more surprisingly, Perrigo warned




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  that investors should expect this weak performance to continue for at least the next three

  quarters. Perrigo also revealed that Omega impairment charges might grow even larger than the

  $185 million charge it had announced two months earlier.

         221.    Market commentators and analysts immediately noted that these revelations

  contradicted Defendants’ aggressive promotion of Perrigo’s growth and prospects during the

  Mylan bid. For example, “Mad Money” host Jim Cramer stated that “Papa had come on ‘Mad

  Money’ and talked about how the Mylan bid dramatically undervalued Perrigo. . . . That was

  clearly untrue.” Cramer also noted his concern over Papa’s decision to depart “under what is

  probably a terrible moment for Perrigo.”

         222.    Likewise, Wells Fargo downgraded Perrigo stock, noting that “Perrigo

  management set unrealistic and aspirational earnings guidance in its effort to defend against

  Mylan’s hostile bid.” A Barclays report stated that the news prompted “[n]o shortage of

  frustration . . . especially since the reset of expectations comes ~6 months after management

  convinced shareholders to rebuff [Mylan’s] tender offer,” and that “the circumstances around

  Papa’s departure, so soon after fending off [Mylan] . . . left many investors concerned that

  [Perrigo] could be in worse shape than we supposed.”

         223.    As a result of these disclosures, Perrigo shares plummeted an astonishing 18%

  that day, dropping by $21.95 per share from the prior day’s close and erasing $3.1 billion in

  market value following unusually high trading volume of over 30 million shares.

         224.    On April 28, 2016, Perrigo issued a press release announcing that it had accepted

  Coucke’s resignation. The release quotes Hendrickson as noting that “[a]ligned with the actions

  that we are taking to drive improved performance in the BCH segment, we have accepted the

  resignation of Marc Coucke.”




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         225.    On May 12, 2016, Perrigo reported a disappointing first quarter 2016 loss of

  $0.93 per share (which the Company later revised to a loss of $2.34 per share). The Company

  largely attributed this loss to an additional $467 million impairment charge relating to the Omega

  acquisition, bringing Omega impairment charges to more than $650 million, only months after

  touting the success of the Omega acquisition to stave off Mylan’s tender offer.

         226.    In a conference call with investors later that same day, the Company’s newly

  appointed CEO—John Hendrickson—stated that the Company’s “recent track record of

  performance against our own expectations is unacceptable,” and also indicated that he would “try

  to be as transparent as possible” and target “realistic” forecasts that the Company can meet.

         227.    The market took these statements as a clear admission that the Company and its

  former CEO had misled investors with unrealistic and unattainable financial goals to defeat

  Mylan’s takeover during the prior year. For example, in its analyst report addressing these

  disclosures, Jefferies wrote that it was “looking forward to [Hendrickson’s’] ‘realistic’ and

  ‘transparent’ approach to running the business since now more than ever the co needs to meet

  expectations & reestablish credibility.” Likewise, an analyst report by Barclays described the

  developments as Perrigo’s new leadership team “‘rethink[ing]’ everything which is leading to

  more achievable targets.” As a result, Perrigo shares fell an additional $3.71 per share, or 4%,

  from $92.75 at the close on May 11, 2016, to $89.04 at the close on May 12, 2016. Despite its

  promises of transparency, the Company did not come clean about the full extent of its

  deteriorating growth, the crumbling value of its largest asset, or its reliance on collusive pricing

  to generate profits for the Generic Rx division.

         228.    On August 10, 2016, Perrigo announced that it was yet again revising its

  guidance in part because of lower performance expectations related to the Omega acquisition as




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  it continued to implement “transformational organizational changes and improvements in

  products and process in this business.” This news stunned the market, which began to question

  how Perrigo could have so drastically and continually misstated the benefits and integration of

  the Omega acquisition. For example, a RBC Capital Markets analyst report said Perrigo’s

  guidance was only “now reasonable,” while a UBS analyst report stated that it was “surprised

  that management did not plan for [Omega acquisition issues] in the last guidance change.”

         229.      Perrigo’s August 10, 2016 earnings press release acknowledged that part of the

  shortfall was due to the beginning of the return of competitive pricing to the Generic Rx division,

  the natural result of increased scrutiny making collusive price hikes more difficult to implement:

  “To be clear, our financial results were below our expectations primarily due to competition and

  price erosion in the Rx business.” The press release also stated: “Competition and price erosion

  impacted both reported gross margin and adjusted gross margin[.]” In a conference call that same

  day, Defendants Perrigo and Brown also attributed the shortfall partially to “price erosion” in the

  generics segment. As a result of the August 10, 2016 disclosures, Perrigo shares fell nearly

  another 10%, from $95.09 at the close on August 9, 2016, to $86.00 at the close on August 10,

  2016, following unusually high trading volume of over 13.7 million shares. Shares dropped

  another 2.37% to close at $81.95 on December 8, 2016, after Perrigo announced that it had to

  entirely restructure the BCH (Omega) unit.

         230.      On September 12, 2016, activist investor Starboard Value sent a letter to CEO

  Hendrickson and the Board of Directors, criticizing the false promises that were made to thwart

  the Mylan bid:

                   In April 2015, Mylan N.V. (“Mylan”) made an unsolicited
                   proposal to acquire Perrigo for cash and stock worth approximately
                   $205 per share, more than a 25% premium at that time. Even at
                   current market prices for Mylan shares, this combination would



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                 have resulted in a current value of approximately $167 per share,
                 or 88% more than the current Perrigo stock price of approximately
                 $89. Management and the Board went to great lengths to oppose
                 this proposed combination, spending more than $100 million in
                 advisor fees relating to its defense, and promising shareholders that
                 their standalone strategy would produce more value than the
                 transaction given the robustness of Perrigo’s future prospects. In
                 order to convince Perrigo shareholders to reject Mylan’s offer,
                 management and the Board made aggressive promises of drastic
                 improvements in both financial and stock price performance.

  See Starboard letter dated September 12, 2016. The Starboard letter also called out “multiple

  overly optimistic presentations by Perrigo management illustrating the potential future value of

  Perrigo shares,” and the fact that “since that time, results have gone decidedly in the wrong

  direction, and management’s promises have been woefully unfulfilled.”

         231.    On February 27, 2017, Perrigo announced that it had agreed to sell the Tysabri

  asset touted to investors at the beginning of the Relevant Period as having a “value of $5.8

  billion,” and which Defendants had never indicated was impaired, for only $2.2 billion cash

  (plus potential future payments of up to $0.65 billion). Perrigo also announced that, for the first

  time, the fair value of the royalty stream did not equal its carrying cost and it was therefore

  recording an impairment charge associated with the asset. Moreover, Perrigo stated that it was

  examining “historical revenue recognition practices” associated with the royalty stream and other

  potential accounting irregularities and, as a result, could not timely file its periodic reports with

  the SEC. Finally, Perrigo announced that Defendant Brown was unexpectedly leaving the

  Company. As CFO, Brown was the person most responsible for these accounting irregularities.

  Within months, the Company confirmed investors’ fears, restating every single financial

  statement it had issued during the Relevant Period—an admission that those statements were

  materially false as of the time they were issued.




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          232.   As a result, the Company’s shares closed down nearly 12%, or $9.91 per share,

  from $84.68 at the close on February 27 to $74.77 on February 28, 2017, on unusually high

  trading volume of over 14 million shares. A Morgan Stanley analyst report described the

  developments as a “Painful re-set” and explained that the pain was the result of inflated and

  unachievable organic growth targets: “Under previous CEO Joe Papa, Perrigo had targeted 5-

  10% . . . revenue growth, but the company did not achieve[] that level of growth in recent years.”

  Likewise, an RBC Capital Markets analyst report described the disclosures as “worse than we

  anticipated” and was concerned by the “unexpected CFO departure.”

          233.   On March 3, 2017, Bloomberg reported that Perrigo’s name had been raised by

  antitrust regulators at the Department of Justice. See Perrigo Joins Firms With Generic Drugs

  Under U.S. Glare, Bloomberg (Mar. 3, 2017), https://www.bloomberg.com/news/articles/2017-

  03-03/perrigo-joins-list-of-firms-with-generic-drugs-under-u-s-glare. On this news, Perrigo

  shares dropped 3.71% to close at $72.76, from $75.56 at the close of the prior day.

          234.   After the close of the market on May 2, 2017, Perrigo revealed that its offices had

  been raided as part of an ongoing investigation by the United States Department of Justice into

  price-fixing in the pharmaceutical industry. Investors were stunned. As a Wells Fargo analyst

  report noted, Perrigo had not “included a disclosure in its prior SEC filings related to an

  investigation.” The raid was a far more severe measure than taken against most other generic

  drug manufacturers, who merely received subpoenas. Consequentially, on May 3, 2017—the last

  day of the Relevant Period—Perrigo’s shares closed down over 5%, or $3.88 per share, from

  $76.23 at the close on May 2, 2017, to $72.35 on May 3, 2017. As one Seeking Alpha

  contributor recognized in an article entitled “Will Perrigo Collapse?” published shortly after the

  raid:




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                 Perrigo (NASDAQ:PRGO) stock has been bit by a U.S Justice
                 Department investigation into price fixing and anti-competitive
                 practices in the generics market. This controversy culminated in a
                 federal raid on Perrigo’s offices.

                                                 ***

                 Perrigo’s ‘roll up’ business model is showing signs of stress.

                                                 ***

                 Perrigo's stock should be avoided, and the company looks like it is
                 going down the same path Valeant went down this time last year.
                 The Federal raid on Perrigo's offices suggests that the company's
                 pricing power in the U.S market may come under threat, and its
                 roll-up business model may be depending on pricing power.

  Biotechnocrat, Will Perrigo Collapse?, Seeking Alpha (May 5, 2017),

  https://seekingalpha.com/article/4069635-will-perrigo-collapse.

         235.    All told, Perrigo’s stock declined more than 62% from the start of the Relevant

  Period as Defendants’ false and misleading statements about Perrigo came to light.

         236.    On May 22, 2017, Perrigo filed its delinquent Form 10-K for calendar year 2016

  and restated the financial statements previously filed on Form 10-Q for each of the first three

  quarters of 2016. Perrigo’s delinquent 2016 Form 10-K conceded extensive material weaknesses

  in its financial reporting. With regard to the Tysabri royalty stream, the Company admitted:

                 [M]anagement determined that its control over the review of the
                 application of the accounting guidance in ASC 805 Business
                 Combinations did not operate effectively in the appropriate
                 identification of the assets acquired and liabilities assumed in
                 connection with the Elan acquisition in December 2013. All
                 originally filed financial statements presented up to the filing of
                 this 2016 Form 10-K included the disclosure of the Elan
                 acquisition with the Tysabri® royalty stream presented as an
                 intangible asset. In addition, due to the fact that the asset was
                 historically classified as an intangible asset, we did not design or
                 implement controls around the fair value accounting for the
                 Tysabri® royalty stream as a financial asset, so these controls were
                 not in place at any quarter end subsequent to the acquisition,
                 including the date of the annual assessment of internal control.


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                   Accordingly, management concluded that these control
                   deficiencies represent material weaknesses.

          237.     The delinquent 2016 Form 10-K and restated financial statements revealed that

  billions of dollars in Tysabri deterioration had been hidden from investors during the Relevant

  Period. As reflected in the below chart: (a) Perrigo’s delinquent 2016 Form 10-K conceded that,

  in management’s assessment, the fair value of the Tysabri royalty stream as of June 27, 2015,

  was no more than $5.42 billion, and as of December 31, 2015, was no more than $5.31 billion;

  (b) Perrigo’s restated Form 10-Q for the first quarter of 2016 conceded that, in management’s

  assessment, the fair value of the Tysabri royalty stream as of April 2, 2016, was no more than

  $5.02 billion; (c) Perrigo’s restated Form 10-Q for the second quarter of 2016 conceded that, in

  management’s assessment, the fair value of the Tysabri royalty stream as of July 2, 2016, was no

  more than $4.02 billion; (d) Perrigo’s restated Form 10-Q for the third quarter of 2016 conceded

  that, in management’s assessment, the fair value of the Tysabri royalty stream as of July 2, 2016,

  was no more than $3.55 billion; and (e) Perrigo’s delinquent 2016 Form 10-K conceded that, in

  management’s assessment, the fair value of the Tysabri royalty stream as of December 31, 2016,

  was no more than $2.35 billion.

   Measurement date            Last reported value           Actual fair value         Decline hidden from
                               for Tysabri royalty         according to Perrigo          investors by false
                                      stream                                                accounting
  6/27/2015                   $5.8 billion                $5.42 billion                $380 million
  12/31/2016                  $5.8 billion                $5.31 billion                $490 million
  4/2/2016                    $5.8 billion                $5.02 billion                $780 million
  7/2/2016                    $5.8 billion                $4.02 billion                $1.78 billion
  10/1/2016                   $5.8 billion                $3.55 billion                $2.25 billion
  12/31/2016                  $5.8 billion                $2.35 billion                $3.45 billion
  Sources: Form 10-Q filed April 29, 2015; Form 10-Q filed August 29, 2015; Form 10-KT filed February 22, 2016;
  Forms 10-K and 10-Q/A filed on May 22, 2017.




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           238.   On June 5, 2017, Perrigo issued a press release announcing the forthcoming

  retirement of John Hendrickson—who succeeded Defendant Papa as CEO of Perrigo—making

  Hendrickson the second top executive to leave the Company that year (after Defendant Brown).

           239.   More recently, in April 2018, Bloomberg reported that prosecutors are close to

  bringing criminal charges against generic drug companies, including potentially Perrigo,

  explaining:

                  U.S. prosecutors are nearing their first charges against companies
                  in an almost four-year-old criminal investigation into alleged price-
                  fixing by generic-drug makers, according to people familiar with
                  the matter.

                  At least two companies are on track to be indicted in the coming
                  months, in addition to several executives, said two people, who
                  spoke on condition of anonymity because the investigation is
                  confidential. Another company could agree to plead guilty before
                  then, said one. . . .

                  The charges, which the people said could be filed as soon as the
                  summer, would mark a major breakthrough in an investigation that
                  began in 2014 and has spread to nearly every major generic-drug
                  manufacturer. . . .

                                                  ***

                  Federal authorities have raided at least two companies in the
                  investigation. Perrigo Co. disclosed its offices were searched last
                  year.

                                                  ***

                  The looming charges involve fixing prices and dividing up the
                  market, according to one of the people. Although indictments are
                  expected, the companies or their executives could agree to plead
                  guilty rather than fight the charges, said the other person. The
                  identities of the companies set to be charged couldn’t be
                  learned.[18]


      18
         David McLaughlin & Drew Armstrong, Generic-Drug Companies to Face First Charges
  in U.S. Probe, Bloomberg.com (Apr. 24, 2018), https://www.bloomberg.com/news/articles/2018-
                                                                                          (continued . . . )


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  VII.     ADDITIONAL ALLEGATIONS OF SCIENTER

           240.        Numerous additional facts demonstrate that Defendants acted intentionally or, at

  minimum, were reckless, in making the material misstatements and omissions concerning the

  condition of Perrigo’s business.

           A.          Omega and Organic Growth

                       1.     Defendants’ own statements regarding the integration and valuation
                              of Omega and organic growth imply personal knowledge of the true
                              conditions

           241.        Defendant Papa professed to have detailed knowledge of Omega’s operations and

  performance, as well as personal knowledge of the factors that drove that performance—and

  repeatedly spoke on these subjects to investors. He repeatedly touted successful ongoing efforts

  to integrate Omega, as well as the contribution such integration would make to Perrigo’s organic

  growth. For example, Papa stated during a June 2, 2015 presentation to investors that “Omega

  and Perrigo together were well-positioned,” to achieve a “5% to 10% growth rate,” and described

  the Omega acquisition as “immediately accretive.” Similarly, on Perrigo’s earnings call held on

  August 5, 2015, Defendant Papa assured investors that the Company had “delivered on our

  Omega integration plan” by, among other things, “achiev[ing] great operational efficiencies and

  productivity improvement.” While making these statements, Papa also repeatedly reassured

  investors that he and his team were intimately familiar and hands-on with the ongoing integration

  process. For example, on May 18, 2015, in direct response to analysts’ questions concerning the

  “negative and positive surprises that [ha]ve occurred since [the Omega acquisition],” Defendant

  Papa affirmatively represented that he “had a chance to work with the [integration] team,” and


  ( . . . continued)
  04-24/generic-drug-companies-said-to-face-first-charges-in-u-s-probe (last visited July 26,
  2018).



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  discussed specific details of the ongoing integration, including identifying Omega products and

  channels that Perrigo had begun to utilize, and delving into the mechanics of the integration

  process.

         242.    In light of these reassuring statements to the market on a topic of immense

  importance to investors poised to decide whether to tender their shares, it was incumbent on

  Defendant Papa to ensure he understood the true facts concerning the subject on which he spoke.

  Either he possessed the knowledge of the Omega integration that he claimed to have, in which

  case he knew that his statements were false and misleading, or he lacked the knowledge he

  claimed to have, in which case his conduct was severely reckless.

         243.    Along similar lines, as Perrigo itself repeatedly stressed, the Omega acquisition

  was Perrigo’s most important business initiative during the Relevant Period, and Omega’s post-

  acquisition performance and successful integration was a subject of intense market scrutiny and

  concern. As Defendant Brown noted on June 23, 2015, the importance of the acquisition was

  such that Perrigo’s business shifted from predominantly domestic U.S. sales to become “55%

  US, 45% ex-US, primarily Europe.” On the same day, Brown also explicitly linked the much

  touted “5%-10%” organic growth rate Perrigo to Omega’s success, stating “[t]hat is the growth

  that . . . we see in our future from the combined Perrigo and Omega footprint.” Thus, not only

  did the acquisition make Omega the second largest segment in Perrigo’s business overnight, the

  Individual Defendants themselves admitted that Perrigo’s strategic future and its projected

  organic growth lay in successfully integrating and running Omega. Moreover, given the

  importance of the acquisition to Perrigo’s performance and the value of its stock, analysts were

  consistently focused on it both before and during the Relevant Period. The Defendants were

  keenly aware of this fact, and as discussed above, each of them professed to be deeply familiar




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  with the ongoing integration process. See, e.g., supra ¶¶153-54, 160, 162. The admitted

  importance of the Omega acquisition, and Omega’s status as a core operation of Perrigo, strongly

  indicates that Defendants were aware of ongoing integration problems, or were severely reckless

  in not being aware.

         244.    Defendants also indicated that Papa and Brown each had significant roles in

  overseeing the Omega integration, supporting an inference that they were aware of the true state

  of the integration and Omega’s underperformance. For example, Defendant Papa stated on May

  6, 2015, that “[w]hat we tried very hard to do is build a relationship with Mark [Coucke], the

  CEO founder of [Omega]. That relationship goes back to visiting him, him visiting us in Allegan,

  Michigan. . . . And we had some very good dialogs about how we can work together. We started

  some things even before this transaction occurred. So it was a long-time relationship building

  with Mark.” Moreover, on June 5, 2015, Papa stated that “I had to integrate the Omega

  organization.” Similarly, Papa stated on February 5, 2015, that he and other senior Perrigo

  executives “[have] been working with the Omega team [including Coucke] on the post close

  integration, and we’ve had meetings with country managers, finance team, and our supply chain

  teams.” Likewise, on June 23, 2015, in response to an analyst’s questions, Defendant Brown

  reported that the Mylan offer had not impacted the integration efforts, and that “[the integration]

  team continues to do what their mission is and what they had been scheduled to do.” Defendant

  Brown then gave a detailed discussion of Omega’s manufacturing and supply chain capabilities,

  before stating that “Omega [is] more invigorated than ever by the combination of what we can do

  together. [The integration] team is doing their thing and I am off to Belgium next week. That [is]

  process like normal.”




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         245.    Furthermore, Defendants Papa and Brown were the chief orchestrators of

  Perrigo’s takeover defenses against Mylan and were responsible for making nearly all statements

  Perrigo issued to investors opposing Mylan’s offer. In doing so, Defendants Papa and Brown

  demonstrated that they were intimately familiar with post-acquisition operational synergies and

  the complex obstacles involved in achieving them. Indeed, both commented extensively on the

  practical impediments to Mylan’s synergy claims concerning Perrigo and personally and

  repeatedly discussed the practical details of integration with investors in an effort to thwart the

  Mylan acquisition. Perrigo’s Board of Directors recognized the importance of Papa and Brown to

  the anti-takeover efforts and granted them special cash and equity bonuses for their “key

  contributions related to Mylan’s hostile takeover attempt.”

         246.    Defendants admitted understanding the difficulty of integrating a large acquisition

  and achieving merger synergies. In opposing Mylan’s bid, they acknowledged the same

  impediments that plagued Perrigo’s integration with Omega. For example, on September 17,

  2015, Defendant Brown told investors not to tender to Mylan because “Mylan hasn’t told you

  [that] there are potentially very material negative synergies in product divestments and supplier

  contracts with change of control provisions, which could put significant revenue at risk.”

  Accordingly, Defendants either knew that similar problems could emerge in Omega, which they

  described to be Perrigo’s number one “growth driver[] for 2016 and beyond,” or were severely

  reckless in not learning.

         247.    That Defendant Papa, Chairman of the Board, was actually aware of the true facts

  involving the ongoing integration efforts is amplified by the statements he made to investors

  under the Irish Takeover Rules. As discussed above, Rule 19.2 of the Takeover Rules required

  that those issuing public statements during a takeover take “all reasonable care to ensure [that]




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  the information contained in the document or advertisement is in accordance with the facts and,

  where appropriate, that it does not omit anything likely to affect the import of such information.”

  Pursuant to Rule 19.2, each presentation and press release Perrigo issued from the beginning of

  the Relevant Period through the end of Mylan’s tender offer contained the written assurance that

  “[t]he directors of Perrigo accept responsibility for the information contained in this

  announcement,” and that they “who have taken all reasonable care to ensure . . . the

  information contained in this announcement is in accordance with the facts.” Thus, Papa, by his

  own claim to have investigated the factual basis for his assertions, must be charged with

  knowledge of the true facts concealed from investors.

           248.   Likewise, the Defendants cannot escape the inference that they were at least

  reckless when issuing profit forecasts. Irish Takeover Rule 28 mandates that “[e]very such profit

  forecast (including the assumptions upon which it is based) shall be compiled with scrupulous

  care, accuracy and objectivity.”19 That the relevant Defendants did not use scrupulous (or even

  moderate) care, accuracy and objectivity in compiling the profit forecasts they pitched to

  investors as a basis to reject the Mylan bid, and instead rolled up fanciful assumptions that the

  Company has since admitted were not “realistic” demonstrates a willingness to say or do

  anything to defeat Mylan’s bid.

           249.   Highlighting his personal knowledge of the promised standards he was breaching,

  Defendant Papa personally assured investors that he was familiar with and compliant with the

  Irish Takeover Rules. On May 6, 2015, he stated that “The Irish rules and Irish governance

  process is very clear . . . We have had regular communications with the Takeover Panel….and



      19
        See Irish Takeover Rules, available at http://irishtakeoverpanel.ie/wp-
  content/uploads/2014/01/ITP-Takeover-Rules.pdf.



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  they’ve been very helpful to us. . . .So there’s a good process. We understand it. We have been

  working very closely with the takeover panel to make sure that we follow the rules.”

                  2.     Information supplied by former employees of Perrigo and Omega
                         demonstrate Defendants’ scienter

           250.   As discussed above, according to information supplied by CW1, Christine

  Kincaid, and other former Perrigo and Omega employees to whom allegations in the Amended

  Securities Class Action Complaint and Carmignac Complaint are attributed, adverse information

  concerning Omega’s acquisition, integration and poor performance was made available and

  accessible to senior Perrigo executives, including Defendants Papa and Brown. See e.g., supra

  ¶¶53-78. Given the repeated representations that Papa and Brown communicated closely with the

  senior-most executives at Omega, and were personally involved in and oversaw the integration

  process, these facts demonstrate that Papa and Brown either knew that these cost synergies they

  were touting were unrealistic or were severely reckless in ignoring repeated warnings by

  employees of Omega and Perrigo that this was the case. 20

           B.     Generic Pricing and Anti-competitive Conduct

           251.   Defendants Papa and Brown both claimed to have personal knowledge of

  Perrigo’s generic drug pricing strategy, the pricing environment of other manufacturers, and

  Perrigo’s ability to withstand pricing pressures in the generic drug industry, and the Generic Rx

  segment was a core operation of Perrigo, indicating that they would have inescapably learned of

  the highly unusual, coordinated price hikes, and pricing pressures impacting (or reasonably likely

  to impact in the near future) Perrigo’s Rx segment, alleged herein.




      20
         Defendants’ deliberate unlawful, anti-competitive conduct—price fixing—alleged herein
  further supports an inference of scienter. See, e.g., infra VIII.B.



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         252.    Moreover, Papa and Brown had access to information concerning, among other

  things, the increased competition in the U.S. generic drug market and the FDA’s ramped-up

  approval of generic drug applications. Indeed, these Defendants knew the immense regulatory

  scrutiny was aimed at driving down the price of generic drugs, which had reached unsustainable

  levels. At all relevant times, as alleged in the Carmignac Complaint (at ¶¶131-35, 205), Perrigo

  maintained a comprehensive list of competitor companies that had filed ANDAs with the FDA

  for products that would, if approved, compete with Perrigo’s products, was also keenly focused

  on and monitored the FDA approval process, and thus was aware of when and how drugs would

  hit the market. Papa and Brown and the other Defendants therefore had access to information

  concerning applications in the FDA pipeline for generic drugs that would, once approved, rival

  Perrigo’s stable of generics. At a minimum, the Defendants were reckless in falsely stating the

  Company was “insulated” from negative pricing pressures and was keeping pricing “flat to up

  slightly” despite those pressures.

         253.    Additionally, Defendants, unlike investors, were aware of or recklessly

  disregarded the various sources of information pointing to unlawful activity undermining the

  accuracy of their statements. Defendants had access to reports and information, including

  industry data (see e.g., supra ¶¶90-91), containing red flags indicating anti-competitive conduct

  was impacting the pricing of at least six generic compounds that generated millions of dollars in

  revenues during the Relevant Period. These red flags should have at least generated suspicion

  and investigation that the long-running anti-competitive conduct was possible. As red flags

  known or available to Defendants were indicative of anti-competitive conduct for the reasons set

  forth above, the fact that the DOJ was investigating Perrigo’s participation in anti-competitive

  behavior should not—and would not—have taken Defendants by surprise. Despite these facts,




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  Defendants described, and continued to describe, Perrigo’s financial performance and prospects

  in glowing terms and concealed, and then continued to conceal, the Company’s illegal conduct.

  But, given Perrigo’s illegal antitrust scheme and Defendants’ knowledge of the aforementioned

  facts, Defendants could not have genuinely believed that their statements were accurate and

  complete.

         254.    Moreover, the very nature of the price-fixing activities inflating the results of

  Perrigo’s most profitable division supports an inference of scienter. The price-fixing at issue

  lasted for years and fundamentally transformed the revenues generated by some of Perrigo’s

  most important generic drugs. The successful execution of this scheme required systematic

  coordination and top-down command and control, which could not be done without the

  knowledge and approval of the Company’s highest-ranking executives. Indeed, the significant

  corporate actions required to participate in any collusive behavior—including raising prices for

  key products to the same levels near-simultaneously with multiple competitors pursuant to a

  collusive agreement—could not have been accomplished by low level employees acting alone.

         255.    On July 20, 2016, a mere three months after Defendant Papa’s resignation,

  Perrigo announced a “leadership change” in its Generic Rx division. Specifically, Perrigo

  replaced the executive who was brought in to head the division just as the collusive price hikes

  commenced, Douglas Boothe. Further, Boothe’s departure occurred shortly—only two months—

  before private antitrust litigation relating to Perrigo’s Generic Rx division was brought against

  Perrigo. These facts further contribute to the strong inference that senior executives of Perrigo

  were personally aware of, or recklessly ignored, price fixing in Perrigo’s Generic Rx segment.

         C.      Tysabri

         256.    Defendants’ GAAP violations alleged above concealed billions of dollars of

  declines in the value of Perrigo’s largest financial asset and demonstrate scienter. The correct


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  accounting treatment for the Tysabri royalty stream was clear and easy to apply. The Company

  itself and its then-CEO described the royalty stream as a “financial asset” in May 2016,

  approximately a year before restating results, and Perrigo now concedes that GAAP calls for

  financial assets to be recorded at their fair market value. Moreover, the $3.6 billion difference

  between the market price for the Tysabri royalty, as reflected in its sales price of just $2.2 billion

  (before contingent payments of up to $650 million),21 and the $5.8 billion value Defendants

  claimed during the Relevant Period, strongly supports an inference that at least Perrigo, Papa and

  Brown knew that the Tysabri asset was worth far less than reported to investors.

           D.     Further Allegations of Scienter

                  1.     Findings by the Irish Takeover Panel

           257.   That the Irish Takeover Panel repeatedly found Perrigo’s actions to be misleading

  during the Mylan offer period bolsters an inference that it understood its aggressive statements

  risked misleading investors. The Irish Takeover Panel—the government body charged with

  enforcing and adjudicating disputes under the Takeover Rules—twice ruled that Perrigo

  breached rule 19.3, “Avoidance of Misleading Statements,” by making materially misleading

  statements in resisting the tender offer. The Panel’s August 25, 2015 ruling covered a series of

  Perrigo’s statements concerning the tender offer and stated in no uncertain terms that the voided

  “statements may mislead shareholders and the market or may create uncertainty contrary to

  Rule 19.3(a) of the . . . Takeover Rules.”22 Similarly, in October 2015, the Panel ruled that

  statements Perrigo made about Mylan’s largest shareholder “may be misleading and therefore in


      21
          The fact that Defendants were readying the royalty stream for sale in the second half of
  2016 provides a motive for Perrigo to claim an inflated fair value, so as to not dissuade potential
  buyers.
       22
          See Press release concerning ruling, available at
  https://www.sec.gov/Archives/edgar/data/1585364/000119312515301798/d76981d425.htm



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  breach of Rule 19.3,” directing Perrigo to make a corrective statement.23 If Defendants’ personal

  admissions of responsibility and diligence were insufficient, the Takeover Panel’s direct

  criticism of Perrigo’s public statements should have further put Defendants on notice as to their

  responsibility to make accurate, factually substantiated statements under Irish law. That a neutral

  observer found Defendants to be misleading in certain aspects of their takeover defense further

  demonstrates their propensity to be misleading in the takeover defense statements and omissions

  alleged above in Section V.

                  2.     The sheer size of Defendants’ misrepresentations and the GAAP
                         violations

           258.   The Omega misrepresentations covered up problems so large they led to “total

  impairments of $2.0 billion”—43% of the entire Omega purchase value, 66% of the equity

  Perrigo contributed to the acquisition, and 1.28 times the total goodwill Perrigo attributed to the

  Omega acquisition as of June 27, 2015. The organic growth misrepresentations hid that a decade

  of rapid organic growth had slowed to only around 1%, and the overstated earnings guidance had

  to be slashed numerous times. The concealed generic drug price-fixing involved hundreds of

  millions of dollars of unsustainable collusive revenue in Perrigo’s most profitable division.

  Moreover, as alleged above, Defendants’ GAAP violations concealed billions of dollars of

  declines in the value of Perrigo’s largest financial asset and led to one of the largest restatements

  in recent history.




      23
          See Press release concerning ruling, available at
  https://www.sec.gov/Archives/edgar/data/1585364/000158536415000145/a1009201514-
  d9aattachment.htm



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                 3.      The close proximity, and sharp divergence, between the
                         misrepresentations and revelations of the truth

         259.    The temporal proximity between Defendants’ false reassurances to investors and

  contradictory revelations supports a strong inference of scienter. Only months after issuing a

  supposedly “scrupulous[ly]” objective profit forecast, and less than only five weeks after

  reiterating guidance in January 2016, Defendants began to slash that guidance. Similarly, only

  five weeks after Papa’s January 2016 reassurances concerning “synergies” with Omega, Perrigo

  announced the first of many large impairments related to Omega. Then, Papa resigned less than

  six months after urging investors to keep Perrigo an independent Company under his leadership,

  which analysts and market commentators recognized raised concerns about Defendants’ prior

  representations (see, e.g., ¶218). Such confident assurances followed quickly by contradictory

  revelations contribute to an inference of scienter.

         260.    The sharpness of the divergences between reassurances made during the Relevant

  Period and subsequent revelations, involving multiple instances in which later negative

  disclosures completely contradicted Defendants’ earlier positive statements, contributes to a

  strong inference of scienter. For example, Defendant Papa repeatedly trumpeted Perrigo’s

  “strong history of responsible corporate governance” and “commitment to corporate governance

  and transparency,” which purportedly stood in sharp contrast to “Mylan’s irresponsible corporate

  governance behavior,” which Defendant Papa called “abysmal.” But shortly after making these

  forceful statements, Defendant Papa quit the Company, and the new CEO conceded that

  Perrigo’s guidance to investors had not been “realistic.” As discussed above, Defendants’

  repeated boasting concerning the value and success of the Omega acquisition were also

  contradicted soon after their positive statements by write downs that exceeded the total value of

  goodwill Perrigo had recorded in the acquisition. These shocking announcements were then



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  followed by a raft of further executive personnel departures (including that of the CFO and the

  head of Perrigo’s Generic Rx segment) over the course of 2016 and 2017, as well as a

  restatement. Such sharp contradictions, including a complete reversal from touting synergies to

  the need to implement major, multi- hundred-million-dollar “restructuring[s]” in the span of

  weeks, contributes to a strong inference of scienter, or at the very least, severe recklessness.

                  4.      Sarbanes-Oxley Certifications

          261.    In their Certifications Pursuant to Sections 302 and 906 of the Sarbanes-Oxley

  Act of 2002, submitted with the Company’s 2015 Form 10-K and Form 10-KT, Defendants Papa

  and Brown represented that (i) they had reviewed the Company’s respective filings; (ii) the

  reports did “not contain any untrue statement of material fact or omit to state a material fact

  necessary to make the statements made . . . not misleading”; and (iii) the “information included

  in this report, fairly present in all material respects the financial condition, results of operations

  and cash flows of the [Company].” Perrigo’s admission that it actually had “material

  weaknesses” in internal controls, specifically that it “did not maintain, in all material respects,

  effective internal control over financial reporting [throughout the Relevant Period],” suggests

  that either Papa and Brown were reckless in making their Sarbanes-Oxley certifications, or had

  actual knowledge of the deficiencies from the investigation they claimed to have conducted.

                  5.      Timing and circumstances of executive departures

          262.    The timing and circumstances of Defendant Brown’s departure also demonstrates

  her (and Perrigo’s) scienter. It came the same day that Perrigo announced it was investigating

  “historical revenue recognition practices” regarding the Tysabri royalty stream, and that it could

  only sell the Tysabri royalty stream for $2.2 billion (or up to $2.85 billion if certain milestones

  were satisfied), billions less than the value Brown had caused Perrigo to report to investors

  using an accounting scheme that Perrigo now admits violated GAAP, and which directly


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  furthered Defendants’ fraud. As discussed above, Defendants’ scienter is also demonstrated by

  the timing and circumstances of the departures of Papa, Coucke, and Boothe, which are alleged

  above. See, e.g., ¶¶12-13, 20, 38-39,217-224, 255, 260.

                  6.      Defendants’ Motives

          263.    As alleged in detail above—and as numerous independent observers, such as Jim

  Cramer, Wells Fargo and Starboard Value concluded after the tender offer failed (as noted

  above)—Defendants’ motive during the takeover period was to derail Mylan’s bid and cause

  investors to reject the deal. Papa and Brown were awarded millions of dollars in special bonuses

  for their roles in defeating the Mylan offer (see supra ¶128). Further, the Individual Defendants

  were motived to engage in fraud for personal entrenchment reasons—to prevent a transaction

  likely to lead to their terminations.

  VIII. RELIANCE

          264.    During the Relevant Period, Plaintiffs and other Perrigo shareholders reasonably

  relied on the materially false and misleading statements and omissions alleged herein in reaching

  investment decisions concerning Perrigo common stock.

          265.    There is a presumption of reliance established by the fraud-on-the-market doctrine

  because, among other things:

                  (a)     The Defendants made public misrepresentations or failed to disclose

  material facts during the relevant period;

                  (b)     The misrepresentations and omissions were material;

                  (c)     The Company’s securities traded in efficient markets;

                  (d)     The misrepresentations and omissions alleged would induce a reasonable

  investor to misjudge the value of the Company’s securities; and




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                 (e)     Plaintiffs purchased Perrigo securities between the time Defendants

  misrepresented or failed to disclose material facts, and the time the true facts were disclosed

  without knowledge of the misrepresented or omitted facts.

         266.    At all relevant times, the market for Perrigo’s securities was efficient for the

  following reasons, among others:

                 (a)     Perrigo’s common stock met the requirements for listing, was liquid, and

  was listed and actively traded on the NYSE and TASE, highly efficient and automated markets;

                 (b)     As a regulated issuer, Perrigo filed periodic reports with the SEC and the

  New York Stock Exchange;

                 (c)     Perrigo regularly communicated with public investors via established

  market communication mechanisms, including through regular disseminations of press releases

  on the national circuits of major newswire services and through other wide-ranging public

  disclosures, such as communications with the financial press and other similar reporting services;

  and

                 (d)     Perrigo was covered by multiple analysts during the relevant period.

         267.    As a result of the foregoing, the market for Perrigo’s securities promptly digested

  current information regarding Perrigo from all publicly available sources and reflected such

  information in the price of Perrigo securities. Under these circumstances, a presumption of

  reliance applies.

         268.    Plaintiffs are also entitled to a presumption of reliance under Affiliated Ute

  Citizens of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted herein

  against Defendants are primarily predicated upon omissions of material fact for which there was

  a duty to disclose.




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         269.    In addition, Plaintiffs directly relied on Defendants’ false and misleading

  statements alleged herein when deciding to purchase Perrigo securities and/or hold Perrigo

  securities through the tender offer.

         270.    During the Relevant Period, the Plaintiffs’ investments were managed by the

  Investment Manager, which employed an active strategy based on an analytical, research-based

  investment process. Under this process, the Investment Manager made all decisions concerning

  whether to purchase, sell, tender, or hold shares for Plaintiffs. The Investment Manager regularly

  evaluated individual companies, including Perrigo, and were responsible for determining, on

  behalf of the Plaintiffs, whether to purchase, sell, tender, or hold shares in those companies.

  Factors considered by Plaintiffs’ Investment Manager in deciding whether to purchase, sell,

  tender, or hold Perrigo shares included, among other things, Perrigo’s financial performance and

  outlook, and a review of the Company’s strengths, weaknesses and opportunities. The

  Investment Manager, in turn, relied on this as an important factor in deciding whether to

  purchase, sell, tender, or hold Perrigo shares.

         271.    During the Relevant Period, the investment Manager undertook comprehensive

  asset valuation analyses and performed rigorous independent and fundamental research including

  reading and relying upon publicly available information concerning Perrigo from the following

  sources: (a) Perrigo’s public statements, plans and press releases; (b) Perrigo’s corporate website

  and materials posted thereon; (c) analyst reports and earnings conference calls involving Perrigo;

  (d) Perrigo’s periodic securities filings with the SEC and the NYSE, including its Forms 10-K;

  (e) other regulatory filings and reports regarding Perrigo; and (f) industry conferences and

  conference transcripts involving Perrigo.




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         272.    In particular, the Investment Manager read, reviewed, and/or listened to, and

  relied on statements from the foregoing sources set forth in Section V above concerning the

  Company’s financial performance and outlook, Mylan’s tender offer, and audited financial

  statements, particularly those regarding Perrigo’s financial condition, the Omega acquisition,

  Omega’s performance and integration, Perrigo’s organic growth, pricing in the Generic Rx

  division, and the fair value of the Tysabri royalty stream and GAAP compliance. The Investment

  Manager used the Company’s reported revenues and projections, among other things, as metrics

  to analyze Perrigo’s current and future operations and financial performance and the relative

  value of Mylan’s tender offer, and in making decisions about whether to invest in Perrigo or its

  competitors. In so doing, the Investment Manager also read and relied on statements from these

  sources relating to Perrigo’s financial condition, the Omega acquisition, Omega’s performance

  and integration, Perrigo’s organic growth, pricing in the Generic Rx division, the fair value of the

  Tysabri royalty stream, and GAAP compliance.

         273.    In deciding to purchase or acquire Perrigo common stock and in making

  investment decisions concerning Perrigo common stock during the Relevant Period, Plaintiffs,

  through the Investment Manager, read, reviewed, and/or listened to, and relied on Defendants’

  false or misleading statements set forth in Section V above (to the extent the statement was

  released to the market) as being materially complete and as not omitting material information,

  including information regarding Perrigo’s financial condition, the Omega acquisition, Omega’s

  performance and integration, Perrigo’s organic growth, pricing in the Generic Rx division, and

  the fair value of the Tysabri royalty stream and GAAP compliance. In reliance upon the false or

  misleading statements and omissions identified above in Section V, Plaintiffs purchased or

  acquired Perrigo common stock during the Relevant Period and held approximately 891,959 on




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  the tender offer deadline (see supra ¶35), and as a result, were damaged by the fraud detailed

  herein.

            274.   Defendants’ false and misleading statements and omissions of fact alleged herein

  had a material influence and were a substantial factor in bringing about Plaintiffs’ investment

  adviser’s investment decisions with respect to Perrigo stock. Plaintiffs’ Investment Manager did

  not know, and in the exercise of reasonable diligence could not have known, of Defendants’ false

  and misleading statements alleged herein when reaching investment decisions concerning

  Perrigo common stock during the Relevant Period.

  IX.       NO SAFE HARBOR

            275.   The statutory safe harbor provided for forward-looking statements under certain

  circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

  The specific statements pleaded herein were not “forward-looking statements” nor were they

  identified as “forward-looking statements” when made. Nor was it stated with respect to any of

  the statements forming the basis of this Complaint that actual results “could differ materially

  from those projected.” To the extent there were any forward-looking statements, there were no

  meaningful cautionary statements identifying important factors that could cause actual results to

  differ materially from those in the purportedly forward-looking statements. Alternatively, to the

  extent that the statutory safe harbor does apply to any forward-looking statements pled herein,

  Defendants are liable for those false forward-looking statements because at the time each of

  those forward-looking statements was made, the particular speaker knew that the particular

  forward-looking statement was false, and/or the forward-looking statement was authorized

  and/or approved by an executive officer of Perrigo who knew that those statements were false

  when made.




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                                             COUNT I
                         For Violations of Section 14(e) of the Exchange Act
                                      (Against All Defendants)

          276.     Plaintiffs repeat, incorporate, and reallege each and every allegation set forth

  above as if fully set forth herein.

          277.     Section 14(e) provides: “It shall be unlawful for any person to make any untrue

  statement of a material fact or omit to state any material fact necessary in order to make the

  statements made, in the light of the circumstances under which they are made, not misleading, or

  to engage in any fraudulent, deceptive, or manipulative acts or practices, in connection with any

  tender offer.”

          278.     Defendants’ conduct violated their respective obligations under Section 14(e)

  because Defendants made the materially false or misleading statements or omissions of material

  fact set forth above in connection with Mylan’s tender offer.

          279.     Those misstatements and omissions were material, in that a reasonable investor

  would have deemed those facts important in determining whether to purchase and tender its

  shares of Perrigo stock in connection with the tender offer.

          280.     Defendants intentionally or recklessly engaged in acts, practices, and a course of

  conduct that was fraudulent, deceptive or manipulative when issuing their false or misleading

  statements or omissions of material in violation of Section 14(e) of the Exchange Act. During the

  Relevant Period, and while in possession of material adverse, nonpublic information, Defendants

  used the means and instrumentalities of interstate commerce, the U.S. mails, and the facilities of

  the national securities exchanges to make the materially false or misleading statements and

  omissions of material fact alleged herein to: (i) knowingly or recklessly deceive Perrigo

  shareholders with respect to Perrigo’s operations, business, performance and prospects; (ii) cause

  the market price of Perrigo common stock to trade above its true value; and (iii) induce a


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  majority of Perrigo shareholders to reject Mylan’s Tender Offer, thereby interfering with the

  Plaintiffs’ opportunity, and depriving them of the opportunity, to tender their Perrigo common

  stock in exchange for the combination of cash and Mylan stock offered by Mylan through the

  tender offer.

          281.    As a direct and proximate result of Defendants’ wrongful conduct, the Plaintiffs

  suffered damages in connection with their holdings of Perrigo common stock as of the expiration

  of Mylan’s Tender Offer on November 13, 2015 because the tender offer, which was in large

  part defeated as the result of Defendants’ material misrepresentations and omissions, would have

  provided the Plaintiffs with substantially more value than holding their Perrigo common stock.

          282.    As a direct and proximate result of Defendants’ violations of Section 14(e) of the

  Exchange Act, Plaintiffs were prevented from fairly assessing Mylan’s offer, and were deprived

  of the opportunity to exchange their Perrigo shares for superior compensation in cash and stock.

  As a result, Plaintiffs incurred significant damages.

          283.    By reason of such conduct, Defendants are liable pursuant to Section 14(e) of the

  Exchange Act.

                                             COUNT II
                         For Violations of Section 20(a) of the Exchange Act
                                     (Against Papa and Brown)

          284.    Plaintiffs repeat, incorporate, and reallege each and every allegation set forth

  above as if fully set forth herein.

          285.    Defendant Papa was the CEO and Chairman of the Board of Perrigo, and architect

  of the strategic positions taken by Perrigo alleged herein. He was directly involved in the day-to-

  day management of the Company, including its communications to investors. As a result, he had

  the power and ability to control the actions of Perrigo, and acted as a controlling person of

  Perrigo within the meaning of Section 20(a) of the Exchange Act for all statements and


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  omissions of Perrigo until his resignation, and is liable for Perrigo’s violations of the Exchange

  Act during that time.

         286.    Defendant Brown was the CFO of Perrigo, signed periodic filings on behalf of

  Perrigo, and certified those filings pursuant to Sarbanes-Oxley. As a result, Brown exercised

  control over Perrigo’s selection of accounting treatment, the recording of its financial statements,

  and its decisions to comply or not comply with GAAP. By reason of such conduct, Brown was a

  control person of Perrigo within the meaning of Section 20(a) of the Exchange Act for all

  statements and omissions of Perrigo regarding its accounting for the Tysabri royalty stream, and

  is liable for Perrigo’s violations of the Exchange Act related thereto.

         287.    Papa and Brown were the CEO and the CFO of Perrigo, respectively, and were

  privy to, and monitored, confidential and proprietary information concerning Perrigo, its

  business, operations, performance, and future prospects, including its compliance with applicable

  federal, state, and local laws and regulations. In these roles, the Individual Defendants had

  regular access to non-public information about Perrigo’s business, operations, performance, and

  future prospects through access to internal corporate documents and information, conversations,

  and connections with other corporate officers and employees, attendance at management

  meetings and meetings of the Company’s Board of Directors and committees thereof, as well as

  reports and other information provided to them in connection therewith.

         288.    Each of the Individual Defendants was a controlling person of Perrigo within the

  meaning of Section 20(a), as alleged herein. By virtue of their high-level positions, participation

  in, and/or awareness of the Company’s day-to-day operations and finances, and/or knowledge of

  the statements filed by the Company with the SEC and disseminated to the investing public, Papa

  and Brown each had the power and authority to influence and control, and did influence and




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  control, directly or indirectly, the day-to-day decision-making of the Company including the

  content and dissemination of the statements Plaintiffs allege were materially false or misleading

  and/or omitted material facts.

         289.    Papa and Brown were provided with, or had access to, copies of the Company’s

  reports, press releases, public filings, and other statements alleged by Plaintiffs to be misleading

  prior to and/or shortly after these statements were issued and had the ability and ultimate

  authority to prevent the issuance of the statements or cause the statements to be corrected. In

  particular, Papa and Brown maintained direct and supervisory involvement in the day-to-day

  operations of the Company and, therefore, had, or are presumed to have had, the power to control

  or influence the particular public statements or omissions giving rise to the securities violations

  as alleged herein, and exercised the same.

         290.    As set forth above, Defendants violated Section 14(e) of the Exchange Act by

  their acts and omissions as alleged herein. By virtue of the Individual Defendants’ status as

  controlling persons and their respective participation in the underlying violations of Section

  14(e) of the Exchange Act, Papa and Brown are liable pursuant to Section 20(a). As a direct and

  proximate result of Papa’s and Brown’s culpable conduct, the Plaintiffs suffered damages in

  connection with their purchases of the Company’s stock during the Relevant Period and holdings

  of Perrigo common stock as of the expiration of Mylan’s Tender Offer on November 13, 2015.


                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray for judgment as follows:

         A.      Awarding compensatory damages in favor of Plaintiffs against all Defendants,

  jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing, in an

  amount to be proven at trial, including interest thereon;



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         B.      Awarding Plaintiffs their reasonable costs and expenses incurred in this action,

  including attorneys’ fees and expert fees; and

         C.      Awarding such equitable/injunctive or other further relief as the Court may deem

  just and proper.


                                          JURY DEMAND

         Plaintiffs herby demand a trial by jury.


  Dated: December 20, 2019                     Respectfully submitted,

   WHIPPLE AZZARELLO, LLC                           LABATON SUCHAROW LLP

   s/ John A. Azzarello                             s/ Serena P. Hallowell

   John A. Azzarello                                Serena P. Hallowell (pro hac vice forthcoming)
   WHIPPLE AZZARELLO, LLC                           Eric J. Belfi (pro hac vice forthcoming)
   161 Madison Avenue                               David J. Schwartz (pro hac vice forthcoming)
   Suite 325                                        Thomas W. Watson (pro hac vice forthcoming)
   Morristown, NJ 07960                             140 Broadway
   Tel: (973) 267-7300                              New York, NY 10005
   Fax: (973) 267-0031                              Tel: (212) 907-0700
   azzarello@whippleazzarellolaw.com                Fax: (212) 818-0477
                                                    shallowell@labaton.com
                                                    ebelfi@labaton.com
                                                    dschwartz@labaton.com
                                                    twatson@labaton.com
   Local Counsel for Plaintiffs
                                                    Counsel for Plaintiffs




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